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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________________X
THOMAS G. DONLON,
                        Plaintiff                                   COMPLAINT

                      -against-                                     Docket Number:

CITY OF NEW YORK, ERIC ADAMS, TANIA KINSELLA,
Individually, JEFFREY MADDREY, Individually, JOHN
CHELL, Individually, KAZ DAUGHTRY, Individually,
TARIK SHEPPARD, Individually, MICHAEL GERBER,
Individually, PAUL SARACENO, Individually, and
ANTHONY MARINO, Individually

                        Defendants
__________________________________________________X

       Plaintiff THOMAS G. DONLON, by his attorneys, Law Office of John A. Scola, PLLC,

complaining of the Defendants respectfully as follows:

                                  PRELIMINARY STATEMENT

   1. The New York City Police Department (“NYPD”), under the direction of Defendant

       ADAMS, functions as a racketeering enterprise in violation of the Racketeer Influenced

       and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq. Senior leadership had

       abandoned lawful governance, and engaged in outright malfeasance by using the NYPD to

       consolidate political power, obstruct justice, and punish dissent.


   2. A coordinated criminal conspiracy had taken root at the highest levels of City

       government—carried out through wire fraud, mail fraud, honest services fraud, obstruction

       of justice and retaliation against whistleblowers. This enterprise—the NYPD—was

       criminal at its core. The Defendants engaged in a coordinated pattern of racketeering

       activity that was deliberate, sustained, and directed from the highest levels of the NYPD

       and City Hall. As detailed throughout this Complaint, the Defendants obstructed justice in



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   violation of 18 U.S.C. § 1503 by sabotaging internal oversight efforts—canceling Donlon’s

   meetings, altering his schedule, spying on his communications, and systematically

   excluding him from operational decisions.


3. They manipulated the Internal Affairs Bureau to prevent disciplinary referrals and block

   investigations into executive misconduct. The Defendants used Donlon’s official Police

   Commissioner stamp without authorization to forge internal documents that were then used

   to promote unqualified, politically connected officers over those who had earned

   advancement through merit. This corruption triggered a massive, unlawful transfer of

   public wealth—millions of dollars in unearned salary increases, overtime eligibility,

   pension enhancements, and post-retirement benefits. The Defendants committed wire and

   mail fraud under §§ 1341 and 1343 by disseminating materially false information through

   official City systems, including promotional lists and internal communications. They

   engaged in honest services fraud under § 1346 by subverting the promotion process—

   trading public trust for loyalty, silence, and political protection. And they retaliated against

   whistleblower Thomas G. Donlon in violation of § 1513 by dismantling his authority,

   orchestrating his removal, and targeting his wife with unlawful arrest and defamatory leaks.


4. These predicate acts were not isolated—they were coordinated and systemic, forming an

   unlawful scheme to preserve power, punish dissent, and defraud the public. As part of the

   relief sought, Plaintiff demands the appointment of an independent federal monitor with

   full authority to oversee and report on NYPD disciplinary processes, whistleblower

   protections, and promotion decisions, to ensure compliance with law and prevent further

   abuse.




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5. Defendant ADAMS publicly appointed Plaintiff Thomas G. Donlon—a distinguished

   former Senior Executive in the Federal Bureau of Investigation (“FBI”)—as interim Police

   Commissioner amid a wave of criminal investigations targeting his administration.


6. But the appointment was illusory. In reality, Donlon was Commissioner in name only. True

   authority remained with Defendant ADAMS’s corrupt inner circle: Defendants First

   Deputy Commissioner TANIA KINSELLA, Chief of Department JEFFREY MADDREY,

   Chief of Patrol JOHN CHELL, Deputy Commissioner KAZ DAUGHTRY, Deputy

   Commissioner of Public Information TARIK SHEPPARD, and Deputy Commissioner of

   Legal Matters MICHAEL GERBER.


7. These individuals exercised unchecked power while Donlon was sidelined and used as a

   public relations shield. The Defendants undermined Donlon’s authority by blocking his

   merit-based promotions and instead elevating unvetted individuals of their choosing. The

   Defendants then fraudulently used Donlon’s official Police Commissioner stamp—without

   his consent—to legitimize and carry out their corrupt scheme.


8. Upon assuming his position, Donlon quickly uncovered systemic corruption and criminal

   conduct being perpetrated by the NYPD’s executive leadership. He reported these findings

   directly to Defendant ADAMS.


9. Specifically, Donlon informed Defendant ADAMS of fabricated promotions, systemic

   fraud, retaliatory policing, and the obstruction of internal investigations by high-ranking

   officials—most notably Defendant SHEPPARD, who had a documented history of

   unlawful violence, including the tasering and false arrest of protestors, resulting in civil




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   rights lawsuits and monetary settlements. Defendant ADAMS took no action in response.

   Instead, he condoned the misconduct and allowed the NYPD to function as a criminal

   enterprise.


10. As a direct result of Defendant ADAMS’s failure and unwillingness to manage the NYPD,

   Defendant SHEPPARD fraudulently orchestrated his own promotion—granting himself

   greater authority and a higher salary.


11. Donlon confronted Defendant SHEPPARD directly, denouncing the act as “stolen valor,”

   but the rebuke had no deterrent effect. When Donlon demanded accountability for the

   NYPD Defendants’ collective misconduct, they turned against him. He was frozen out of

   operational and administrative decisions, stripped of real authority, and ultimately removed

   from his role as interim Police Commissioner in retaliation for his internal complaints to

   Defendants ADAMS concerning the corruption, dereliction of duty, and criminal

   misconduct he had witnessed.


12. From the outset, Donlon’s mission was clear: to protect and guide the honest rank-and-file

   officers and supervisors who had been abandoned by a leadership class rotting from the

   top.


13. He sought to restore integrity, raise morale, and defend those who risk their lives daily to

   protect and serve. These officers had been betrayed by corrupt high-level executives and a

   mayor more interested in political loyalty than public safety. Donlon tried to be that leader.

   For this, he was unlawfully targeted.




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    14. The retaliation extended beyond professional consequences. In a calculated and deeply

        personal act of vengeance, Defendants DAUGHTRY, SHEPPARD, and GERBER

        orchestrated the false arrest and unlawful detention of Donlon’s wife, Mrs. Deirdre

        O’Connor-Donlon—a private citizen1 with no connection to his official duties—by NYPD

        officers under their control. This was not a mistake. It was a deliberate abuse of power

        designed to punish and intimidate Donlon for exposing their misconduct. Mrs. Donlon-

        O’Connor was handcuffed behind her back, subjected to a full body and personal-effects

        search at the 17th Precinct, and told by Officer Vargas that she would be transported to

        Central Booking. This coordinated humiliation was a direct warning: the NYPD

        Defendants would stop at nothing to silence and personally destroy Donlon, even if it meant

        violating the constitutional rights of his spouse.


    15. Donlon receives press calls within minutes of his wife’s release. Donlon received a call on

        his personal cell phone from a New York Post reporter asking for comment—followed by

        a call to Mrs. Donlon-O’Connor. The source of the leak was soon revealed: the Office of

        the Deputy Commissioner for Public Information (DCPI), led by Defendant SHEPPARD,

        had disseminated the Donlons’ personal phone numbers and intimate family details to the

        press. By 11:06 PM, a vicious and factually incorrect article was published, complete with

        home addresses, dates of birth, and other private information, syndicated across multiple

        media outlets. This malicious media leak could only have come from inside the NYPD.

        Despite the egregious abuse of authority and the widespread coverage it generated, neither

        Defendant ADAMS nor Police Commissioner Tisch ever contacted Donlon or his wife to



1
 It should be noted, Mrs. Deirdre O’Connor-Donlon is a retired New York State Supreme Court Attorney who
dedicated 28 years of public service to NYS and its people.


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   explain or apologize. For Donlon and his wife—who have always held the NYPD in the

   highest regard—this incident marked a devastating betrayal by a department they once

   trusted.


16. Collectively, these acts unlawful arrest, unauthorized disclosure of private data, obstruction

   of internal probes, and a leadership that rewards silence comprise a pattern of racketeering

   under RICO. In collusion with Defendant ADAMS’s office and NYPD command,

   promotions and favors were allegedly traded to suppress dissent and bury accountability.

   It was known that this matter was discussed with the Mayor and his Administration and

   also by the NYPD Police Commissioner, but no contact was made with Donlon or his wife.


17. The Defendants leveraged governmental authority and infrastructure to commit crimes,

   cover up misconduct, and retaliate against internal dissenters. Their conduct meets the legal

   definition of a RICO enterprise: an association-in-fact engaged in a pattern of racketeering

   activity through public channels.


18. With New York City and NYPD under the control of Defendants ADAMS and

   MADDREY respectively, promotions were traded for silence. Investigations were

   obstructed. Dissent was punished. Accountability was buried.


19. As a direct and proximate result of these RICO violations by all the Defendants, Donlon

   suffered extensive financial harm. He lost his income, pension eligibility, and career

   prospects, both in the law enforcement/intelligence communities, along with private and

   public sector positions. His professional reputation—built over decades of federal and state

   law enforcement and intelligence service—was deliberately destroyed. The emotional toll




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of the retaliation against his entire family was and is incalculable. These were precisely the

kinds of injuries RICO was designed to remedy, and this Complaint seeks redress for

Donlon, whose unwavering aspiration from the beginning was to protect and serve the

NYPD’s Finest.




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                                     JURISDICTION

20. This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the First Amendment

   and Fourteenth Amendment to the United States Constitution.

21. This Court has supplemental jurisdiction over Plaintiff’s related claims arising under state

   and local law pursuant to 28 U.S.C. § 1367(a).

22. Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1343.


                                          VENUE

23. Venue is properly assigned, U.S. District Court for the Southern District of New York

   under 28 U.S.C. §1391(b), in that this is the district in which the claim arose.

                                     JURY DEMAND

24. Plaintiff respectfully demands a trial by jury of all issues in this matter pursuant to Fed. R.

   Civ. P. 38(b).

                                         PARTIES

25. Plaintiff Thomas G. Donlon is a resident of New York City, New York.

26. Donlon began his distinguished public service career in October 1981 when he was

   appointed as a Special Agent with the FBI.

27. During his tenure with the FBI, Donlon held a high-level National Security role at FBI

   Headquarters, located in Washington, D.C. (Senior Executive Service), last serving as

   Section Chief, National Threat Center Section (“NTSC”), Washington DC (Senior

   Executive Service) top 1 percent; and prior to this executive position, Assistant Special

   Agent in Charge, Counter-Terrorism Division (“CTD”), Joint Terrorism Task Force

   (“JTTF”) New York Office (“NYO”); Coordinating Supervisory Special Agent (“CSSA”)




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   NYO, CTD; and SSA, CTD, NYO International and Domestic Terrorism, Supervisory

   Special Agent (“SSA”), CTD, NYO.

28. SSA, assigned to the Violent Crimes Section, Safe Streets Unit, FBIHQ, Washington, D.C.

   In this role, Donlon was responsible for the Northeast section of the nation, specifically

   New York City, which was and still remains a critical intelligence hub for evaluating and

   responding to domestic and international violent crimes.

29. While assigned to JTTF, NYO, Donlon closely worked with all the JTTF agencies,

   primarily in conjunction with the NYPD, coordination and investigation of some of the

   most critical and high-profile terrorism cases in the USA, and abroad. While assigned to

   the JTTF, Donlon interacted with approximately forty-three federal, state and city law

   enforcement and intelligence agencies assigned to the JTTF, NYO.

30. Donlon served as a co-case Special Agent on the Manila Air case, before transferring to

   FBIHQ, a widely known and publicized case of the NYO, JTTF, alongside Special Agent

   Francis J. Pellegrino. This case revolved around “Project Bojinka”, a plot masterminded

   by Ramzi Yousef (also the mastermind of the first attack on the World Trade Center in

   February 1993), and his co-conspirator Abdul Hakim Murad, intending to simultaneously

   bomb 11 U.S. airliners while enroute over the Pacific Ocean.

31. Donlon and Pelligrino, along with the SDNY prosecutors, successfully secured and

   extradited Murad from the Philippines. While in route to the USA, Pelligrino and Donlon

   obtained a confession, in which Murad not only implicated himself, but also Yousef.

   Moreover, Murad provided specific details of “Project Bojinka”. At the time of Murad’s

   extradition, Yousef fled to Pakistan, where he was captured months later. Both were

   ultimately convicted for their roles in the “Project Bojinka” plot.




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32. Donlon, while assigned as Section Chief, NTCS, played a foundational role in developing

   the FBI’s Guardian Software Database, now known simply as 'E-Guardian', which was the

   FBI’s first centralized counterterrorism database still used today by U.S. federal, state and

   local law and intelligence agencies, nationwide. Donlon’s NTCS, initiated CT Watch Unit,

   also initiated and managed the FBI’s Terrorism Watch List (“TWL”), one of the most

   sensitive and consequential responsibilities in federal law enforcement. Donlon, with the

   NTCS personnel, created the Guardian system after discovering, in the aftermath of the

   9/11 attacks, there was no unified database which captured all domestic and international

   threats. The system was designed to enable the FBI, JTTF and other federal, state, local

   law enforcement and intelligence agencies, nationwide, to input and access threat

   information relevant to their jurisdictions. This is an example of the nationwide FBI (JTTF)

   sharing information with all members/agencies but also with other federal, state and local

   agencies, not assigned to the JTTF, nationwide. The database has remained in operation

   and continues to be a critical tool in the successful apprehension of terrorists, contributing

   to hundreds of arrests and terrorism investigations.

33. Donlon served as the co-case Special Agent in the aftermath of the February 1993 World

   Trade Center bombing, the first time a terrorist attack was perpetrated by radicalized

   Islamic terrorists on U.S. soil. The investigation resulted in five federal convictions, and

   reshaped the nation’s approach to International Terrorism.

34. After retiring from the FBI in 2005, Donlon served as Global Security Director for two

   major financial institutions, applying his expertise to protect critical infrastructure from

   emerging threats.




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       35. In 2009, Donlon was appointed by then New York State (“NYS”) Governor David Paterson

           to serve as Director of the NYS, Office of Homeland Security. In that role, Donlon oversaw

           statewide emergency preparedness and counterterrorism initiatives, distributing funding to

           police departments, fire departments, first responders, emergency medical units, Offices of

           Emergency Management, and other public safety agencies to improve response efforts for

           both natural and human-made disasters. The distribution of these funds, by NYS Homeland

           Security, were disseminated pursuant to the submission and review of applications filed by

           the above state entities who were in desperate need of funding to protect and serve their

           respective communities.

       36. Furthermore, Donlon was responsible for disseminating millions of dollars in NYS

           funding, including critical funding for the initial establishment of the Lower Manhattan

           Security Initiative (“LMSI”). After Donlon was named as the NYPD interim Police

           Commissioner, then-Sanitation Commissioner Tisch, who previously worked in the NYPD

           Information and Technology Bureau - attended a joint NYPD/Sanitation Department press

           conference with Donlon regarding the “Ghost-plate2 investigation”. Before the press

           conference, a grateful Tisch stated to DONLON: “Without your NYS funding we

           (“NYPD”) would have been unable to establish the LMSI.” Donlon thanked Tisch and was

           very appreciative of her kind words. Donlon expressed his long career working relationship

           with the NYPD and JTTF and his utmost respect and honor working with past and present

           JTTF members. ADAMS is well aware of this NYS funding provided to the NYPD, as

           ADAMS was a NYS Senator (Brooklyn) and then Chairman of Homeland Security

           representing NYS Senators, at the time of the financial distribution to the NYPD.



2
    Ghost-plates are the phony paper license plates affixed to motor vehicles


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37. Donlon exercised broad discretion over the allocation of these funds, including directing

   monies, not only to the NYPD, but also to the FDNY, EMTs, NYCOEM, First Responders

   etc. to bolster their terrorism concerns, first responder equipment, public safety capabilities,

   along with the overall distributions of NYS funds to the other NYS wide agencies, as

   described above.

38. Shortly, before the press conference, Donlon would be appointed and employed by the

   NYPD and the Defendant CITY of New York as interim Police Commissioner from

   September 13, 2024, through November 24, 2024. After his removal as interim Police

   Commissioner, Donlon was assigned to the role of Senior Advisor, Office of Public Safety,

   under Defendant ADAMS.

39. On April 25, 2025, Donlon was notified by a Human Resource (“HR”) employee, assigned

   to the Mayor's Office, that Donlon's last day as Senior Advisor would be May 9, 2025.

   When Donlon inquired as to the reason for said termination, Donlon was advised by the

   HR individual his Senior Advisor position is “being eliminated.” Donlon inquired as to the

   reason and no explanation was provided to Donlon. Donlon further asked for

   documentation to be provided and was told by the above HR person no documentation will

   be provided to him. Donlon was told that ADAMS office, as mentioned before, has

   eliminated his position as the Senior Advisor. This position involved closely working and

   coordinating with the Public Safety Agencies (NYPD, FDNY, NYCOEM, MOCJ,

   CORRECTIONS and PROBATION). The duties and responsibilities encompassed

   assisting the agencies with their direct submission of applications seeking available funding

   from the U.S. federal and NYS Grant programs. Donlon and James Gunn produced a first

   ever booklet outlining the entire application process, along with the numerous links and




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   names of the available funding to the above public agencies. It should be noted the

   submission of the agency's applications would be individually submitted by them, along

   with their own research. As set forth throughout this Complaint, Donlon’s abrupt and

   unexplained termination was not a legitimate personnel decision—it was a clear act of

   retaliation.

40. Donlon's service as interim Police Commissioner was done amidst a daily and constant

   onslaught of personal attacks and professional sabotage committed by the indignant,

   inexperienced and insubordination of the NYPD top executives making critical decisions

   which defied logic, common decency and professionalism. Moreover, the shocking display

   of immorality and indecency by the collective Defendants ADAMS, KINSELLA,

   MADDREY, CHELL, DAUGHTRY, SHEPPARD, SARACENO and MARINO was an

   affront to the core moral and professional values always demonstrated by Commissioner

   Donlon.

41. The collective conduct of the Defendants was nothing short of deliberate acts of resistance

   and corruption. Donlon did not remain to serve these corrupt and power-hungry

   individuals, but rather to support the dedicated men and women of the NYPD who were

   being systematically neglected by their superiors' incompetence, hypocrisy, corruption,

   self-interest, and abusive exercise of authority. Donlon stayed not out of self-interest, but

   out of duty to expose and combat the rampant corruption and destructive leadership that

   threatened to dismantle the greatest police force in the world. Donlon was driven by a moral

   imperative to protect those who truly uphold the oath to serve, not to be served.

42. Donlon’s commitment to the NYPD was rooted in something far deeper than professional

   obligation. As a boy, Donlon walked the halls of many precincts with his father, who




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   worked for the NYPD as a carpenter, assigned to the Building and Repair Bureau. Donlon’s

   father would usher him into station houses and say, “I want you to meet good people.”

   These early encounters, with police officers, detectives, supervisors and all NYPD

   personnel, helped shape Donlon as he witnessed the officers quietly radiating purpose.

   Donlon saw not just uniforms, but humanity. That legacy became his compass, and decades

   later, it was this same clarity of purpose which anchored him in office amid “chaos,” a

   word Defendant ADAMS frequently used describing Donlon’s interaction with

   Defendants. Donlon stayed not for power, self-aggrandizement but to honor the institution

   his father revered, to stand with the good people who still believed in the badge, and to

   resist those who sought to destroy it from within. The main objective of Donlon was to

   serve all the NYPD Members of Service (MOS), not those in executive positions who

   abused their authority and public trust with the support and protection of Defendant

   ADAMS.

43. Defendant CITY OF NEW YORK (“CITY”) is a municipal corporation organized under

   the laws of the State of New York. The CITY maintains and oversees the NYPD, a duly

   authorized law enforcement agency, as well as the Department of Citywide Administrative

   Services (DCAS), which includes employment structures related to the Office of Public

   Safety.

44. Defendant ERIC ADAMS was, at all relevant times, the Mayor of the City of New York.

   ADAMS possessed final policymaking and operational authority with respect to all New

   York City government agencies to include, in particular, the NYPD and Defendant CITY.

45. Defendant TANIA KINSELLA was, at all relevant times, the NYPD’s First Deputy

   Commissioner.




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46. Defendant JEFFREY MADDREY was, at all relevant times, the NYPD’s Chief of

   Department.

47. Defendant JOHN CHELL was, at all relevant times, the NYPD’s Chief of Patrol. He was

   later promoted to Chief of Department following Donlon’s departure as Police

   Commissioner.

48. Defendant KAZ DAUGHTRY was, at all relevant times, either the NYPD’s Deputy

   Commissioner of Operations, or then was promoted by Defendant ADAMS to the Deputy

   Mayor of Public Safety, after Donlon departed as Police Commissioner.

49. Defendant TARIK SHEPPARD was, at all relevant times, the NYPD’s Deputy

   Commissioner of Public Information; an Assistant Chief; and temporary Chief of Staff to

   the Police Commissioner. The latter title Defendant SHEPPARD fraudulently promoted

   himself by unlawfully using Donlon’s official Police Commissioner rubber stamp signature

   and sending the memo to the NYPD Chief of Personnel.

50. Upon information and belief Defendant MARINO provided said rubber stamp signature to

   Defendant SHEPPARD. Per NYPD rules and protocol, only the person serving as the

   Deputy Chief, (Defendant MARINO) in the Office of the Police Commissioner has sole

   control, as also advised by Defendant MARINO to Donlon, possession and authority to

   utilize said rubber stamp signature with, of course, consultation with the Police

   Commissioner.

51. Defendant MICHAEL GERBER was, at all relevant times, the NYPD’s Deputy

   Commissioner of Legal Matters.

52. Defendant PAUL SARACENO was, at all relevant times, an Inspector or Deputy Chief in

   the NYPD. The latter title was conferred upon Defendant SARACENO by Defendant




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   MADDREY immediately after Donlon’s departure from the NYPD. Furthermore, and for

   clarity, Defendant SARACENO had already been forced to retire in 2022 for an egregious

   disciplinary matter by NYPD Executives, Internal Affairs Bureau, (“IAB”). After over one

   year in retirement, as advised by Defendant SARACENO, Defendant MADDREY offered

   Defendant SARACENO an opportunity to return to the NYPD as an Inspector, his final

   level upon retirement, to serve under Defendant MADDREY, as his Chief of Staff.

53. Defendant MADDREY’s administrative decision to re-instate Defendant SARACENO to

   his last position, after his forced retirement and disciplinary record, was unprecedented, as

   advised by NYPD Executives. Additionally, Defendant MADDREY violated all NYPD

   policies, protocols, procedures and Code of Conduct and likely federal and state law, in

   fraudulently promoting Defendant SARACENO to Deputy Chief, under new Police

   Commissioner Tisch.

54. Curiously, Defendant MADDREY emphatically advised Donlon in front of MOS,

   specifically Defendants KINSELLA and MARINO, that while reviewing and selecting

   MOS for promotions, he, (Defendant MADDREY) always “takes these promotions very

   seriously”. Defendant MADDREY advised Donlon that he conducts a proper and thorough

   review of his proposed promoted past and recent performances before rendering a final

   decision. It should be noted from a prior review of Defendant MADDREY’s promotions

   by Donlon, it was quite obvious that Defendant MADDREY did not promote MOS based

   on performance.

55. Defendant ANTHONY MARINO was, at all relevant times, a Deputy Chief in the NYPD,

   assigned to the Police Commissioner's office. After Donlon’s departure, MARINO was

   assigned to the NYPD Detective Bureau.




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 56. At all relevant times, the above Defendants, either personally or through the people who

    reported to them, acted under color of state law and in accordance with the policies,

    customs, and practices of the City of New York and the State of New York.

 57. All acts alleged herein were undertaken by the Defendants, including the many illegal acts,

    were performed while employed and with the direct knowledge of the City of New York.


1. BASIS FOR RACKETEERING INFLUENCE AND CORRUPT ORGANIZATION
                ACT (“RICO”) 18 U.S.C. § 1961 et seq. CLAIMS


 A. RACKETEERING SCHEME WITHIN THE NYPD and CITY HALL


 58. Donlon witnessed firsthand a racketeering enterprise operating within the NYPD and City

    Hall. This criminal enterprise was orchestrated by high-ranking officials including

    Defendants CITY, ADAMS, KINSELLA, MADDREY, CHELL, DAUGHTRY,

    SHEPPARD, GERBER, SARACENO and MARINO, each of whom occupied senior

    command positions within the NYPD. These individuals acted in concert and under the

    protection and direction of Defendant ADAMS, using their official positions to engage in

    a pattern of fraud, retaliation, obstruction, and abuse of power in furtherance of their

    criminal enterprise.

 59. This enterprise was not haphazard. It was deliberate, hierarchical, and ongoing. Its core

    function was to shield loyalists and silence internal critics through a calculated regime of

    favoritism, retaliation, and concealment. Promotions and assignments were manipulated to

    reward obedience rather than merit. Misconduct was buried rather than addressed. Time

    and again, Donlon raised alarms about rampant corruption, fraudulent promotions, “stolen

    valor” (in particular, by Defendant SHEPPARD), false public messaging, and internal




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   retaliation. Rather than investigate, the enterprise moved against him with surgical

   precision: stripping his authority, systematically excluding him from core decision-making

   processes, continually and consistently lying to Donlon, and ultimately eliminating his

   Police Commissioner position. Donlon’s integrity was viewed as a threat—and the

   enterprise responded accordingly.

60. The predicate acts of racketeering included wire fraud, mail fraud, obstruction of justice,

   whistleblower retaliation, and honest services fraud—all carried out under the guise of

   legitimate governance. These acts were not isolated but were committed as part of a

   coordinated scheme to defraud the public, suppress the truth, and punish those—like

   Donlon (and later Donlon’s wife, Mrs. Donlon-O’ Connor)—after Donlon refused to

   acquiesce to the corruption. Public resources, government infrastructure, and electronic

   communications were weaponized to serve the enterprise’s unlawful goals.

61. The enterprise engaged in a closed-ended pattern of racketeering over a substantial period,

   with the same actors participating in multiple, related acts of misconduct. It also presents

   an open-ended threat to public integrity, as these same tactics continue to be deployed

   against internal critics. Donlon’s career was not simply derailed—it was deliberately

   destroyed. His position unjustly eliminated, as stated by HR, his reputation systematically

   tarnished, and his decades-long career in law enforcement and intelligence communities

   and the private and public sector, extinguished in retaliation for one simple act: refusing to

   participate in fraud. That destruction constitutes injury to business and property under

   RICO.




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B. OVERVIEW OF RICO (18 U.S.C. § 1962(c)) CLAIMS


62. Defendants CITY, ADAMS, KINSELLA, MADDREY, CHELL, DAUGHTRY,

   SHEPPARD, GERBER, SARACENO and MARINO, acting in concert and under

   Defendant ADAMS’s protection, formed an association-in-fact enterprise with the purpose

   of consolidating power, retaliating against whistleblowers, concealing misconduct within

   the NYPD, and distributing public appointments, promotions, and authority as political

   rewards.

63. The enterprise operated within the City of New York and engaged in interstate commerce

   through the use of electronic communications, federal funds (fraudulently used to pay

   unmerited overtime), wire transfers, and the misuse of public infrastructure. It was

   continuous, coordinated, and driven by the shared objective: to preserve influence, punish

   dissent, and shield members from scrutiny and accountability.

64. This enterprise failed to merely preserve political power—it became a vehicle for personal

   enrichment. Senior officials both in the NYPD and Mayor's office (encompasses Public

   Safety where Banks and Pearson were assigned) used their control over public

   appointments, discretionary promotions, permanent promotions, and law enforcement

   contracts to reward allies, secure loyalty, and extract financial gain for themselves and their

   friends and associates. Promotions that should have been earned through merit and civil

   service testing were instead knowingly criminally provided as political favors, resulting in

   unearned raises, inflated pensions, and enhanced access to overtime and benefits with

   absolutely no NYPD oversight. The value of these illicit promotions ran into the millions

   of dollars. Bluntly, public funds were misappropriated for private benefit.




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65. Regrettably, the officers whose names and ranks Donlon approved and forwarded, on three

   separate promotion lists, were systematically removed—without his knowledge or

   consent—by Defendants MADDREY, SHEPPARD, MARINO, and most disturbingly,

   with the approval of Defendant ADAMS. The men and women whom Donlon recognized

   and approved for promotion had earned their promotions through tireless dedication:

   protecting the public, saving lives, solving complex cases, making critical arrests, and

   preventing future crimes. Yet their hard-won recognition was callously discarded by

   Defendant ADAMS and the NYPD Defendants.

66. The Members of Service (MOS) whose names were approved and forwarded by Donlon

   for promotion—based on their consistent dedication, lifesaving actions, successful arrests,

   and crime prevention efforts—were deliberately discarded and excluded by Defendant

   ADAMS and the Individual Defendants. Despite being fully aware of the misconduct and

   injustice committed against these officers, neither Defendant ADAMS nor Police

   Commissioner Tisch has taken any steps to remedy this gross abuse of power. These

   deliberate and deceitful acts not only harmed the MOS professionally, but also caused

   significant financial and emotional harm to them and their families. The officers lost salary

   increases, enhanced pension benefits, and future advancement opportunities within the

   NYPD. When Donlon later spoke with several of the impacted officers, he learned that

   beyond the financial damage, the emotional toll was profound. These officers—who once

   took great pride in their service and believed in the integrity of the department—felt

   betrayed, demoralized, and diminished as they watched their rightful promotions stolen

   and handed to politically connected individuals who had not earned the recognition.




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67. What compounds this injustice is that Defendant ADAMS, the collective NYPD

   Defendants, and current Police Commissioner Tisch’s administration, are fully aware of

   this injustice, yet have done nothing to correct it. Upon information and belief, Defendant

   ADAMS confessed privately to unidentified colleagues that he recognized the wrongdoing

   and intended to “make good” on these promotions. No action by Defendant ADAMS has

   occurred, nor most likely will it ever. Donlon himself informed Defendant ADAMS via

   email and in-person, that his, Donlon's, proposed promotions had been dismissed

   specifically by Defendants MADDREY and SHEPPARD. The officers recognized by

   Donlon have had their careers stunted without explanation or recourse.

68. The consequences of this fraud committed by Defendant ADAMS and the collective

   NYPD Defendants, extends far beyond wounded pride and loss of self-esteem. These

   officers and their families face real financial losses. Their higher salaries, enhanced

   pensions, future promotional opportunities were all tragically lost because of deliberate

   concealment, dishonesty and fraud committed by the Defendants. Yet, the deepest wound

   is emotional: these “forgotten” officers took immense pride in their work, investing

   countless hours in investigations, community initiatives and public safety. To have that

   dedication first acknowledged by Donlon and unmentioned honorable NYPD Executives,

   and then so abruptly stripped away—is a betrayal that hurts and torments them daily.

69. Despite repeated public assurances from Defendant ADAMS, current Police

   Commissioner Tisch and other senior NYPD leaders that they stand firmly against injustice

   and champion the NYPD’s finest, their inaction on this issue speaks louder than any pledge.

   If they truly cared for the men and women who serve this city, they would immediately

   restore the promotions these officers earned. Leadership demands more than rhetoric; it




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   requires courage to right a profound wrong. The time has come for our city’s leaders to

   deliver on their promises, correct this grave injustice, and honor the commitment of those

   who have faithfully protected New York’s five boroughs.

70. Upon information and belief, the enterprise further exploited confidential City data, U.S.

   federal and New York State grant funding, and municipal procurement processes to steer

   contracts and public resources to individuals and entities aligned with Defendant

   ADAMS’s inner circle. Public reports and investigative findings have revealed that close

   allies of the Mayor—including Tim Pearson and Phillip Banks—have come under federal

   scrutiny for schemes involving contract fraud, kickbacks, and protection payments. These

   were not isolated incidents; they were components of a broader, systemic pattern of

   corruption coordinated from within City Hall.

71. Upon information and belief, the enterprise also manipulated federally funded overtime

   systems by deliberately entering false or misleading grant codes to divert U.S. Department

   of Homeland Security and Department of Justice funds to officers favored by the Mayor’s

   political allies. This fraudulent coding scheme allowed Defendants to siphon federal grant

   money in real time—rewarding loyalty with illicit overtime and distorting official

   deployment records. Rather than allocate federal resources based on operational need or

   lawful criteria, the enterprise used the NYPD’s internal timekeeping and grant

   reimbursement systems as a vehicle for political patronage and personal enrichment. This

   abuse of federal funding mechanisms represents not only theft of public funds, but a

   deliberate subversion of the safeguards intended to prevent precisely this kind of

   corruption.




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72. This deliberate misuse of municipal power, public funding, and law enforcement authority

    for personal enrichment and political favoritism constitutes racketeering activity within the

    meaning of RICO. The conduct described herein reflects an ongoing criminal enterprise

    operating under color of law, with City Hall and NYPD infrastructure weaponized to

    advance the financial interests and political agendas of Defendant ADAMS and his

    associates.

73. While the full scope of Banks’s and Pearson’s criminal activity is not yet known, Donlon

    personally witnessed multiple RICO predicate acts committed by the named Defendants

    during his tenure at the NYPD.

74. The Defendants’ Racketeering Acts Include but are not limited to:

●   Wire and Mail Fraud (18 U.S.C. §§ 1341, 1343):
    Dissemination of materially false information about public safety appointments,
    promotional qualifications, internal investigations, and official communications—all
    designed to deceive the public and consolidate power.

●   Retaliation Against a Witness or Informant (18 U.S.C. § 1513):
    Systematic dismantling of Donlon’s authority, exclusion from operational decision-
    making, and elimination of his position—all in direct retaliation for his whistleblowing.

●   Obstruction of Justice (18 U.S.C. § 1503):
    Concealment or destruction of incriminating evidence, intimidation of potential witnesses,
    and fabrication of pretexts to justify adverse employment actions against Donlon and
    others.

●   Bribery and Honest Services Fraud (18 U.S.C. §§ 201, 1346):
    Granting of unearned promotions, favored assignments, and other benefits to individuals
    who supported or ignored the enterprise’s illegal conduct—trading public trust for silence
    and loyalty.

75. The full extent of contract bid rigging and illegal contracting by the Defendants is yet to

    be uncovered, but upon information and belief, further violations of federal law are ongoing

    and will be added as they are discovered by the FBI.




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76. These actions were not random, nor were they aberrational. They constitute a sustained and

   systemic pattern of criminal conduct that continues to threaten public safety and

   institutional integrity. The enterprise still operates—silencing dissenters, manipulating

   public trust, and obstructing justice with impunity.

77. As a direct and proximate result of the Defendants’ racketeering, Donlon suffered severe

   harm: he lost his income, career trajectory, and pension eligibility. His professional

   reputation—built over decades—was irreparably harmed. These injuries represent a

   concrete loss of business and property under 18 U.S.C. § 1964(c), entitling Donlon to treble

   damages, attorney’s fees, and all other relief available under law.



C. OVERVIEW OF RICO CONSPIRACY (18 U.S.C. § 1962(d))


78. Defendants CITY, ADAMS, KINSELLA, MADDREY, CHELL, DAUGHTRY,

   SHEPPARD, GERBER, SARACENO and MARINO, along with others known and

   unknown, knowingly and willfully conspired to violate 18 U.S.C. § 1962(c) by agreeing to

   conduct and participate, directly and indirectly, in the affairs of an enterprise through a

   pattern of racketeering activity.

79. Each Defendant knowingly aligned with the enterprise’s central purpose: to consolidate

   political power, shield misconduct, suppress dissent, criminally misuse U.S. federal funds,

   and exploit public authority for private and political gain. This was not a passive

   association. Each Defendant took active steps to further the conspiracy, including:


           ●   disseminating fraudulent communications,
           ●   executing retaliatory employment decisions,
           ●   fraudulently promoting NYPD officers through forgery,



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           ●   obstructing internal investigations, and
           ●   weaponizing promotions and assignments as tools of control and intimidation.

80. The Defendants entered into this agreement with full knowledge that the enterprise would

   rely on criminal means to achieve its objectives, including wire and mail fraud, obstruction

   of justice, whistleblower retaliation, and honest services fraud. These actions were not

   anomalies. They were foreseeable, orchestrated, and essential to the conspiracy itself.

81. Donlon was selected by Defendant ADAMS due to his stellar and accomplished reputation

   in law enforcement and intelligence communities in both the public and private sectors.

   Donlon became a primary target of the collective NYPD Defendants because he refused to

   comply with their criminal conduct. His efforts to expose institutional fraud, abuses of

   authority, lack of experience over incompetence and systemic corruption directly

   threatened the enterprise’s continued operation. In response, the Defendants, individually

   and collectively.


           ●   stripped him of all responsibility,
           ●   excluded from ability to implement direct decision-making,
           ●   were insubordinate by ignoring his orders, and
           ●   ultimately eliminated his position entirely.

82. These retaliatory acts were not incidental. They were coordinated and deliberate, fully

   consistent with the conspiracy’s aim to protect itself at all costs.

83. As a direct and proximate result of the Defendants’ conspiracy, Donlon suffered significant

   injury to his business and property. These injuries include, but are not limited to:


           ●   the loss of salary and pension benefits,
           ●   the destruction of future earning capacity, and
           ●   irreparable harm to his professional reputation.


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84. These damages fall squarely within the scope of civil RICO liability and entitle Donlon to

   treble damages, costs, and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).


85. The full extent of damages incurred by Donlon are to be determined at trial.




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D. CIVIL RICO PREDICATE ACTS CHART
Date/Timeframe     Defendants     Predicate Act                           Description
                    Involved
                                                                          Dissemination of
                   Adams, Daughtry,                                        materially false
Sept 2023 – May   Sheppard, Maddrey,             Wire Fraud                information via
                                                                               electronic
      2025          Kinsella, Chell,         (18 U.S.C. § 1343)           communications
                   Saraceno, Gerber,                                   regarding promotions,
                        Marino                                           qualifications, and
                                                                     internal affairs, intended
                                                                     to deceive the public and
                                                                         consolidate power.
                                                                        Use of official NYPD
                   Adams, Daughtry,                                   and City infrastructure,
Sept 2023 – Nov   Sheppard, Maddrey,           Mail Fraud (18        including interoffice and
                                                                           external mail, to
      2024          Kinsella, Chell,           U.S.C. § 1341)        circulate knowingly false
                       Marino                                              and misleading
                                                                     documentation related to
                                                                            investigations,
                                                                           promotions, and
                                                                         personnel decisions
                                            Retaliation Against a     Systematic dismantling
                  Adams, Sheppard,          Witness (18 U.S.C. §        of Donlon’s role and
Nov 2024 – May       Saraceno                       1513)            responsibilities, followed
                                                                      by termination, in direct
     2025                                                                 retaliation for his
                                                                        whistleblowing about
                                                                        corruption, credential
                                                                     fraud, and misconduct at
                                                                      the highest levels of the
                                                                                NYPD.
                                                                      Suppression of internal
Sept 2024 – May   Adams, Sheppard,             Obstruction of            misconduct reports,
      2025        Maddrey, Daughtry         Justice (18 U.S.C. §      failure to refer cases for
                                                                      discipline, and direction
                                                   1503)              of witnesses to withhold
                                                                          cooperation with
                                                                       ongoing investigations
                                              Honest Services              Promotions and
  2023 – 2025      Adams, Banks,             Fraud (18 U.S.C. §              discretionary
                  Pearson, Maddrey,                1346)               appointments awarded
                                                                        based on loyalty and
                  Sheppard, Marino                                      political favors rather
                                                                       than merit, resulting in
                                                                     denial of honest services
                                                                          to the public and
                                                                      financial enrichment of
                                                                          favored insiders.




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2. FACTUAL ALLEGATIONS PRE-DATING PLAINTIFF THOMAS G. DONLON’S
              EMPLOYMENT AS POLICE COMMISSIONER


  A. A SYSTEMIC CRIMINAL ENTERPRISE WITHIN CITY HALL AND THE
     NYPD

                           (FACTS FOR MONELL CLAIM)

 86. A municipality may be held liable under 42 U.S.C. § 1983 where constitutional violations

    stem not from isolated misconduct, but from official policies, widespread customs, or

    deeply rooted practices. This doctrine, established by Monell v. Department of Social

    Services, 436 U.S. 658 (1978), imposes liability when systemic abuses are perpetrated or

    tolerated by policymakers with final authority. The facts set forth below establish such

    liability against the City of New York.

 87. While the challenges within the NYPD long predate Defendant ADAMS, his

    administration allowed systemic dysfunction to metastasize into something far more

    dangerous: weaponized criminality. Rather than working to reform or stabilize the

    Department, Defendant ADAMS empowered individuals with known histories of abuse

    and misconduct, while dismantling the careers and credibility of those who spoke out.

    Under his leadership, the machinery of public safety was not used to serve the people of

    New York City—it was repurposed to protect political allies and punish internal dissent.

    Whistleblowers were marginalized, retaliated against, and in many cases, forced out of the

    Department altogether.

 88. This failure of leadership does not reflect the values or commitment of the thousands of

    NYPD officers who serve with integrity. It is a reflection of the corrosive influence of City

    Hall under Defendant ADAMS, which allowed a proud institution to be bent for personal

    and political gain.



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89. This was not a string of isolated incidents. What follows is a deliberate and sustained

   pattern of unlawful conduct, some of it plainly criminal, all of it unconstitutional or

   ethically indefensible. Together, these actions reflect a blueprint for institutional decay that

   was not only tolerated, but actively orchestrated by the failed leadership within the NYPD

   and the Administration at City Hall.

90. The City of New York (Defendant CITY), under Defendant ADAMS, not merely failed to

   prevent misconduct, it encouraged, rewarded, and institutionalized it, regardless of the

   harm inflicted on individual officers, the public trust, or the City’s integrity of Defendant

   City.

91. Under Defendant ADAMS, high-ranking NYPD officials with well-documented histories

   of violence, dishonesty, sexual misconduct, and civil rights violations were not investigated

   or disciplined. They engaged in retaliation, cover-ups, and political intimidation, and were

   rewarded with power, protection and promotion. These individuals never faced

   accountability for their actions, and no disciplinary actions were taken against them. If any

   of the rank and file officers acted in this manner they would face disciplinary action

   resulting in transfers, termination and perhaps, in all likelihood, criminal charges. Those

   who upheld the law, including Donlon, were isolated, stripped of authority, and driven out.

   Defendant ADAMS’s meddling often resulted in Donlon being improperly excluded from

   promotional, operational, administrative and investigative decisions.

92. These are not managerial lapses. They are the predictable result of a municipal policy that

   prizes loyalty over legality and silences truth-tellers rather than confronting misconduct.

   The examples that follow, including public lawsuits, audit findings, and detailed patterns




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   of abuse, demonstrate a widespread, deliberate practice of constitutional violations. The

   Defendant CITY, under Defendant ADAMS, is not merely negligent, it is complicit.

93. Donlon accepted the role of interim Police Commissioner with full knowledge of the sordid

   records of many top officials which included Defendants KINSELLA, MADDREY,

   CHELL, DAUGHTRY and SHEPPARD. Donlon accepted the position not out of naivety,

   political alignment, nor personal gain, but out of loyalty to the rank-and-file officers who,

   in spite of failed leadership, risked their lives each day to protect the public. The mission

   of Donlon was clear: restore administrative and operational integrity, improve interagency

   collaboration, and raise morale within a department bereft of competent, fair, and lawfully

   acting leadership.

94. Donlon, with his documented and significant experience working with U.S. Federal, State,

   and local law enforcement and intelligence agencies nationwide, entered the administration

   of Defendant ADAMS, with a mandate to ensure the NYPD operated at its highest level.

   What he found instead was a deeply entrenched criminal enterprise, engineered by

   Defendant ADAMS and his political operatives, that used public office to extract loyalty,

   reward silence, and retaliate against internal dissent. Donlon, after having identified

   significant egregious, unprofessional, and his view, criminal conduct by the named NYPD

   Defendants, believed it was in the best interest of the NYPD and the public to remove these

   individuals from their positions, specifically, Defendants KINSELLA, MADDREY,

   CHELL, DAUGHTRY and SHEPPARD. Defendant ADAMS continued, even after

   Donlon advised Defendant ADAMS of the crimes he witnessed, to allow them (NYPD

   Defendants), each a direct line to his ADAMS office. Donlon repeatedly was given strict

   instructions by Defendant ADAMS “I want you to work with them”. By the time Donlon




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   fully understood the scale of the corruption surrounding him, he had already been marked

   for removal. Donlon felt compelled to remain with the NYPD, even after the individual

   Defendants true unlawful motives and the criminal enterprise were exposed, in order to try

   to protect the rank and file NYPD officers who fell under the NYPD Defendants unlawful

   reign.



B. A Culture of Impunity; The NYPD Fails to Punish the Many Disciplinary Issues of
   the Individual Defendants



95. For years prior to and continuing through Defendant ADAMS’s administration, the NYPD

   maintained a systemic pattern of shielding officers with serious disciplinary histories—

   promoting and rewarding them despite repeated warnings, internal complaints, lawsuits,

   and costly settlements. These decisions were not made in ignorance; they were made with

   full knowledge of the underlying misconduct. This entrenched pattern created a policy and

   practice of protecting abusers, undermining accountability, and enabling the very

   constitutional violations at issue in this case.

96. Rather than reversing course, Defendant ADAMS perpetuated and expanded this

   practice—choosing to elevate known abusers into positions of greater power and influence.

   This deliberate failure to discipline or remove problematic officers—despite overwhelming

   notice—directly links the City’s policymaking officials to the misconduct alleged herein.

97. The long history of misconduct by the Individual Defendants herein is presented in

   chronological order.




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98. On July 28, 2007, while on duty, Defendant DAUGHTRY pointed his firearm at a civilian

   on a motorcycle and threatened, “TURN OFF THE BIKE OR I WILL FUCKING KILL

   YOU.” He was later issued Charges and Specifications for this incident.

99. In 2008, Defendant DAUGHTRY pled guilty to the above misconduct and was docked

   ten (10) vacation days. Despite conduct that constituted the crime of menacing under New

   York State law, no criminal referral was made, and he avoided an NYPD trial.

100.       Also in 2008, Defendant DAUGHTRY was issued a Schedule “B” Command

   Discipline for “Computer Misuse”, a disciplinary action reserved for more serious internal

   violations.

101.       That same year, U.S. Federal District Court Judge in Manhattan, Judge John E.

   Sprizzo, found Defendant DAUGHTRY not credible when testifying under oath in a gun

   arrest case. The Brooklyn District Attorney’s Office publicly confirmed it would begin

   reviewing his other arrests for improprieties. At the time of this instant filing the Brooklyn

   District Attorney’s Office has yet not produced any documents or reports regarding this

   inquiry. (This should have also included an investigation by IAB, NYPD).

102.       In 2008, Defendant CHELL, at the time holding the rank of Lieutenant, fatally

   shot a fleeing suspect, Ortanzso Bovell, in the back. No disciplinary action was taken. No

   firearms retraining was ordered. He remained in good standing with the Department and

   no charges were filed.

103.       In January 2012, Defendant DAUGHTRY received another Schedule “B”

   Command Discipline after failing to notify a Patrol Supervisor of an incident involving

   an off-duty NYPD employee. He was docked eight (8) vacation days. Upon information

   and belief, as a result of the discipline Defendant DAUGHTRY, was not transferred,



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   removed from street enforcement, had his weapons confiscated, nor was he given

   remedial training over the incident.

104.       In March 2012, Defendant DAUGHTRY received yet another Schedule “B”

   Command Discipline. The nature of the infraction and number of days docked remains

   unknown.

105.       In 2012, a federal jury awarded $2,500,000 to the family of Ortanzso Bovell for

   the fatal shooting by Defendant CHELL. That verdict was later reduced through

   settlement to $1,500,000.

106.       Upon information and belief, despite a jury verdict (pursuant to a civil lawsuit

   filed by Bovell’s family), that Defendant CHELL was responsible for the death of Bovell,

   Defendant CHELL received no remedial firearms training, was not transferred, or stripped

   of his service weapon.

107.       It is incredulous and defies logic that Defendant CHELL was allowed to remain a

   law enforcement officer after a civil jury found him responsible for the shooting death of

   a civilian.

108.       Also in 2012, Defendant CHELL was investigated, initially by the Internal

   Revenue Service (“IRS”) who then passed their information to the NYPD’s IAB, for

   falsely utilizing the tax identification numbers and identities of some of his family

   members when he, Defendant CHELL, performed and was paid for employment outside

   the NYPD. Specifically working as a basketball referee. By utilizing the tax identification

   data of others, this caused the actual true individuals to realize an increase in their taxable

   income, for which they were responsible for paying the appropriate taxes.




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109.       Ultimately, the IRS did not bring federal criminal charges, but Defendant CHELL

   was issued internal disciplinary charges for the tax fraud. On May 29, 2013, Defendant

   CHELL pled guilty to willfully attempting to evade or defeat a federal tax in the NYPD

   trial room and that he received income for the period of time he worked off-duty

   employment under the name of a family member for tax deferral purposes.

110.       It is extremely unlikely that Defendant CHELL had permission to work the off-

   duty employment under a different name. NYPD policy is clear that all off-

   duty employment must be authorized beforehand and logically, utilizing one's true

   identity.

111.       Similarly to when Defendant CHELL was allowed to remain in his NYPD position

   after he was found to have unconstitutionally killed a civilian, the City continued to

   protect high-ranking officials despite serious misconduct. It is incredulous—and deeply

   troubling—that any law enforcement officer would retain their job after admitting to

   federal tax fraud. Yet under Defendant ADAMS’s administration, such conduct is not

   only tolerated but shielded. These actions reflect a broader policy of rewarding loyalty

   over legality, and protecting political allies regardless of their violations of public trust.

112.        After he pled guilty to lying and committing tax fraud, Defendant CHELL was

   only docked ten (10) vacation days by the NYPD, and was allowed to continue in his

   career upward trajectory without any obstacles related to his unlawful actions. It is not

   erroneously speculative to believe that if any other MOS, possessing a lower rank, was

   involved in any of the above incidents, that MOS would certainly have been more severely

   disciplined or terminated. This illustrates why a great majority of NYPD MOS are




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   disgusted and suffer from low morale as there are a different set of rules of discipline and

   termination outcomes based on rank/title and personal connections.



C. Defendant Maddrey’s Admitted Dishonesty and the NYPD’s Double Standard



113.       In 2016, Defendant MADDREY began a sexual relationship with Detective

   Tabatha Foster, a subordinate. The relationship led to a physical altercation between them,

   wherein Defendant MADDREY “punched” Detective Foster, and then failed to report the

   violent altercation.

114.       On May 5, 2016, Defendant MADDREY gave inaccurate and misleading

   statements during an official interview with IAB when questioned about his relationship

   with Detective Foster.

115.       On February 1, 2017, Defendant MADDREY again provided false and misleading

   statements during an NYPD IAB interview, including false denials of the altercation.

116.       In 2017, Defendant MADDREY was issued formal disciplinary charges for: (a)

   engaging in a physical altercation with someone known to the Department, (b) failing to

   notify a supervisor, (c) impeding an NYPD investigation, and (d) providing false

   statements.

117.       Defendant MADDREY pled guilty to the internal NYPD charges. His

   punishment: the loss of 45 vacation days. He was not suspended, demoted, or referred for

   criminal prosecution.

118.       If a rank and file police officer pled guilty to lying to IAB regarding the same

   offense they would be more than certainly terminated for lack of candor. Defendant



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   MADDREY faced no real discipline for his admitted lies, and was allowed to continue in

   his upward career trajectory without any obstacles related to his unlawful actions.

119.       Similarly, in the FBI, or any other Federal law enforcement agency, if a Special

   Agent or civilian employee, is shown/proven to have lied, they are in all likelihood or

   immediately terminated for lack of candor and face possible federal criminal charges for

   violations of 18 U.S.C.§ 1001 et seq. The obvious question is why this case involving

   Defendant MADDREY wasn’t opened as a Federal Civil Rights investigation.

120.        Upon information and belief, despite pleading guilty to serious disciplinary

   charges, Defendant MADDREY received no remedial firearms training as a result of the

   discipline.

121.       Defendant MADDREY, despite the admitted lack of candor on several occasions

   involving off-duty and on-duty actions, along with his horrific documented behavior was

   surprisingly promoted to Chief of the Department. Donlon was certainly surprised and

   disappointed having worked with so many numerous and highly talented NYPD

   executives who were not selected over MADDREY for this prestigious position.

122.       The Defendant CITY allowed a known sexual predator, Defendant MADDREY,

   to remain employed within the NYPD, enabling him to continue harming women under

   the color of authority.

123.       On October 26, 2020, then Inspector Defendant SARACENO pled guilty to

   misusing Department time, falsifying Department records, and failing to timely submit

   required executive reports. He was allowed to retire instead of the NTPD pursuing a

   criminal case. His pension was preserved, and he forfeited only thirty (30) vacation days

   and his remaining leave balances. As referenced above, after nearly one year of retirement



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   Defendant MADDREY reinstated Defendant SARACENO to the NYPD at the rank of

   Inspector.

124.       On June 3, 2020, Defendant SHEPPARD violently assaulted a female protester

   during a demonstration and ordered the false arrest of a civilian witness, Ernesto Lopez,

   who filmed the incident. The NYPD later settled with Mr. Lopez for $400,000.

125.       On June 4, 2020, Defendant SHEPPARD again engaged in violent misconduct.

   He tasered protestor Destiny Strudwick without cause and ordered her false arrest. Mrs.

   Strudwick was hospitalized due to her injuries. The City later paid her $99,000 in

   settlement.

126.          In May 2019, Defendant DAUGHTRY was again disciplined through a Schedule

   “B” Command Discipline for failing to safeguard his NYPD-issued body-worn camera.

127.       In May 2020, despite this growing record of violations, Defendant DAUGHTRY

   was given a discretionary promotion to Detective 2nd Grade.



 D. Proven Sexual Misconduct Results in Rewards For NYPD Bad Actors.



128.       In February 2021, Captain Sharon Balli sued the Defendant CITY and senior

   NYPD officials for sexual harassment and retaliation, which received widespread news

   coverage. Her allegations included multiple male supervisors making sexually explicit

   comments in front of her and attempting to access the bathroom while she was showering.

   One officer even bragged about masturbating at her desk. These acts were reported but

   ignored.




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129.       When Captain Balli filed a sexual harassment complaint with the NYPD’s Office

   of Equal Employment Opportunity, it was sent to Captain James Kobel, who immediately

   alerted the officers she had named, placing her at greater risk. Rather than protect Captain

   Balli, the NYPD retaliated against her until she was forced to resign.

130.       Shortly after the complaint, which was leaked by Captain Kobel, he was rewarded

   by the NYPD’s Office of Equal Employment Opportunity where he oversaw all of the

   discrimination and retaliation investigations in the NYPD.

131.       In December 2021, the City settled Balli’s lawsuit for $800,000. Despite the size

   and seriousness of the settlement, none of the accused officers were disciplined. To the

   contrary, they were each rewarded with promotions, commanding officer positions and/or

   lucrative assignments within the NYPD.

132.       In January 2022, Deputy Inspector Andrew Arias, one of Captain Balli’s harassers,

   was promoted to Commanding Officer of the Hate Crimes Task Force. In January 2023,

   another accused officer, Captain Hariton Marachilian, was made Commanding Officer of

   the 90th Precinct, just 13 months after the Defendant CITY paid out nearly a million

   dollars for his prior conduct.

133.       The promotions of these individuals is an embarrassment not only for the NYPD,

   but for law enforcement as a whole. The NYPD is known as the preeminent municipal

   law enforcement agency in the United States of America and for it to reward these

   egregious individuals with promotions is embarrassing, and just plain wrong.




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 E. Defendant ADAMS Consolidates Power and Elevates Loyalists


       a. City Hall’s Takeover of NYPD Leadership:


134.       On January 1, 2022, Defendant ADAMS was sworn in as Mayor of the City of

   New York.

135.       From the outset, Defendant ADAMS’s administration stripped the NYPD of

   independent leadership and centralized power in a tight-knit circle of political loyalists,

   many of whom had already been implicated in prior misconduct.

136.       That same day, Defendant ADAMS appointed Keechant Sewell the 45th Police

   Commissioner of the NYPD. Her tenure, however, was undermined from the beginning.

   Defendant ADAMS installed two of his longtime allies, Phillip Banks and Timothy

   Pearson, as de facto overseers of the Department, bypassing her authority.

137.       Phillip Banks was appointed Deputy Mayor for Public Safety despite previously

   being named an unindicted co-conspirator in an FBI corruption investigation and having

   $300,000 in unaccounted for money (per media reporting) in his bank account. Tim

   Pearson, known for a history of sexual misconduct which included on duty sexual

   incidents and accusations of sexual abuse and harassment, was simultaneously brought

   into City Hall as a Senior Advisor for Public Safety. Though neither held formal command

   positions within the NYPD, they began directing NYPD operations through shadow

   influence.

138.       Under this structure, fomented and condoned by Defendant ADAMS, Banks and

   Pearson effectively led the NYPD. They regularly overruled Police Commissioner Sewell

   and assumed control of promotional decisions, assignments, and strategic operations. As



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   a result, the NYPD ceased to function through the long established chain of command.

   Power was wielded based not on rank, merit, or civil service law, but on personal

   allegiance to Defendant ADAMS.

139.       The NYPD’s discretionary promotions, which under the NYC Administrative

   Code § 14-114 are supposed to be made solely by the Police Commissioner, were taken

   over by Banks and Pearson. Promotions below the rank of captain (e.g., Detective grades,

   Sergeant Special Assignment, Lieutenant Special Assignment) were controlled by

   Pearson. Promotions above the rank of captain (e.g., Deputy Inspector, Inspector, Bureau

   Chief) were finalized by Banks. It was subsequently reported that the Police

   Commissioner had little to no meaningful input in the discretionary promotional process

   or who received the benefit.

140.       These discretionary promotions came with substantial financial benefits, including

   salary increases, overtime eligibility, and pension enhancements, often totaling hundreds

   of thousands of dollars per officer. Banks and Pearson used this power to reward loyalty,

   punish dissent, and entrench their control over the Department.

141.       This arrangement constituted a direct violation of the law. It also created a

   promotional economy where corruption, not competence, dictated advancement. The

   consequence was devastating. Qualified officers were sidelined while unqualified

   loyalists with disciplinary records were vaulted into leadership.

142.       In practice, final promotion lists were sent from the NYPD to City Hall, then

   reviewed and edited by Banks and Pearson. Promotions were often contingent on political

   connections, loyalty to Defendant ADAMS, or willingness to ignore misconduct. This




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   backroom system gutted the NYPD’s credibility and created a shadow structure of power

   wholly detached from public accountability.

143.       Banks and Pearson made no secret of their authority. They regularly met with

   NYPD personnel across all ranks and inserted their allies into key command roles. Police

   Commissioner Sewell was repeatedly overruled or bypassed entirely. Even high-ranking

   chiefs deferred to the political operatives instead of their lawful superior.

144.       These acts usurped the statutory powers of the Police Commissioner and

   transferred them to unelected, unaccountable individuals under Defendant ADAMS’s

   personal direction. The NYPD was no longer a paramilitary institution governed by a

   chain of command. It had become a political patronage machine, serving the personal

   interests of City Hall rather than the public good.

145.       This structural breakdown of lawful authority was not theoretical. It had tangible

   and dangerous effects. Discretionary promotions became rewards for silence or

   complicity. Loyalty to the Mayor’s circle was prioritized over integrity, experience, or

   constitutional compliance. Senior leadership positions were filled with individuals known

   for abuse, retaliation, and dishonesty.

146.       The result was a law enforcement agency being led by officials who had no lawful

   claim to their roles and no accountability to the people they served. The NYPD’s

   command structure was no longer based on merit or civil service, it was built on cronyism,

   coercion, and personal allegiance to a political regime.

147.       The illegal consolidation of power under Defendant ADAMS, Banks, and Pearson

   created the precise environment that allowed the retaliation against Donlon to flourish. It

   also violated the statutes and civil service rules designed to prevent political interference



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   in law enforcement. These were not minor infractions. They were structural and

   deliberate, and they set the stage for the constitutional violations that followed.



  b. A Shadow Chain of Command: Banks and Pearson Control Promotions:




148.         Banks and Pearson operated as political enforcers within the NYPD, routinely

   overriding or sidelining the Police Commissioner. Promotional decisions, command

   assignments, and disciplinary outcomes were no longer made by the Commissioner as

   required under New York City Charter § 435 and Administrative Code § 14-114. Instead,

   these decisions flowed through the Mayor’s inner circle.

149.         Under this unlawful scheme, promotions below the rank of captain, such as

   Detective 2nd and 1st Grade, Sergeant Special Assignment (SSA), and Lieutenant Special

   Assignment (LSA), were reviewed and finalized by Pearson. Promotions at the rank of

   captain and above, including Deputy Inspector, Inspector, Deputy Chief, and Bureau

   Chief, were controlled by Banks.

150.         The promotional process was entirely corrupted. Recommendations were sent to

   City Hall, where Banks and Pearson modified the lists based on political loyalty,

   favoritism, and personal agendas. Commissioner Sewell was routinely forced to sign off

   on pre-selected candidates, stripping her of statutory discretion and rendering her office a

   façade.

151.         As reported in several media outlets numerous high-ranking officers personally

   witnessed Banks and Pearson dictating promotions and commanding officer assignments.

   Multiple sources had confirmed to reporters that senior staff within the Office of the


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   Police Commissioner were instructed to defer to Banks and Pearson rather than follow

   internal NYPD protocol. In several instances, the Commissioner Sewell was completely

   bypassed in operational decision-making.

152.       Sewell herself raised concerns. According to internal communications and

   reporting, she protested this interference and attempted to reassert her authority. In

   response, Banks and Pearson further marginalized her and used back channels to direct

   senior NYPD staff without her input.

153.       This deliberate consolidation of power violated New York City law, undermined

   public safety, and transformed the Department’s internal governance into a patronage

   system. Promotions were granted not on merit, but on loyalty to allies of Defendant

   ADAMS

154.       Many of these discretionary promotions conferred financial benefits, such as

   increased pay, access to overtime, and pension enhancements. By controlling the process,

   Banks and Pearson gained personal influence and political capital through a system that

   directly impacted salaries, career advancement, and post-retirement benefits.

155.       This conduct likely constitutes honest services fraud under 18 U.S.C. § 1346.

   Banks and Pearson used their positions to orchestrate a pay-to-play promotion scheme,

   depriving the public of the NYPD officials’ honest services by corruptly influencing

   official acts for personal and political advantage.

156.       These were not abstract abuses. Qualified officers were bypassed, retaliated

   against, or pushed out, while unqualified loyalists, including individuals with documented

   disciplinary histories, were rewarded. The command structure of the NYPD was no longer




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   grounded in law, merit, or public interest; it had become a shadow government operating

   at the discretion of Defendant ADAMS.

157.       These actions had cascading effects throughout the Department: morale collapsed,

   transparency disappeared, and the rule of law was subordinated to political expediency.

   The systematic sidelining of the Police Commissioner made clear that integrity and

   independent oversight would not be tolerated. The same actions were also re-informed

   under Donlon’s administration as interim Police Commissioner.

158.       The City of New York, (Defendant CITY) cannot escape liability for these actions.

   It knowingly permitted unelected, unvetted political actors to commandeer the largest

   municipal police force in the United States, an enterprise that now functioned in direct

   violation of the City Charter, civil service rules, and federal law.



  c. Defendant ADAMS Continues to Reward Bad Actors in the NYPD



159.       On January 4, 2022, Edward Caban was appointed First Deputy Commissioner of

   the NYPD, the second highest-ranking position in the Department, subordinate only to

   the Police Commissioner. This promotion came despite Caban’s extensive disciplinary

   history, including formal punishment for using his NYPD-issued vehicle for personal

   errands on at least 96 occasions.

160.       At the time of his appointment, Defendant ADAMS and senior NYPD leadership

   were aware of Caban’s past misconduct. Nevertheless, he was elevated to the most

   powerful position in New York City law enforcement.




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161.          Just one month later, in February 2022, Defendant ADAMS, either directly or

   through his proxies, placed Captain Andrew Arias in command of the NYPD’s Hate

   Crimes Task Force. Arias had been a central figure in the sexual harassment and

   retaliation claims raised by Captain Sharon Balli, whose lawsuit against the NYPD and

   multiple officers resulted in an $800,000 settlement by the City less than three months

   earlier.

162.          Despite his documented involvement in a hostile and retaliatory work

   environment, Arias faced no disciplinary consequences. Instead, he was rewarded with a

   high-profile assignment typically made at the discretion of the Police Commissioner.

   Under normal circumstances, Commissioner Sewell would have been credited with that

   decision, if of course Arias merited it. But under Defendant ADAMS, such appointments

   were routinely directed by Banks and Pearson.

163.          Arias’s promotion exemplifies the administration’s pattern of protecting and

   elevating officials implicated in civil rights and sexual misconduct cases, provided they

   remained politically loyal.

164.          On May 8, 2022, the New York Post reports troubling new allegations which

   emerged against Caban. Through Freedom of Information Law Requests, the Post learned

   that Caban had been accused of cheating on his sergeants examination, and was

   disciplined in four other misconduct cases. Caban was accused of engaging in multiple

   inappropriate sexual relationships with female subordinates. Reports alleged that Caban

   had “several sexual encounters” with NYPD employees, and that he provided preferential

   treatment to officers with whom he had sexual relationships.




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165.       These actions constituted serious violations of NYPD policy, civil service rules,

   and federal workplace protections. Yet, neither the NYPD nor Defendant CITY took

   action. Instead, the allegations were actively suppressed, protecting Caban and insulating

   the Department from public accountability.

166.       The failure to investigate or discipline Caban, despite credible claims that he

   engaged in sexual acts with subordinates while on duty and in a position of supervisory

   authority, demonstrates a deliberate pattern of concealment and complicity. Caban has

   never faced formal charges or disciplinary review for these acts.

167.       What makes this all the more egregious is that this conduct was known to

   Defendants ADAMS and CITY at the time of Caban’s promotion to First Deputy

   Commissioner. His advancement, despite serious, disqualifying misconduct, exemplifies

   the administration’s policy and practice of rewarding those accused of sexual misconduct

   and rights violations, as long as they remained within the Mayor’s political circle.

168.       On July 22, 2022, the City of New York (Defendant CITY), agreed to pay $99,000

   to settle a federal civil rights lawsuit filed by New York City residents Destiny Strudwick

   and Yasmin Geurts against the Defendants CITY, SHEPPARD, and several other NYPD

   officers. The suit stemmed from a 2020 protest in which Defendant SHEPPARD tasered

   and falsely arrested Ms. Strudwick, causing injuries that required hospitalization.

169.       Despite the severity of the allegations and the City’s monetary settlement,

   Defendant SHEPPARD was not disciplined. Instead, he was later promoted to Deputy

   Commissioner of Public Information (DCPI) on November 17, 2022. Another example of

   advancement in the face of known misconduct orchestrated by Pearson and the collective

   Defendants.



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170.       In January 2023, Hariton Marachilian, another officer named in Captain Balli’s

   sexual harassment lawsuit, was promoted to Commanding Officer of the 90th Precinct.

   This promotion occurred just thirteen (13) months after the City settled the case for

   $800,000. Rather than face any consequence, Marachilian was elevated, further

   demonstrating the City’s policy of protecting and rewarding those accused of physical

   and sexual harassment.

171.       Marachilian’s promotion was approved under the watch of Defendant

   MADDREY, then Chief of Department, and Defendant ADAMS. Both were aware of the

   lawsuit and its resolution. The elevation of Marachilian, despite such serious allegations,

   reinforced the message that sexual misconduct would not only be tolerated, but rewarded,

   if politically convenient.

172.       The NYPD’s failure to investigate, discipline, or even acknowledge the

   misconduct described above is not a series of isolated lapses, it is a sustained and

   deliberate policy. These acts reflect not negligence, but a conscious municipal choice to

   reward loyalty over legality and suppress dissent over transparency.



 F. The Critical Response Team (CRT): A Rogue Unit Created to Project Power Not
    Ensure Safety


       a. Formation of CRT Outside of Lawful Oversight Channels



173.       In the fall of 2022, the NYPD, under the direction of Defendant DAUGHTRY,

   began publicly promoting the newly formed Community Response Team (“CRT”)




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   through a series of stylized videos posted on the NYPD’s website, which is operated by

   the Defendant CITY.

174.       These videos showcased aggressive street enforcement tactics, unconstitutional

   stops, and unlawful vehicle pursuits, many of which likely violated the Fourth and

   Fourteenth Amendments. The CRT videos made it clear: the unit operated without legal

   constraint, and with full backing from the Mayor’s Office.

175.       On paper, CRT was described as an elite crime-fighting unit launched under

   Defendant ADAMS. In practice, it was a rogue enforcement team that operated outside

   the NYPD’s traditional chain of command, answerable only to City Hall. During his

   tenure, Donlon was never informed of CRT’s existence or history, nor was the unit

   mentioned in weekly executive meetings involving the NYPD’s top-ranking three-star

   and two-star Chiefs. Typically the Police Commissioner would be debriefed on the actions

   of an enforcement unit like CRT and its accomplishments, but Donlon was kept in the

   dark.

176.       This secrecy was deliberate. CRT’s activities were intentionally concealed from

   Donlon by Defendants MADDREY, CHELL and DAUGHTRY, despite their presence at

   the same executive meetings. The exclusion of the Police Commissioner (orchestrated by

   those in Defendant ADAMS’s inner circle), from oversight of a citywide enforcement unit

   reflects a profound breakdown in command accountability.

177.       Defendant DAUGHTRY, who had no prior administrative or operational

   experience as a Commanding Officer, was placed in charge of flawed CRT. DAUGHTRY

   treated the unit as a personal fiefdom, allowing officers to pursue both real and imagined




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   suspects at high speed through city streets, frequently in violation of NYPD policy. These

   pursuits often resulted in serious injury and, in some cases, death.

178.       Defendant CHELL, a key leader within CRT, stated publicly: “Our Mayor had

   given us the mandate to start playing offense out here.” That statement was not a

   metaphor. CRT was used to harass, injure, and violate the rights of civilians, particularly

   in communities of color, with no regard for constitutional safeguards.

179.       On or about October 5, 2022, Defendant DAUGHTRY, pled guilty to making

   misleading official statements to the Civilian Complaint Review Board (CCRB) on

   February 21, 2021 and July 29, 2021. For the admitted lack of candor, Defendant

   DAUGHTRY was only docked twenty (20) days.

180.       If a rank and file police officer pled guilty to lying to IAB they would be

   terminated or suspended for lack of candor. Defendant DAUGHTRY faced no real

   discipline for his admitted lies and was allowed to continue in his employment with

   Defendant CITY without any obstacles related to his unlawful actions.

181.       On December 2, 2022, despite CRT’s growing record of abuse, Defendant CHELL

   was promoted to Chief of Patrol by Defendant ADAMS. Three weeks later, on December

   23, 2022, Defendant DAUGHTRY was promoted to Detective First Grade, a rare and

   highly coveted honor, despite his history of unconstitutional policing.



        b. Patterns of Unconstitutional Policing and Excessive Force



182.       In early 2023, a scathing internal audit by retired NYPD Chief Matthew Pontillo

   found that CRT officers were systematically conducting unlawful stops, failing to file stop



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   reports, and ignoring internal documentation policies. The audit concluded that the CRT

   was operating in open defiance of both NYPD rules, and constitutional law.

183.       Rather than curtail CRT’s activities, Defendant ADAMS took to Instagram in a

   public relations stunt, posing in CRT’s khaki uniform and writing: “Turning out with the

   team.” His post came just weeks after the audit’s release, and was widely interpreted,

   correctly, as a direct rebuke to efforts to hold CRT accountable.

184.       In effect, CRT reported directly to Defendant ADAMS and City Hall. When

   higher-ranking officers attempted to intervene or raise objections, they were overruled.

   Defendants CHELL and DAUGHTRY maintained a direct line to Defendant ADAMS,

   who personally intervened to preserve CRT’s autonomy and shield its actions from

   scrutiny. The CRT lacks any meaningful policies, guidelines or procedures. There is no

   indication that the NYPD Legal Bureau approved or even saw the techniques being used

   by Defendants CHELL and DAUGHTRY with CRT.

185.       Due to the absence of oversight, the CRT appeared to operate with impunity,

   haphazardly assaulting the public without any goals, objectives, or accountability

   mechanisms.

186.       According to investigative reporting by ProPublica, Defendant ADAMS had

   direct access to CRT officers’ body-worn camera footage, an extraordinary and irregular

   level of control that bypassed standard NYPD oversight mechanisms.




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        c. Public Endorsement of Lawlessness by Defendant ADAMS



187.       In one particularly egregious instance, a senior NYPD attorney raised legal

   objections to CRT’s unconstitutional conduct. Rather than heed the legal advice,

   Defendant ADAMS demanded to know whether the objections were based upon “law or

   opinion”, and angrily insisted that the actions proceed, permitting Defendant

   DAUGHTRY to ignore the attorney’s guidance and continue with the unlawful policing

   operation.

188.       CRT’s methods implemented by ADAMS, mirrored more outrageous behavior as

   the disbanded Anti-Crime Unit, which Defendant ADAMS has previously—-stated his

   intention to change the concept and responsibilities of Anti-Crime Unit was to avoid

   discriminatory tactics in anti-crime efforts, aiming for a more targeted and less harmful

   approach. ADAMS was concerned about discriminatory policing within the NYPD,

   leading to continued oversight.

189.       However, once in power, Defendants ADAMS, MADDREY, CHELL and

   DAUGHTRY allowed CRT to operate without any formal operational plan which

   included policies, procedures and guidelines.

190.       Operational plans, accountability structure, or legal review, targeting minority

   communities in precisely the same issues that led to the dismantling of the original Anti-

   Crime Unit concept by ADAMS.

191.       Upon assuming the office as the Mayor of New York City, Defendant ADAMS

   sought to bring back the Anti-Crime Units that had been previously eliminated due to the

   abuse that these Units caused, their engagement in racially motivated policing, and were



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   known to have trampled on the constitutional rights of New York City residents. While in

   office, Defendant ADAMS brought back the Anti-Crime Unit as an "anti-gun unit" that

   targeted illegal firearms and gang activity utilizing officers selected and trained to prevent

   discriminatory practices. This effort was not sustained.

192.       Under Defendant DAUGHTRY, as cited above, the anti-gun unit morphed into

   the CRT. Essentially, Defendants ADAMS and DAUGHTRY resurrected the former

   Anti-Crime handbook with new guidelines and procedures rebranding it CRT. Defendant

   ADAMS, who had publicly identified the constitutional issues surrounding the former

   Anti-Crime Unit during his campaign for Mayor (such as racial profiling, unlawful

   searches, seizures and stops) welcomed, and continues to welcome the unlawful

   techniques and practices of the CRT.

193.       The brutality of CRT operations was not accidental, it was the predictable outcome

   of a lawless mandate given by Defendant ADAMS himself. CRT became the enforcement

   arm of Defendant ADAMS’s political strategy: a tool for projecting “tough on crime”

   optics at the expense of civil rights and constitutional law.

194.       As the City’s highest-ranking policymaker, Defendant ADAMS’s endorsement of

   CRT—despite ongoing civil rights audits—demonstrates more than indifference. It

   reflects a calculated effort to normalize unconstitutional policing.

195.       These actions support Monell liability by establishing an official policy or custom

   that violated New Yorkers’ constitutional rights. Despite media reports exposing CRT’s

   abuses, no new guidelines or reforms were implemented.




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 G. Retaliation, Suppression and First Amendment Violations


a. Retaliation Against Whistleblowers Within the NYPD:


196.       On April 11, 2023, a civilian NYPD employee filed a civil lawsuit alleging that

   Lieutenant Widler Lucas, then serving as Integrity Control Officer for the NYPD’s

   Property Clerk Unit, had sexually assaulted her in his office while on duty. The allegation

   was particularly alarming given Lucas’s role as an internal accountability officer

   responsible for departmental integrity.

197.       Despite the seriousness of the allegation, which described an on-duty sexual

   assault by an officer tasked with internal oversight, Defendant CITY failed to take even

   basic precautionary measures. Lieutenant Lucas was not placed on desk duty, nor was his

   firearm removed, both of which are standard protocol when serious misconduct

   allegations are substantiated.

198.       The inaction was so pronounced that the victim was forced to seek a family court

   order of protection just to compel the NYPD to disarm Lucas. This unprecedented step

   underscores the Department’s complete abdication of responsibility in handling serious

   workplace sexual violence.

199.       Just months later, in June 2023, the limits of the Police Commissioner’s authority

   was exposed when then Commissioner Sewell sought to discipline then Chief of

   Department, Defendant MADDREY, for a separate serious act of misconduct.

200.       In that incident, Defendant MADDREY appeared in person at the 73rd Precinct in

   Brownsville, Brooklyn and ordered officers to null and void a gun-related arrest involving




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   a former NYPD officer with whom Defendant MADDREY had a personal connection.

   The order was a blatant abuse of authority and a direct violation of NYPD policy.

201.       The Civilian Complaint Review Board investigated the incident and substantiated

   the misconduct. Commissioner Sewell determined that discipline was warranted and

   intended to act accordingly.



b. Weaponization of Internal Affairs and Legal Processes



202.       In spite of the determination made by then Commissioner Sewell, Defendant

   ADAMS and his senior aides intervened to block any meaningful discipline. They lobbied

   Police Commissioner Sewell directly to ignore the CCRB’s findings and protect

   Defendant MADDREY from accountability. This is further evidence of the Mayor’s

   (Defendant ADAMS’s) control over disciplinary outcomes in cases involving political

   loyalists.

203.       Ultimately, under pressure from City Hall, Commissioner Sewell issued a token

   penalty: docking Defendant MADDREY ten days’ pay. Upon information and belief, the

   decision reflected NOT her independent judgment, but the Mayor’s (Defendant

   ADAMS’s) refusal to permit discipline of his inner circle, even in the face of clear policy

   violations.

204.       This episode highlighted what was already becoming apparent across the NYPD:

   the Police Commissioner no longer held true disciplinary authority. Defendant ADAMS,

   acting as both political overseer, and de facto final arbiter of NYPD discipline, had

   stripped the office of the Police Commissioner of meaningful power when it came to



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   holding high-ranking officers accountable. In particular, those officers whom Defendant

   ADAMS viewed as loyalists and his protectors.

205.       The NYPD's failure to disarm an accused sexual predator (Widler) combined with

   the egregious interference of/by Defendant ADAMS in a case involving a clear case of

   abuse of power by the Chief of Department, reflects a pattern of deliberate inaction and

   political protectionism that violates constitutional norms and emboldens further

   misconduct.

206.       In or about May 2023 (one month prior to the departure of Commissioner Sewell),

   Deputy Inspector Andrew Arias was promoted to Deputy Chief in the NYPD despite his

   active participation in the incidents that gave rise to the Captain Sharon Balli sexual

   harassment lawsuit which the Defendant CITY paid $800,000 to resolve.



 H. City Liability Under Monell and Federal Civil Rights Law


a. A Policy and Practice of Protecting Abusers and Punishing Reformers


207.       On June 16, 2023, NYPD Police Commissioner Keechant Sewell resigned from

   her post after enduring months of systemic obstruction, unlawful and political interference

   by Defendant ADAMS and his senior aides.

208.       Like Plaintiff Donlon, Commissioner Sewell had been stripped of the core

   authority required to lead the Department. Key decisions, including disciplinary

   measures, promotions, transfers, and public messaging, were micromanaged or outright

   dictated by City Hall. Commissioner Sewell was regularly bypassed by Defendant




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   ADAMS and his inner circle at City Hall and at the NYPD, rendering her title functionally

   meaningless.

209.       Upon information and belief, the only logical conclusion surrounding the

   departure of Commissioner Sewell and subsequent media reports, was not that she

   voluntary resigned but that she was forced out. As a result her resignation was a

   constructive discharge, driven by Defendant ADAMS’s sustained campaign to strip

   Commissioner Sewell of her institutional power and undermine her efforts to hold senior

   NYPD officials accountable. Any reasonable person in her position would have felt forced

   to resign under such conditions.

210.       Commissioner Sewell’s resignation came just days after Defendant ADAMS’s

   intervention to block her efforts to discipline Chief of Department, Defendant

   MADDREY for misconduct, a clear demonstration that her authority as Commissioner

   had been hollowed out to protect politically connected insiders.

211.       On July 17, 2023, Defendant ADAMS appointed Edward Caban as her

   replacement, despite Caban’s extensive and well-documented history of sexual

   misconduct.

212.       These allegations were widely reported in the New York Post and other media,

   and known to NYPD leadership and City Hall at the time of Caban’s appointment. Yet no

   investigation was initiated, and Caban faced no meaningful consequences. Instead, he was

   rewarded with the highest position in the NYPD.

213.       The refusal by Defendant ADAMS and Defendant CITY to discipline

   Commissioner Caban, or even acknowledge the seriousness of the allegations,

   demonstrates a deliberate policy of protecting senior officials who engage in sexual



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   misconduct, provided they remain politically loyal to the administration of Defendant

   ADAMS

214.       On the same day Caban was appointed Commissioner, the New York Post

   published a revealing exposé stating that Defendant DAUGHTRY, then a Detective First

   Grade, was widely viewed as “the real boss” of the NYPD. The article reported that senior

   NYPD brass routinely bypassed the Commissioner and went directly to Defendant

   DAUGHTRY to request transfers, promotions, and other key decisions.

215.       Despite having no official authority over such matters, Defendant DAUGHTRY

   had effectively supplanted the Commissioner’s role, functioning as Defendant ADAMS’s

   political enforcer within the NYPD and directly undermining the chain of command.

216.       Rather than correct this unlawful power structure, Defendant ADAMS formally

   rewarded it. On July 17, 2023, the same day Caban was elevated to Commissioner,

   Defendant DAUGHTRY was promoted to Assistant Commissioner, despite his troubling

   disciplinary history and complete lack of qualifications for the role.

217.       The assignment of Defendant DAUGHTRY to the position of Assistant

   Commissioner, despite having no supervisory experience is as incredulous as it is

   irresponsible. In this major role of responsibility within the NYPD, the position typically

   requires an extensive supervisory skill set which is needed to make operational and

   administrative decisions. To have placed someone like Defendant DAUGHTRY in this

   position is not only detrimental to the NYPD, but also places a MOS in difficult and

   potentially life threatening positions, and the public in harm's way.

218.       These appointments were not based on merit, experience, or in the best interests

   of the NYPD. They were political rewards for loyalty and silence, part of a broader pattern


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   by the City of New York to shield wrongdoers and dismantle lawful oversight structures

   within the Department.




b. Tim Pearson Exerts Unlawful Influence Over NYPD Operation and Promotions



219.         On July 22, 2023, Tim Pearson—despite holding no official NYPD role—

   conducted an interview for the senior leadership position of Deputy Commissioner of

   Public Information (DCPI). Pearson’s involvement was a clear overreach of authority.

220.         The DCPI role falls under the Police Commissioner, not an unelected advisor like

   Pearson. This exemplifies the inappropriate political interference at the NYPD’s highest

   levels.

221.         Pearson’s involvement was not an anomaly. It was part of a broader pattern in

   which high-level NYPD promotions were controlled not by the Police Commissioner, but

   by City Hall operatives loyal to Defendant ADAMS. Pearson’s de facto authority over

   hiring decisions reflected the erosion of lawful procedures and institutional independence

   within the NYPD.

222.         On August 1, 2023, just days after Pearson conducted the interview, Lieutenant

   Widler Lucas was formally indicted by the King’s County (Brooklyn) District Attorney

   for two counts of a criminal sexual act, as well as charges of sexual misconduct and

   aggravated harassment. These charges stemmed from an on-duty sexual assault of a

   subordinate NYPD employee, allegations the Department had been aware of for months.

223.         At that time, Defendant CITY had a clear and lawful pathway to discipline Lucas:

   he could have been suspended with pay pending the outcome of the criminal trial, then


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   terminated through internal disciplinary proceedings. This process, if followed, would

   have triggered pension forfeiture upon conviction.

224.       Instead, the Defendant CITY, with the approval of then-Police Commissioner

   Edward Caban, permitted Lucas to quietly retire with full vesting of his seventeen-year

   pension, despite the severity of the charges and the potential twenty-year prison sentence

   he still faced.

225.       Upon information and belief, allowing an officer who has been indicted on sex

   charges to retire with his pension is unprecedented. No formal explanation was provided

   for this departure from standard procedure. The lack of disciplinary follow-through,

   particularly for a senior officer facing violent sex crime charges, was so unusual and

   improper that it demands comprehensive investigation.

226.       Just six days after Lucas’s indictment, on August 7, 2023, then Commissioner

   Caban formally promoted Defendant SHEPPARD to the position of DCPI, placing him

   in charge of managing the NYPD’s public messaging and media relations.

227.       Defendant SHEPPARD’s appointment—facilitated by Pearson and rubber-

   stamped by Commissioner Caban—highlighted the NYPD’s politicized promotions.

   Positions were awarded not based on merit, but on political loyalty.

228.       Upon assuming the DCPI role, the division nearly doubled in size, growing from

   46 to 86 officers, despite patrol shortages. This unchecked expansion illustrates gross

   mismanagement and a lack of oversight, implicating both ADAMS and Caban.




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c. CRT’s Unconstitutional Reign of Violence and Abuse Spreads Across New York
   City



229.       On August 16, 2023, in response to a growing number of reckless and dangerous

   police chases, Defendant MADDREY issued an internal memorandum to at least six top

   NYPD officials, including Defendants CHELL and DAUGHTRY, reminding them that

   all officers must adhere to the NYPD’s written policy on vehicular pursuits.

230.       The memorandum emphasized that “a vehicle pursuit must be terminated

   whenever the risks to members of the service and the public outweigh the danger to the

   community if the suspect is not immediately apprehended.” This was not a discretionary

   guideline, it stemmed from the NYPD’s legal and constitutional duty to safeguard both

   civilians and officers from unnecessary harm.

231.       The directive followed two particularly disturbing incidents. On August 12, 2023,

   five Staten Island based police officers were injured during a high-speed pursuit of a

   suspected minivan thief. Just days later, a second pursuit ended in disaster when the

   fleeing suspect crashed into an SUV, flipping the vehicle and injuring two children, ages

   1 and 5, who were passengers.

232.       On August 15, 2023, a 54-year-old woman riding a bicycle was hit and critically

   injured by a suspect fleeing from detectives investigating illegal firearms. The woman

   was left fighting for her life due to the CRT’s reckless chase tactics.

233.       These back-to-back incidents reflected a broader pattern of CRT led operations

   that violated not only NYPD policy, but also basic standards of public safety and

   constitutional policing. No operational plans governed CRT's actions. Unchecked abuses

   continued without any discipline or consequence.


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234.       Rather than issue a corrective statement, Defendant CHELL publicly bragged

   about the tactics. In a subsequent interview, he said: “We’re pretty good at it, and we’re

   going to continue stopping cars and bikes that are breaking the law.” His statement

   reflected not just defiance, but a complete disregard for the violence and legal violations

   carried out under his watch.

235.       Multiple other incidents further illustrated the CRT’s dangerous and lawless

   behavior:

236.       In one instance captured on a body-worn camera, an NYPD officer while pursuing

   an unlicensed motorcyclist, swerved into the fleeing motorcyclist and caused the

   motorcyclist's death.

237.       In another, a NYPD Commander was caught on cellphone video punching and

   kicking an unlicensed motorcyclist in the head.

238.       In yet another, NYPD officers stopped a civilian without any apparent legal basis.

239.       In one particularly egregious case, a CRT officer repeatedly grabbed a male

   civilian’s genitals during a stop, without conducting a search elsewhere on the body. That

   same civilian was later issued a summons for littering.

240.       When the man attempted to complain about the sexual assault and unlawful stop,

   a CRT officer slammed him into a nearby window.

241.       These are not isolated incidents, they are the foreseeable result of a policing

   culture encouraged and protected by Defendant ADAMS. At every turn, Defendant

   ADAMS condoned the CRT’s excessive and unconstitutional tactics, refusing to impose

   oversight or discipline.




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242.       On May 31, 2024, the City of New York agreed to pay $400,000 to settle a federal

   lawsuit brought by Ernesto Lopez, who alleged that Defendant SHEPPARD violated his

   constitutional rights. Despite this substantial payout and the seriousness of the allegations,

   Defendant SHEPPARD faced no disciplinary action or punishment whatsoever. Another

   example of being protected by MADDREY and ADAMS. Certainly a lower-ranked MOS

   would not have been as fortunate.

243.       The absence of accountability, lack of control and defined goals, in the face of

   clear, repeated constitutional violations, some of which resulted in serious injury and

   death, demonstrates Defendant CITY’s, under the administration of Defendant ADAMS,

   established custom, policy, and practice of condoning unlawful police conduct when

   carried out by loyalists within the Defendant ADAMS administration.



 I. Mismanagement, Retaliation and Corruption Continue Unchecked, Defendant
    ADAMS Takes No Action



244.       In September 2023, NYPD Officer Hieu Tran was involved in a violent road rage

   shooting in southern New Jersey after a day of heavy drinking. During a seemingly

   random traffic encounter, Tran inexplicably opened fire on a young businessman, leaving

   the man permanently paralyzed. The shooting was senseless, unprovoked, and entirely

   preventable.

245.       At the time of the shooting, Officer Tran was under the direct command of

   Defendant SHEPPARD.

246.       Defendant SHEPPARD had long been aware of Officer Tran’s serious struggles

   with alcoholism and prior alcohol-related misconduct. Rather than initiate intervention,


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   mandate treatment, or remove Tran from active duty, Defendant SHEPPARD deliberately

   concealed the issue, allowing a clearly impaired officer to remain armed and on the streets.

247.       This supervisory negligence created a foreseeable and extreme risk to public

   safety. Defendant SHEPPARD’s deliberate indifference to a known threat directly

   enabled the events that led to the shooting. Now, as a result of his failure, Defendant CITY

   faces potential legal liability that could cost taxpayers millions of dollars.

248.       Despite this grave failure of leadership and oversight, Defendant SHEPPARD had

   faced no discipline or professional consequence for his role in this tragedy. The Defendant

   CITY’s refusal to act underscores the entrenched policy of shielding misconduct when

   perpetrated by individuals loyal to Defendant ADAMS.

249.       On or about September 7, 2023, a female NYPD Sergeant filed a lawsuit under

   New York’s Adult Survivors Act, alleging that NYPD Detective First Grade Neftali Cruz

   raped, stalked, and terrorized her during and after their romantic relationship.

250.       Despite the seriousness of these allegations—which include violent sexual assault,

   stalking, and intimidation—the Defendant CITY OF NEW YORK and the NYPD

   permitted Cruz to quietly retire in early November 2023, retaining his full pension,

   department-issued firearm, and a “good guy” letter, which is often used to secure future

   employment in law enforcement or security.

251.       Under NYPD policy, the IAB) and the Department Advocate’s Office are granted

   thirty (30) days from the date an officer submits retirement papers to initiate disciplinary

   proceedings. Despite the gravity of the rape allegations, NYPD attorney-prosecutors

   informed the Sergeant’s counsel that thirty days was not enough time to investigate the

   matter and bring internal charges.



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252.       This was not an isolated incident. Just a few months earlier, the same NYPD

   attorney-prosecutors permitted Lieutenant Jonathan Lucas to retire with full pension

   benefits—even after he was formally indicted for serious sex crimes and making violent

   threats while stationed at the NYPD Property Clerk Warehouse. Once again, no internal

   charges were brought, and Lucas was allowed to exit the Department without

   consequence.

253.       In November 2023, the corruption surrounding Defendant ADAMS reached a new

   level of visibility. A Summons with Notice was filed in New York County Supreme Court

   under the Adult Survivors Act, accusing Defendant ADAMS himself of sexual

   misconduct.

254.       On November 6, 2023, FBI Special Agents executed a federal search warrant at

   City Hall, and seized Defendant ADAMS’s electronic devices as part of a wide-ranging

   corruption investigation.

255.       When Defendant ADAMS was asked by the FBI Special Agents for the passwords

   to his electronic devices, Defendant ADAMS falsely claimed he had forgotten the

   password to one of his phones, an implausible excuse meant to obstruct the investigation.

   Data recovered from the device revealed that Defendant ADAMS had lied about the

   phone’s location and availability.

256.       Upon information and belief, in the aftermath of the search, certain NYPD

   officials provided Defendant ADAMS with an untraceable “burner phone,” enabling

   continued communication with the NYPD Defendants and other members of his political

   inner circle.




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257.       Upon information and belief, the provision of this burner phone by NYPD officials

   was done to shield Defendant ADAMS’s ongoing misconduct and allow the continuation

   of what now appears to be a coordinated criminal enterprise involving senior leadership

   in the employ of Defendant CITY and NYPD.

258.       Also on November 6, 2023, FBI agents executed a search warrant on the home of

   Brianna Suggs, a longtime aide to Defendant ADAMS, as part of the same corruption

   investigation. This further confirmed the breadth and seriousness of the misconduct

   surrounding the Defendant ADAMS’ administration.



 J. Plaintiff’s Counsel Warns Defendants Of First Amendment Retaliation, City
    Responds With Further Indifference



259.       On November 25, 2023, the New York Post published a story on the lawsuit of

   Officer Ahmed Elmenshawy, who had been removed from the NYPD’s Personnel Bureau

   after allegedly “speaking too much Arabic.” The removal raised serious concerns of

   discrimination and retaliation.

260.       After the story broke, Elmenshawy received a call from the office of the First

   Deputy Commissioner, Defendant KINSELLA, inviting him in to discuss his lawsuit.

261.       However, when Elmenshawy arrived, he was not met by NYPD leadership for a

   constructive dialogue. Instead, he was confronted by Defendant SHEPPARD, who

   berated him for exercising his First Amendment rights by speaking publicly about his

   legal claims.

262.       The beratement of NYPD officers by Defendant SHEPPARD is typical of the way

   he interacted with subordinates in the NYPD.


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263.       This bait-and-switch tactic, luring a whistleblower under false pretenses,

   ostensibly for a meeting to have a “gentleman’s discussion”, regarding the lawsuit and

   then retaliate against him amongst the trappings and power of the office of Defendant

   SHEPPARD, constitutes direct and unlawful First Amendment retaliation.

264.       Elmenshawy amended his lawsuit shortly thereafter to add Defendant

   SHEPPARD as a named Defendant, citing this blatant retaliatory act.

265.       The incidents described above reflect an unbroken chain of constitutional

   violations, retaliatory abuse, and deliberate inaction by Defendant CITY and its highest

   officials. Defendant ADAMS, despite mounting scandals and criminal inquiries, had

   taken no action to curb the corruption or misconduct within his administration. Instead,

   he had enabled and protected it at every turn.

266.       On December 1, 2023, counsel for Officer Ahmed Elmenshawy, attorney John

   Scola, emailed Defendants KINSELLA, MADDREY, GERBER and David Goldfarb,

   Miguel Iglesias, and Wendy Garcia, formally placing them on notice of unlawful First

   Amendment retaliation within the NYPD.

267.       The email informed City and NYPD leadership that Defendant SHEPPARD had

   been added as a named Defendant in Elmenshawy’s pending civil rights lawsuit for

   engaging in direct retaliatory conduct, including berating the officer for public speech

   about his legal claims.

268.       The email served as a cease-and-desist notice, demanding that Defendant CITY

   and its officials immediately cease all forms of retaliation against Officer Elmenshawy

   and any other employees engaged in protected speech, including media communications

   as private citizens regarding lawsuits.



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269.       Despite this clear warning, the Defendant CITY took no corrective action.

   Defendant SHEPPARD was neither investigated nor disciplined. No accountability

   followed. This failure to act sent an unmistakable message: retaliation for protected First

   Amendment activity would be tolerated, if not implicitly endorsed, at the highest levels

   of the NYPD and City Hall.

270.       Defendant CITY further entrenched this retaliatory culture by indemnifying

   Defendant SHEPPARD for his unlawful conduct, protecting him from personal liability

   despite clear evidence of unconstitutional retaliation.

271.       That same month, in December 2023, the Defendant CITY quietly settled the civil

   lawsuit stemming from Lieutenant Widler Lucas’s on-duty sexual assault for $1,200,000.

272.       Defendant CITY declined to provide Lucas with legal representation during the

   civil proceedings, acknowledging that his conduct, sexual assault of a subordinate while

   on duty, was criminal and outside the scope of employment.

273.       Nevertheless, Defendant CITY exercised its discretionary authority to allow Lucas

   to leave the NYPD without facing internal discipline and to retire with his full pension

   intact, effectively shielding him from employment consequences while his criminal

   prosecution remained pending in Kings County Criminal Court. This course of action is

   highly unusual and is rarely, if ever, done in this manner. As a result of the NYPD’s

   misguided “kindness”, Lieutenant Lucas, who had been arrested for sexually assaulting

   an NYPD civilian while on duty, was allowed to retire with his pension benefits.

274.       These incidents, taken together, show how the Defendant ADAMS’

   administration weaponized policy discretion to reward loyalty, protect abusers, and

   silence whistleblowers, while ignoring constitutional obligations and public trust.



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 K. Captain Promoted Following Sexual Harassment and City Payout, then Arrested
    For Violent Felony



275.       On December 7, 2023, NYPD Captain Hariton Marachilian, previously promoted

   under the authority of Defendant ADAMS despite well-known allegations of misconduct,

   was arrested in Passaic County, New Jersey. He was charged with first-degree kidnapping,

   assault, criminal restraint, and criminal coercion.

276.       The charges arise from a shocking and violent incident in which Captain

   Marachilian allegedly kidnapped a fellow NYPD female Captain, slammed her head into

   the dashboard of his car, and, when she attempted to flee, chased her down, caught her,

   and body slammed her onto the concrete.

277.       The brutality of the assault underscores the dangerous consequences of Defendant

   CITY’s repeated decisions to promote known sexual abusers into positions of authority

   and public trust.

278.       His prosecution is ongoing as of the filing of this complaint and Captain

   Marachilian remains incarcerated in New Jersey.

279.       Marachilian’s elevation to Commanding Officer of the 90th Precinct came despite

   multiple red flags. Defendant CITY, through the actions of its top officials, was fully

   aware of prior allegations against him, including sexual harassment and inappropriate

   conduct that previously led to a substantial civil rights settlement. Conversely, the female

   Captain who he harassed was forced to resign from the NYPD and relocated to a different

   state to escape the abuse.




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280.       Nevertheless, rather than investigate or discipline Marachilian, Defendants

   ADAMS, MADDREY, and others, rewarded him with a high-profile command,

   prioritizing personal loyalty and internal politics over public safety, professional ethics,

   and the well-being of NYPD personnel.



 L. Defendant ADAMS Rewards and Further Emboldens The Defendants



281.       The pattern of rewarding misconduct continued on February 6, 2024, when

   Defendant DAUGHTRY was promoted to Deputy Commissioner of Operations. This

   promotion came despite Defendant DAUGHTRY’s well documented record of civil rights

   violations, excessive force, and policy infractions. His elevation sends and sends an

   unmistakable message: constitutional abuses are not only tolerated, but they are also

   rewarded.

282.       Defendant DAUGHTRY continued to be promoted despite his lack of credentials,

   experience or operational experience. The repeated promotion of officers like Defendant

   DAUGHTRY, who lack qualifications for their promotions, is irresponsible and an affront

   to all the hard working employees of the NYPD and the public.

283.       Just three weeks later, on February 29, 2024, Defendant SHEPPARD used his

   public NYPD social media platform on X (formerly known as Twitter) to launch a

   politically motivated and baseless attack on the judiciary. In a now-notorious Tweet,

   Defendant SHEPPARD falsely accused New York State Supreme Court Judge J.

   Machelle Sweeting of improperly releasing a civilian charged with possession of stolen

   property and narcotics.



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284.       Defendant SHEPPARD not only mischaracterized the charges and the

   circumstances of the release, but he also identified the wrong judge. His inflammatory

   post publicly misled the public, threatened judicial independence, placed the Judge’s life

   and safety in jeopardy, and reflected grossly unprofessional conduct by a high-ranking

   NYPD official.

285.       In response to the false public accusations, Al Baker, spokesperson for the New

   York State Office of Court Administration, issued a formal rebuke: “The recent social

   media posts from NYPD officials criticizing a recent bail decision not only indicated that

   the crime allegedly took place in the wrong county, but it also named a judge that did not

   preside over the case.”

286.       Despite the gravity of this misconduct, which included misinformation, public

   intimidation of the judiciary, and abuse of official power, Defendant SHEPPARD faced

   no disciplinary action of any kind. This stands in stark contrast to the treatment of lower-

   ranking NYPD employees, who would almost certainly face consequences for far less

   egregious behavior.

287.       Upon information and belief, to date, Defendant SHEPPARD has not apologized

   for his mistakes related to this social media post.

288.       In March 2024, another longtime close advisor to Defendant ADAMS, Winnie

   Greco, had her home searched by FBI agents. The search was reportedly related to

   corruption investigations implicating City Hall, and a further indication of the lawless

   climate that had flourished under Defendant ADAMS’s leadership.




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 M. The Sexual Misconduct Within the Administration Becomes Fully Known; Again
    No Disciplinary Action is Taken



289.       On March 21, 2024, Defendant ADAMS was formally accused of sexual assault

   by a former co-worker stemming from his time as an NYPD officer.

290.       Rather than recuse himself from involvement or follow proper protocols,

   Defendant ADAMS demanded representation by the New York City Law Department, a

   request that, under standard guidelines, should have been denied as the conduct allegedly

   fell well outside the scope of official duties. Nevertheless, the Law Department was

   coerced into compliance.

291.       That same month, on March 21, 2024, retired NYPD Sergeant Roxanne Ludemann

   filed a civil lawsuit alleging rampant sexual harassment and retaliation. Her complaint

   named senior mayoral aide Timothy Pearson, Defendant CITY, Defendant MADDREY,

   and IAB Group 1 Commanding Officer Joseph Profeta as Defendants.

292.       Despite the gravity of the allegations, Defendant ADAMS refused to initiate

   disciplinary action against Pearson or any of the individuals named in the lawsuit,

   furthering a well-established culture of silence and protection for high-level abusers.

293.       Ludemann alleged that, between December 2022 and April 2023, she was

   repeatedly sexually harassed by Pearson, who leveraged his power over discretionary

   promotions, including a pending “Sergeant Special Assignment” designation, as a

   coercive tool to solicit sexual favors.

294.       NYPD Chief Miltiadis Marmara personally witnessed Pearson touching

   Ludemann inappropriately. So serious was the conduct that Marmara was forced to

   restructure office operations to ensure Pearson was never alone with a woman on staff.


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295.       Despite Ludemann’s proven qualifications and placement on the promotional list,

   Pearson removed her name and instead advanced a less qualified male colleague, Patrick

   Gordon, who had personal ties to Pearson.

296.       This promotion manipulation exemplifies the NYPD’s long-standing pattern of

   elevating loyalty over merit, integrity, or professional qualifications.

297.       Pearson’s actions appear to constitute not only civil violations, but also potential

   honest services fraud and other criminal acts. The full extent of which is still unfolding.

298.       After Chief Marmara confronted Pearson about the harassment, Marmara was

   stripped of his elite outside agency position, and sent back to NYPD. A clear act of

   retaliation.

299.       Pearson then coordinated with Defendant MADDREY and Profeta to retaliate

   against Ludemann, Sergeant Michael Ferrari, Lieutenant George Huang, and Chief

   Marmara for challenging his conduct.

300.       Pearson ordered NYPD Chief of Internal Affairs Miguel Iglesias to open

   retaliatory investigations into all three male supervisors and Ludemann. These

   investigations had no legitimate basis and were instead designed to punish those who had

   exposed Pearson’s sexual misconduct.

301.       Pearson even went so far as to secretly record a meeting with Marmara, seeking

   evidence to support the fabricated investigations and shield himself from accountability.

302.       Over the course of 2023, these retaliatory campaigns intensified, forcing

   Ludemann and Ferrari into early retirement.




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303.       This abuse of authority, where the NYPD was weaponized to silence

   whistleblowers and protect a close political ally, violated the constitutional rights of both

   Defendant CITY employees and civilians alike.

304.       Defendant ADAMS was fully aware of the retaliatory campaign but took no action

   to stop it, continuing a pattern of complicity and protectionism that defined and still

   defines his administration.

305.       As a result, Sergeant Ferrari and Lieutenant Huang filed their own lawsuits against

   Defendant CITY, Defendant MADDREY, and Pearson, alleging unlawful sexual

   harassment and retaliation.

306.       Even after these additional legal actions, Defendant ADAMS continued to shield

   the perpetrators from discipline.

307.       Defendant MADDREY faced no consequences for his repeated involvement in

   retaliatory misconduct, including in the Ludemann case and others.

308.       The continued employment benefits and protections afforded to Defendant

   MADDREY and Pearson, despite multiple lawsuits and well-substantiated misconduct,

   further establish that Defendant CITY, Defendant ADAMS, and the NYPD Defendants,

   knowingly condoned these constitutional violations and failed to take corrective action.

309.       Defendant ADAMS’s repeated refusal to hold his inner circle accountable had

   emboldened illegal conduct at the highest levels of City government and law enforcement,

   further entrenching the Defendant CITY’s use of the NYPD as a tool for personal and

   political retaliation.




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 N. The Defendants Attempt to Distract the Public From Defendant ADAMS’s
    Escalating Legal Troubles



310.       In March 2024, as public scrutiny over Defendant ADAMS’s alleged sexual

   misconduct intensified, Defendant CHELL engaged in a series of confrontational

   exchanges with journalists on Twitter, now known as X.

311.       Rather than uphold standards of professionalism, Defendant CHELL was allowed,

   if not encouraged, to use his public platform to attack reporters who covered the NYPD

   and its leadership critically.

312.       These online attacks, which targeted the free press, were not only tolerated but

   publicly condoned by Defendant ADAMS

313.       Among those targeted were New York Daily News reporter Graham Rayman and

   journalist Harry Siegel, a columnist, Senior Editor and podcast co-host of FAQ NYC.

314.       Defendant CHELL even created his own Instagram account which, coupled with

   the Twitter accounts of several high ranking NYPD officials, including the individual

   Defendants herein, blurred the line between private and NYPD business.

315.       Defendant CHELL’s combative posture appeared calculated to redirect public

   attention from the growing scandals facing Defendant ADAMS and senior aides like Tim

   Pearson, both of whom were facing serious allegations of sexual misconduct.

316.       In April 2024, Defendants CITY, ADAMS, MADDREY, CHELL, and

   DAUGHTRY were named as Defendants in a federal lawsuit filed in the Eastern District

   of New York. The complaint alleged that these officials weaponized confidential

   information about a plaintiff’s 2017 rape to retaliate against her for publicly criticizing




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           violent policing tactics, particularly those employed by a controversial Deputy Inspector

           of the 73rd Precinct in the Brownsville section of Brooklyn, N.Y.

      317.          The plaintiff had originally sought assistance from Defendant MADDREY and

           had been encouraged to file a police report.

      318.          Thereafter, the plaintiff alleged that NYPD officials cut off her nonprofit

           organization’s access to precincts in Brooklyn and instructed local Commanders not to

           engage with her.

      319.          Ultimately, sensitive and confidential details about her sexual assault were leaked

           and circulated among community advocates, deliberately mixed with misinformation

           suggesting that she fabricated the attack and had falsely accused a Black man of rape.

      320.          This retaliatory conduct highlights a deeply rooted pattern within the NYPD and

           City Hall: the use of state power to suppress, intimidate, and discredit both internal

           whistleblowers and external critics.

      321.          The weaponization of trauma, specifically the leaking of sexual assault details to

           silence dissent, is not an isolated incident. It reflects a broader custom and practice of

           retaliating against protected speech and civil rights activity.

      322.          Despite the severity of the allegations, no action was taken to discipline

           Defendants MADDREY, CHELL, or DAUGHTRY, confirming that such conduct

           remains officially condoned by the City.

      323.          On March 30, 2024, President Donald Trump spoke outside the funeral home

           where the wake of NYPD Detective3 Jonathan Diller, who was killed in the line of duty,

           was being held.


3
    Police Officer Diller was posthumously promoted from Police Officer to Detective 1st Grade


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324.       From various sources it was widely known that Defendant SHEPPARD ordered

   NYPD officers to stay far away from President Trump so they would not be seen in the

   background of photographs and media videos of President Trump speaking.

325.       Specifically, Defendant SHEPPARD ordered the present NYPD MOS, outside the

   funeral home, he does not want any NYPD uniformed personnel surrounding or in the

   background of President Trump’s press conference. Upon information from reliable

   sources, Defendant SHEPPARD stated to wit: “We don’t want to show any NYPD

   solidarity with Trump”. Many of the NYPD officers who received Defendant

   SHEPPARD’s Order, followed it while others felt the Order violated their civil rights.

326.       On April 10, 2024, in an extraordinary and deeply unethical move, without prior

   notice to nor approval by the NYC Corporation Counsel, Defendant ADAMS bypassed

   the New York City Law Department and hired a private attorney using public funds to

   represent him in the aforementioned sexual harassment lawsuit.

327.       This self-serving use of taxpayer money underscores Defendant ADAMS’s

   willingness and total disregard to exploit public resources in order to protect himself and

   his inner circle from accountability for illegal acts.

328.       Despite the clear breach of the Defendant CITY protocol, Defendant ADAMS is

   allowed to act, unchallenged and violate well established procedures without any

   repercussions.

329.       Defendant ADAMS has no checks and balances over his unlawful actions and uses

   the NYC taxpayer funds to shield the criminal enterprise he controls from being exposed.




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330.       Defendant ADAMS’s actions reveal a persistent pattern: disregard for legal

   norms, abuse of power, and public manipulation, all in service of shielding a corrupt and

   retaliatory enterprise from scrutiny.



 O. Defendant ADAMS Allows Defendants CHELL, DAUGHTRY and SHEPPARD
    to Openly Defy the New York City Council and Violate Ethics Rules



331.       On May 3, 2024, several New York City Council members urged Defendant

   ADAMS to discipline the NYPD Defendants herein for their repeated violations of ethical

   laws, but he again refused to act.

332.       On May 10, 2024, following months of disrespectful social media posts attacking

   journalists covering the NYPD, the New York City Council held a formal hearing over

   the issue.

333.       At issue were the NYPD Defendants’ repeated tweets labeling protestors as

   “garbage” and attacking a New York City elected official, whom they stated should be

   voted out of office.

334.       These social media posts amounted to personal attacks on private citizens and

   elected officials, conduct that was plainly unethical and entirely unbecoming of NYPD

   leadership.

335.       New York City Council Speaker Adrienne Adams stated at the hearing the conduct

   of Defendant CHELL and others was “dangerous, unethical, and unprofessional,” noting

   that “included in the department’s mission is to preserve the peace, protect the people,

   and reduce fear.”




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336.         Further, New York City ethics laws, as well as internal NYPD standards,

   guidelines, and protocols, bar police officials from using New York City resources, such

   as NYPD social media accounts, for blatantly political purposes.

337.         Despite being subpoenaed, Defendants CHELL, DAUGHTRY, and SHEPPARD

   defiantly did not attend the morning budget hearing with permission from Defendant

   ADAMS, thereby avoiding public accountability for their misconduct. Donlon was not

   surprised at ADAMS’ abhorrent and disrespectful behavior towards the Speaker and the

   entire NYC COUNCIL, as ADAMS, along with CHELL, DAUGHTEY and SHEPPARD,

   routinely show no respect to others but all demand respect.

338.         Defendant ADAMS permitted the individual Defendants to routinely violate

   Defendant CITY rules/regulations/policies and disregard oversight efforts by the New

   York City Council, which is statutorily charged with monitoring the, increasingly

   unrestrained, operations of the NYPD.

339.         Defendant ADAMS failed to discipline the Defendants herein for their repeated

   ethical and legal violations, thereby, condoning their misconduct and emboldening further

   abuses.

340.         The many failures of Defendant ADAMS, which often rewarded select individuals

   for disrespectful behavior and contempt, sends the wrong message to the rank and file

   officers of the NYPD. Donlon advised this behavior, and demeanor is well known by

   MOS, of all ranks.

341.         The distorted message was that one does not have to take responsibility for their

   actions. They do not have to adhere to, or show respect to the NYPD’s rules and policies,

   and moreover, writ large, the procedures, policies and guidelines long established and



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   enshrined by New York City. This undermined further the NYPD which is tasked with

   working and communicating with the New York City Council to ensure communities

   within New York City are safe and protected.



 P. Defendant ADAMS Forces the Law Department to Break Policy to Indemnify Co-
    Conspirator Tim Pearson, Forcing the Resignation of the City’s Highest- Ranking
    Attorney



342.       On May 31, 2024, the New York City Corporation Counsel, the Honorable Sylvia

   Hinds-Radix, resigned from her position as head of the Law Department due to mounting

   internal conflict over the Defendant CITY’s decision to represent and indemnify Pearson

   in multiple sexual harassment lawsuits.

343.       It was later revealed through the reporting of Politico that Defendant ADAMS

   personally intervened to force the Law Department to indemnify Pearson, despite

   credible, corroborated allegations of sexual misconduct, including eyewitness testimony

   from senior NYPD officials.

344.       This decision was in direct violation of longstanding New York City policy, which

   governs when indemnification and legal representation are appropriate. The misconduct

   alleged against Pearson, including sexual harassment for personal gain, was plainly

   outside the scope of his official duties and therefore disqualifying under established Law

   Department guidelines.

345.       The controversy was further compounded by reports that the rift began when

   Defendant ADAMS similarly forced the Law Department to represent him in a separate




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   sexual assault lawsuit, again, despite the allegations falling well outside the scope of his

   public employment.

346.       Defendant ADAMS had repeatedly compelled Defendant CITY to finance the

   legal defenses of himself and his inner circle, even when their conduct clearly violated the

   law and ethical norms.

347.       These decisions reflect a broader abuse of public funds and power. By using

   taxpayer money to shield himself and his allies from accountability, Defendant ADAMS

   has undermined the independence of the Law Department and corrupted the purpose of

   public indemnification.

348.       During this time, the Law Department was also actively investigating the sexual

   harassment claims brought by Sergeant Roxanne Ludemann. That investigation revealed

   that the Defendant CITY had direct knowledge of Pearson’s misconduct since at least

   December 2022 and had failed to stop it nor put an end to these clear and concise claims.

349.       Despite Defendant CITY’s internal awareness and corroborating testimony,

   including from Chief Miltiadis Marmara, who reported and witnessed Pearson’s

   inappropriate conduct, Pearson was never disciplined. Instead, he was allowed to remain

   in his powerful post as Senior Advisor to the Mayor.

350.       Following these events, Politico reported that Corporation Counsel Hinds-Radix’s

   resignation was directly caused by the Defendant CITY’s insistence on defending Pearson

   despite corroborated allegations of sexual misconduct.

351.       The testimony confirming Pearson’s misconduct included multiple recorded

   interviews with high-ranking officials like Chief Marmara, whose statements left no doubt

   as to the veracity and seriousness of the harassment.



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352.       In forcing the Law Department to break its own ethical standards to protect himself

   and his close ally, Defendant ADAMS fundamentally compromised the integrity of the

   City’s legal apparatus and deepened the public harm already caused by Pearson’s actions.



 Q. As Repeated Lawsuits Continue to be Filed, NYPD Defendants are Rewarded by
    Defendant ADAMS



353.       For Defendant CITY employees, who are willing to go along with the unlawful

   conduct of the Defendants herein, the rewards are obvious.

354.       Joseph Profeta, a Defendant in the Ludemann lawsuit and a key factor in shielding

   Lieutenant Lucas from discipline following credible allegations of sexual assault, was

   granted a discretionary promotion to Inspector on May 31, 2024.

355.       This promotion was delivered personally by Defendant ADAMS on the NYPD’s

   promotional stage, a ceremonial privilege rarely granted and clearly symbolic of political

   favoritism.

356.       On July 16, 2024, Captain Gabrielle Walls commenced a lawsuit against the

   Defendant CITY, Assistant Chief and Commanding Officer of Patrol Borough Brooklyn

   North Scott Henderson, and Defendant MADDREY. Captain Walls had been sexually

   harassed by Defendant MADDREY for several years and by Chief Henderson following

   her promotion to Captain and assignment into a Brooklyn North command.

357.       Captain Walls’s complaint describes years of sexual harassment by Defendant

   MADDREY, including repeated unwanted advances and attempts to kiss her. These

   repeated attempts occurred at various holiday parties and regularly when Captain Walls

   worked as a Lieutenant in the 88th Precinct. The repeated harassment commenced when


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   now Captain Walls was promoted to Lieutenant in 2015 and continued until she filed her

   lawsuit.

358.       Captain Walls was forced to hide in her office in the 88th Precinct with the lights

   off to avoid Defendant MADDREY, reflecting the severity of the harassment and the

   unsafe working environment created by NYPD leadership. After getting promoted to

   Captain, Chief Henderson, emboldened by his mentor and sexual predator Defendant

   MADDREY, also tried to kiss Captain Walls at work in the normal course of their

   employment. Captain Walls was horrified by the unwanted sexual harassment yet

   powerless to stop it as Defendant MADDREY, was running the NYPD.

359.       The Defendant CITY had actual notice of these events by July 16, 2024, if not

   earlier, yet failed to take any action to protect Captain Walls or discipline the perpetrators.

360.       Assistant Chief Scott Henderson is a childhood friend and protégé of Defendant

   MADDREY. After Captain Walls objected to the sexual harassment she was denied a

   Commanding Officer position and discretionary promotion to Deputy Inspector. When

   she confronts Chief Henderson about the clear mistreatment, Henderson told her other

   women were promoted “because they are willing to do things you aren’t.”

361.       Despite these allegations, Henderson remained the Chief of Brooklyn North, the

   highest command in that patrol borough and just two ranks below NYPD Chief of

   Department, until he was forced to resign for lying in internal interviews with IAB related

   to the accommodation he gave a woman officer to work from home for fifteen months in

   June 2025.

362.       Under the Defendants’ collective leadership, unlawful conduct, criminal acts, and

   workplace retaliation are not punished. They are rewarded.



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363.       On July 30, 2024, Chief Miltiadis Marmara filed a lawsuit against the Defendant

   CITY, Pearson, Defendant MADDREY, and Defendant CHELL.

364.       In that suit, Marmara attested that he personally witnessed Pearson inappropriately

   touching Sergeant Ludemann, who was Marmara’s Chief of Staff.

365.       After confronting Pearson, Marmara was stripped of his prestigious assignment

   and targeted for retaliation. A clear example and part of the broader culture of silencing

   dissent within the NYPD.

366.       Despite this corroborating testimony by Marmara, the Defendant CITY failed to

   discipline Pearson in any meaningful way.

367.       Following the lawsuit, Defendant CHELL, well known throughout the NYPD and

   the outside communities for his heavy usage of alcohol, telephonically contacted Chief

   Marmara while intoxicated and berated him for filing the lawsuit.

368.       Defendant CHELL’s retaliatory behavior didn’t end there. At a meeting of the

   NYPD’s most senior officers, including Bureau Chiefs and Assistant Chiefs, CHELL

   publicly disclosed the existence of Marmara’s complaint and declared that he looked

   forward to being deposed.

369.       During the same meeting, CHELL emphasized he worked under Defendant

   MADDREY, insinuating allegiance and retaliatory intent, effectively placing a target on

   Marmara’s back in front of the NYPD’s highest-ranking officials.

370.       No disciplinary action was taken against Defendant CHELL for this obvious act

   of intimidation and retaliation, reflecting a pattern of misconduct and deliberate

   indifference that runs from precinct-level retaliation to the highest ranks of City Hall.




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371.       The examples detailed above demonstrate a pervasive and deeply entrenched

   municipal custom and policy, tolerating and, in fact, rewarding misconduct, that

   foreseeably resulted in the retaliation, silencing, and constitutional violations suffered by

   Donlon.

372.       Each of the foregoing paragraphs is incorporated by reference and submitted in

   support of Plaintiff’s Monell claim under 42 U.S.C. § 1983.




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  3. FACTUAL ALLEGATIONS FOLLOWING PLAINTIFF THOMAS G. DONLON
           EMPLOYMENT AS INTERIM POLICE COMMISSIONER


A. The Scope of the Criminal Investigations and Potential Criminal Activity Surrounding
   Defendant ADAMS’s Appointees Becomes Known


   373.       On or about September 4, 2024, the FBI searched the homes of multiple senior

      members of Defendant ADAMS’s administration and NYPD leadership, including Police

      Commissioner Edward Caban, Timothy Pearson, Phillip Banks, David Banks, Terrence

      Banks, and First Deputy Mayor Sheena Wright. Federal agents seized electronic devices

      and cash as part of a sweeping investigation into alleged bribery, corruption, and

      misconduct related to City contracts and NYPD discretionary promotions.

   374.       Commissioner Caban’s home was reportedly searched in connection with criminal

      allegations involving his twin brother, James Caban, who was alleged to be collecting

      protection money from nightclubs in exchange for police intervention. In addition, Caban

      is under investigation by the IRS, per news media, for illegal conduct tied to discretionary

      promotions within the NYPD.

   375.        Phillip Banks, already notorious for being an unindicted co-conspirator in a prior

      FBI federal corruption case involving $300,000 in unexplained income, as reported in the

      media, also had his phones confiscated pursuant to a court order. Banks avoided prior

      criminal charges likely due to cooperation with federal investigators.

   376.       Banks’s brothers, David and Terrence Banks, were likewise subject to electronic

      seizures by federal authorities, suggesting a broader pattern of coordinated misconduct

      within the Defendant CITY’s highest ranks.




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377.       Sheena Wright, First Deputy Mayor to Defendant ADAMS, similarly had her

   phone confiscated and is under federal investigation. This further underscores the

   pervasiveness of potential criminal activity among Defendant ADAMS’s inner circle.

378.       Despite these serious and credible allegations, Defendant ADAMS took no

   meaningful action to remove or discipline any of the individuals implicated in these

   federal investigations. This inaction reflects a deliberate effort to shield his allies from

   accountability and reinforces the appearance of a coordinated and corrupt enterprise

   within the Defendant CITY.

379.       Following the execution of the search warrant on Commissioner Caban’s

   residence, the highest-ranking official within the NYPD at the time, public speculation

   intensified over his imminent resignation.

380.       Upon information and belief. Defendant MADDREY also had search warrants

   executed by the FBI who seized his electronic devices seized and searched his residence.

381.       Upon information and belief. Defendant MADDREY did not disclose that he was

   under investigation in order to remain in charge of the criminal enterprise which he ran,

   the NYPD.

382.       On September 10, 2024, amid these unfolding events, Defendant SHEPPARD

   responded to a request for comment from a New York Post reporter by calling the

   journalist a “fucking scum bag”, a vulgar and unprofessional remark that once again went

   unpunished by Defendant ADAMS.

383.       On September 12, 2024, Commissioner Caban was ultimately forced to resign

   from his position as Police Commissioner.




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   384.       Before resigning, Commissioner Caban issued a disciplinary ruling that

      exemplified NYPD’s protection of insiders. Captain Antonio Pagan was found guilty of a

      sustained campaign of sexual harassment.

   385.       Despite the Trial Commissioner’s recommendation for termination, Caban

      reduced the penalty to 60 vacation days. Pagan was allowed to quietly retire with full

      pension and benefits.

   386.       This wasn’t an exercise of discretion—it was a calculated act of protection.

      Caban’s decision, rendered after a federal search warrant had been executed but before

      his abrupt resignation, reflects a deliberate effort to shield connected officers from

      meaningful accountability. It underscores the same institutional rot that targeted Donlon:

      a criminal enterprise where misconduct is tolerated, discipline is manipulated, and anyone

      who threatens to expose the truth—like Donlon—is removed and retaliated against.

   387.       Even after Caban’s resignation, the remaining close associates of Defendant

      ADAMS, all under federal investigation, were allowed to retain their employment with

      the Defendant CITY without any discipline or public acknowledgment of wrongdoing.

   388.       Immediately after Caban’s resignation, Plaintiff Thomas G. Donlon, was

      contacted by person(s) mutually known to Donlon and Defendant ADAMS



B. Defendant ADAMS Uses Donlon’s Credibility to Legitimize a Corrupt Administration,
   Then Targeted Him When He Refused to Stay Silent



   389.       Donlon is informed by a third party that “Eric” (Defendant ADAMS) told him to

      call Donlon and inform him that Defendant ADAMS is considering Donlon for the Police




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   Commissioner position and requested that Donlon interview for the position, which in

   fact he did.

390.       Given the turmoil surrounding the FBI search warrants executed within the NYPD

   and Defendant CITY, indictments, arrests and resignations of many NYPD and Public

   Safety officials, along with publicly improper treatment of public officials by NYPD top

   Executives, Donlon was concerned. Donlon was also concerned about the situation

   concerning the last two short term Police Commissioners who resigned. Following the

   interview, Donlon stated he would only come in as an interim Police Commissioner.

391.       Donlon was very much concerned and was told by many individuals that the four

   top Executives, Defendants MADDREY, CHELL, DAUGHTEY and SHEPPARD were

   all extremely anxious they would be appointed as Police Commissioner and were

   disappointed when Donlon was named. Donlon was also concerned not being legacy

   NYPD, his appointment would also be met with animosity and resentfulness.

392.       After accepting the interim Police Commissioner appointment, Donlon’s initial

   primary objective was to develop a close working relationship with the Mayor (Defendant

   ADAMS), Chief of the Department (Defendant MADDREY) and all the Bureau

   executives. First, beginning with the regularly scheduled Monday morning weekly

   meetings discussing NYPD-city wide administration and operational matters.

393.       Donlon felt it was critical for him to join the organization and closely work with

   the top executives bringing added value with his domestic/international law enforcement

   and intelligence experience.




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394.       However, Donlon was very confident and excited that working closely with the

   NYPD, while with the JTTF, NYS Homeland Security, Section Chief, would make for an

   easy transition.

395.       Despite the interim title, Donlon’s objective was to support the Mayor and his

   Administration and the hierarchy of the NYPD and wholeheartedly supported the rank

   and file. Donlon’s primary objective was to bolster the development of all ranks, establish

   a program to mentor and instill confidence in a structured environment where veteran

   officers and supervisors actively develop tomorrow’s NYPD leaders.

396.        Donlon’s concern was also that the NYPD executives who were close to

   Defendant ADAMS avoided any accountability or repercussions from/by City Hall, due

   to their respective long standing relationships with Defendant ADAMS.

397.       Specifically, Donlon was concerned about the top executives Defendants

   KINSELLA, MADDREY, CHELL, DAUGHTRY, and SHEPPARD, and their troubling

   and adverse reputations,

398.        The many unchecked missteps and treatment of NYPD personnel by all of the

   above Defendants were of great concern to Donlon.

399.       Although his title was temporary, his overarching objective was unwavering: to

   restore the NYPD’s integrity, guarantee equal treatment for all officers, and reinforce

   support for the rank and file. At the same time, he recognized that, as an outsider without

   a legacy NYPD background, his appointment might be met with animosity and

   resentment.

400.       Unfortunately, the Monday morning meetings were largely unproductive.




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  401.       At each meeting, Donlon would ask Defendant CHELL for an update on the status

     of operations within the NYPD. Defendant CHELL would respond by stating “Nothing

     to report.”

  402.       Donlon was taken back by the lack of effort by Defendant CHELL who seemed

     to do as little work as possible.

  403.       Following multiple meetings, Donlon pulled Defendant CHELL aside to inform

     him that as the Chief of Patrol he should have information to report at the meetings.

  404.       Defendant CHELL continued in his lackadaisical approach.



C. Donlon is Named Interim Police Commissioner Based on His Concerns With the
   Position



  405.       Donlon was named the interim NYPD Police Commissioner on September 12,

     2024 which was made official on September 23, 2024.

  406.       Despite his reticence, and title distinction, Donlon believed he was taking the full

     position of Police Commissioner and all the responsibilities that came with it to include

     making final decisions with input from experienced and competent Executives. (Legally

     there is no difference or distinction in power or authority between an interim, acting or

     permanent Police Commissioner).

  407.       After being named interim Police Commissioner Donlon quickly learned he had

     the position in name only and had no authority, control, or sole decision making.

  408.       This realization came to Donlon gradually as described herein.




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409.       As a result of his lack of decision-making and authority, despite his title, every

   statement made by Donlon contained herein is made as a civilian and not within the scope

   of employment, past or present.

410.       A public employee is speaking as a private citizen when their speech is outside the

   scope of their employment in order to expose the rotting corruption and ineptness within

   a public organization.

411.       Defendant ADAMS never intended to allow Donlon to actually function as the

   Police Commissioner, interim or otherwise.

412.       As a result of Defendant ADAMS premeditated intentions, Donlon’s job duties as

   interim Police Commissioner were virtually non-existent with Defendants, KINSELLA,

   MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER, SARACENO and

   MARINO truly managing or operating the Police Department and disregarding all edicts

   on tasks/orders issued by and or assigned by Donlon.

413.       Each time Donlon expressed dissatisfaction about the unlawful actions of

   Defendants, KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER,

   SARACENO and MARINO to Defendants ADAMS or MADDREY, being the Chief of

   the Department, he was speaking as a private citizen, as he was the Police Commissioner

   in name only, as described above. as repeated above.

414.       Again, Donlon's position as Police Commissioner was purely a figurehead

   position.

415.       At all times herein Donlon’s speech is protected under the 1st Amendment to the

   United States Constitution.




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416.       After being named the interim Police Commissioner, Donlon met Defendants

   KINSELLA, MADDREY, CHELL, DAUGHTRY and SHEPPARD on the first day.

417.       It did not take long for Donlon to fully understand, and unfortunately it was

   confirmed that the Defendants were going to be extremely problematic and not offer any

   support or respect towards him.

418.       The collective NYPD Defendants were determined for Donlon to fail and

   deliberately implored measures to do so and reinforcement, always complaining to

   Defendants ADAMS or his Immediate staff.

419.       Donlon learned immediately from trusted sources within and out of the NYPD,

   that Defendants KINSELLA, MADDREY, CHELL DAUGHTRY, and SHEPPARD

   were each angry and highly distraught they were not named NYPD Police Commissioner.

420.       Defendant SHEPPARD, more than the other NYPD Defendants, was particularly

   openly hostile and resentful towards Donlon not being selected by Defendant ADAMS

   and quite clearly made his feelings known to Defendant ADAMS.

421.       Instead, Defendant SHEPPARD embarked on a pattern of behavior to sabotage,

   publicly undermine, and embarrass Donlon.

422.       Defendant SHEPPARD’s hostility towards Donlon stemmed from his failure to

   be named Police Commissioner. Defendant SHEPPARD’s activities were done in a desire

   to curry further favor with Defendant ADAMS, in order to prove to Defendant ADAMS

   that the selection of Donlon was in error.

423.       After spending time each of them, Donlon found that Defendants KINSELLA,

   MADDREY,        CHELL,     DAUGHTRY,          and   SHEPPARD,       were   unmanageable,

   insubordinate, inexperienced and ineffective in their past and current roles.



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424.        While Donlon could tolerate personal discourtesy, the actions of Defendant

   SHEPPARD’s blatant disregard for the office of the Police Commissioner was

   unacceptable. Both Defendants ADAMS and MADDREY were fully aware of Defendant

   SHEPPARD’s behavior yet did not address his actions or discipline him. After a while it

   was pointless directly confronting Defendant SHEPPARD proved pointless.

425.        Defendant ADAMS—who had the leadership authority—never arranged meetings

   to address differences in the NYPD while disallowing Donlon to lead the NYPD. Instead

   Defendant ADAMS let the situation fester. It was both embarrassing and demoralizing

   for Donlon to endure Defendant SHEPPARD’s public display of disrespect and

   misconduct. Under normal circumstances, Donlon would not have tolerated such

   behavior, and many retired NYPD MOS and federal, state and city Task Force members

   can attest to that, but Donlon tolerated the lying, cheating and sneaky behavior to be there

   for the rank and file.

426.        Shortly after taking over as Police Commissioner, the legal adviser to Defendant

   ADAMS, Lisa Zornberg, a distinguished former federal prosecutor, abruptly resigned

   from the Administration of Defendant ADAMS.

427.        It is subsequently reported Zornberg decided to resign after Defendant ADAMS

   refused her advice to terminate Tim Pearson, Phillip Banks, and Winne Greco. Mrs. Greco

   was an aide to Defendant ADAMS and separately was under federal investigation at that

   time.

428.        Upon assuming his duties, Donlon brought three NYPD officers of various ranks

   to join his staff. Shortly thereafter, literally within a month, Defendant ADAMS informed

   Donlon to remove these three MOS individuals from the Police Commissioner’s staff.



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429.        Weeks later, Defendant ADAMS informed Donlon that Defendant SHEPPARD

   would serve as his “temporary” Chief of Staff, while maintaining his permanent DCPI

   role.

430.        During this time, Donlon also worked closely with a respected and experienced

   NYPD Chief who aided his transition. The Chief’s knowledge of policy and deep

   relationships both inside and outside the NYPD were invaluable.

431.        Donlon had no desire for Defendant SHEPPARD to be assigned as temporary

   Chief of Staff but complied with the directive from Defendant ADAMS. Given Defendant

   SHEPPARD’s prior hostility toward Donlon and others, working with him posed

   significant challenges.

432.        Despite this, Donlon followed Defendant ADAMS’s order. ADAMS claimed that

   SHEPPARD had experience “putting these types of operations together,” referring to the

   Police Commissioner’s Office—but provided no examples to support the claim.

433.        Defendant ADAMS again stated, “I want you to work with him”, as he previously

   stated about working with Defendants KINSELLA, MADDREY, CHELL and

   DAUGHTRY. As always, Donlon advised Defendant ADAMS he has no issues or reason

   not to cordially work with Defendant SHEPPARD or any of the above Defendants.

434.        While Donlon tolerated personal discourtesy, Defendant SHEPPARD’s open

   disrespect for the office of Police Commissioner was unacceptable. Defendants ADAMS

   and MADDREY were fully aware of Defendant SHEPPARD’s behavior, yet failed to

   intervene.

435.        Donlon made multiple attempts to confront Defendant SHEPPARD directly, but

   these proved futile. Defendant ADAMS, despite his authority, never convened a joint



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      meeting to resolve the conflict. When Donlon attempted communication, Defendant

      SHEPPARD would either walk away or respond with a violent outburst.

   436.        It was both embarrassing and demoralizing to endure Defendant SHEPPARDS’s

      conduct. Under normal circumstances, Donlon would not have tolerated such behavior,

      and in their positions, Defendants ADAMS and MADDREY certainly had the power and

      personal relationship with Defendant SHEPPARD —and the responsibility—to end it but

      refused to intercede as a leader and rectify this continuous matter. Donlon would have

      done so immediately.

   437.        Defendant ADAMS also informed Donlon he is not allowed to schedule any media

      interviews unless it is known and authorized by Defendant SHEPPARD.



D. Donlon’s Attempt To Discuss and Provide Guidance On NYPD Social Media Guidelines
   and Procedures:



   438.        Donlon did not seek to limit the collective NYPD Defendants ability to give media

      interviews on behalf of the NYPD, but he also wanted to end the reckless and highly

      disrespectful social media practices which were resulting and proving to be an

      embarrassment to the NYPD.

   439.        Donlon informed all the present all Assistant, Deputy and Bureau NYPD Chiefs

      along with other high level uniformed and civilian employees at Donlon’s first weekly

      Monday meeting, their individual public statements on social media outlets (Instagram,

      X , emails) were reflective of the NYPD official public statement as an institution.

      Accordingly, prior to sending out individual messages on social media it is required to

      first obtain the approval of the Legal Bureau. Donlon instructed all attending this regularly


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   scheduled Monday morning meeting to exercise caution when using social media, and to

   strictly comply with the attending NYPD’s written policies requiring Legal Bureau pre-

   clearance for outgoing official communications. Donlon reiterated that all media and

   social media engagements must be professional and representative of the NYPD’s values.

440.        Donlon emphasized the necessity of a unified voice for the Department on social

   media to address the growing problems caused by unchecked and unprofessional posts.

441.        After the meeting, Donlon spoke privately with Defendants MADDREY, CHELL

   DAUGHTRY and SHEPPARD concerning the sending of their comments, in particular,

   those sent by Defendants CHELL and DAUGHTRY. Donlon advised they were

   unprofessional, unauthorized, and controversial social media posts, to the news media,

   politicians, and the public regarding NYPD investigations and positions on NYPD

   matters. Donlon explained and presented to them the official NYPD policies, procedures

   and guidelines manual which must be adhered to before any NYPD information is

   released. Donlon advised the above they need to simply forward their proposed

   information to the NYPD Legal Bureau for their review and final approval. Donlon

   reiterated there needs to be one voice per enforcing the NYPD policies, procedures and

   guidelines that will prevent embarrassment to the NYPD from outside entities, public and

   private sector, media, political figures etc.

442.        Donlon reiterated and clarified, to all the attendees at the Monday meeting, to

   include Defendants MADDREY, CHELL, DAUGHTERY and SHEPPARD, that this

   directive “does not prohibit you” from speaking with the media, political figures, or

   representatives of the public and private sectors. Although Sheppard attended the initial

   meeting, he offered no comments about the dissemination of information which was quite



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   surprising as he held the position of Deputy Commissioner of Public Information (DCPI)

   interacting with the media, etc. on a daily basis. (Incidentally, Defendant SHEPPARD

   seldom attended our weekly Monday‐morning executive meetings, nor did he designate a

   delegate. In practice, Defendant SHEPPARD acted entirely on his own terms. Defendant

   SHEPPARD made it abundantly clear to Donlon, on numerous occasions, and the entire

   command that he had neither respect for nor interest in Donlon’s authority or for the Police

   Commissioner position and what it represents and the pc beforehand. Defendant

   SHEPPARD rarely attended these weekly scheduled executive Monday morning

   meetings, nor did he send someone in his place, that Donlon was made aware of when

   Defendant SHEPPARD failed to attend. In essence, Defendant SHEPPARD did as he

   pleased, when he wanted and was incorrigible and unmanageable.

443.        It was quite apparent to Donlon and the all the MOS who witnessed his demeanor,

   especially the three and two state Chiefs, along with the NYPD civilian personnel at the

   Monday meetings Defendant SHEPPARD had absolutely no respect or time for Donlon.

   Despite the overt hostility, Donlon always approached Defendant SHEPPARD with the

   utmost respect attempting to develop a cordial relationship.

444.        Unfortunately, Defendants ADAMS and MADDREY were fully aware of

   Defendant SHEPPARD behavior and allowed it to come to one. Arguing or verbally

   fighting with him was pointless and Defendant ADAMS knew exactly what was

   happening, continued to let it fest as he made virtually no attempt to stop Defendant

   SHEPPARD 's behavior. It was extremely embarrassing for Donlon to tolerate Defendant

   SHEPPARD behavior, and it was demoralizing to Donlon to have Defendant SHEPPARD

   act in this manner. Under normal conditions and circumstances Donlon would have never



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   tolerated Sheppard’s behavior. As leaders, Defendants ADAMS and MADDREY had the

   authority to end his bankrupt behavior but condoned it instead.

445.        In the Social Media meeting, Defendants CHELL and DAUGHTRY became

   rather defensive and asked Donlon to show them the documents and posts he was referring

   to, as Donlon clearly stated, “I have a couple of folders in my office - Would like to see

   them?” Defendants CHELL and DAUGHTRY did not respond.

446.        Donlon further instructed Defendant DAUGHTRY that he should not disable the

   feature on his software which does not allow recipients of communications to provide any

   positive or negative comments to the posts. The person responding in general may have

   very valuable information for the NYPD and turning off comments prevents the sharing

   of information.

447.        Donlon was very concerned with the improper interference by Defendant ADAMS

   on his staff, which undermined the policy enforcements of Donlon and enabled continued

   misconduct.

448.        Leading by example, Donlon sought approval of social media posts from the Legal

   Bureau prior to them being disseminated to the public and hopefully avoid misconduct by

   the individual NYPD Defendants.

449.        This misconduct was later substantiated by an official report issued by the New

   York City Department of Investigation cited below.

450.        Donlon focused particular attention on Defendants MADDREY, CHELL, and

   DAUGHTRY, holding a private meeting with them to underscore the importance of

   compliance with the policy.




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  451.        Donlon’s intervention was prompted by rampant social media abuses, including

     verbal attacks by NYPD officials on members of the media, political figures, in particular,

     NYC Council, Speaker Adrienne ADAMS, and private and public sector individuals.

     Prior to Donlon’s appointment as the interim Police Commissioner, these unprofessional

     posts had already led to a public announcement that the Department of Investigation was

     investigating Defendants CHELL, DAUGHTRY, and the NYPD for misuse of social

     media.

  452.        Defendants MADDREY, CHELL and DAUGHTRY, resisted Donlon’s

     directives, claiming the policy improperly limited their ability to engage with the public

     and private sectors.

  453.        Donlon clarified the policy applied solely to official communications, and the

     NYPD Legal Bureau review was standard NYPD departmental procedure, not a new

     restriction placed by Donlon.

  454.        To illustrate his concerns, Donlon referenced documented examples of prior

     problematic posts for their review.

  455.        Donlon spoke directly with Defendant CHELL about how the Department of

     Investigation was investigating him for his rude and unprofessional comments.



E. Donlon Immediately Undermined by Defendant ADAMS



  456.        Within an hour of the above meeting concerning social media, Defendants

     MADDREY, CHELL, DAUGHTRY and SHEPPARD, went directly to Defendant




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   ADAMS separately to undermine Donlon, alarmingly, on his initial day as interim Police

   Commissioner.

457.        This usurping of power was indicative of the relationship between Donlon and the

   Individual Defendants from this point forward. No matter what Donlon tried to do to reign

   in the abuse of power, the Individual Defendants were allowed to ignore Donlon’s Orders

   as they had a direct access to Defendant ADAMS.

458.        Shortly thereafter Defendant ADAMS called Donlon to City Hall for a meeting in

   his office. At the meeting Defendant ADAMS ordered Donlon to “back off these guys.

   They are my best three guys who are keeping crime down.”

459.        Donlon was shocked since he knew countless other NYPD personnel who were

   more intelligent, and knowledgeable about police tactics and administration. In Donlon’s

   assessment, each of the individual Defendants KINSELLA, MADDREY, CHELL,

   DAUGHTRY, and SHEPPARD, lacked the skills and police experience to serve in their

   appointed positions.

460.        Other knowledgeable, experienced and successful NYPD Executives known to

   Donlon, he was unable or not permitted or directly contacting and considering for any of

   these high level Chief positions, possessed tangible experience while managing large

   scale law enforcement and intelligence operations.

461.        Unfortunately, these individuals sought by Donlon were unable even to attain

   positions or promotions in lieu of the actions of Defendants ADAMS, KINSELLA,

   MADDREY, CHELL, DAUGHTRY and SHEPPARD. The aforementioned NYPD

   Defendants lacked, in Donlon’s assessment, the intelligence, essential administrative and

   operational experience required for the positions they hold.



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462.        Specifically, Donlon immediately saw that the individual Defendants mentioned

   by Defendant ADAMS as his “best guys” had little successful police experience (i.e.,

   arrests, court testimony), and virtually no experience in police major operations or

   administration. Donlon had reviewed the background of the top tier executives of the

   NYPD (the NYPD Defendants) prior, and when he assumed the post of interim Police

   Commissioner and was mortified by their lack of experience.

463.        Defendant SHEPPARD, for instance according to the NYPD website, had only

   effectuated 15 misdemeanor arrests, 5 felony arrests, and issued 2 violations in his entire

   twenty year career according to the NYPD Portal. Defendant ADAMS, while attaining

   the rank of NYPD Captain also had very limited arrests, and no Task Force experience or

   a history handling major investigations.

464.        Defendant DAUGHTRY had no leadership experience and even stated that he

   failed the NYPD’s civil service sergeant’s examination.

465.        Specifically, at a dinner attended by Donlon and several other NYPD Executives,

   Defendant DAUGHTRY in which Defendant DAUGHTRY was receiving a leadership

   award from one of the NYPD’s fraternal organizations, Defendant DAUGHTRY,

   unprompted, announced that he was a “leader even though I failed the sergeant’s

   examination.” Repeating, twice, “I am a leader.”

466.        Defendant CHELL, during a chase shot a civilian in the back, fatally killing him.

   He was exonerated but was civilly found guilty.

467.        When Donlon became interim Police Commissioner, and spent time assessing and

   closely working Defendants MADDREY, CHELL, DAUGHTRY and SHEPPARD he




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   wanted to replace them due to their lack of experience in handling and managing

   investigations, but is not allowed by Defendant ADAMS.

468.        Defendants KINSELLA, MADDREY, CHELL, DAUGHTRY, and SHEPPARD

   were essentially allowed to do whatever they wanted due to their personal relationship

   with Defendant ADAMS.

469.        By meeting with Defendants CHELL, DAUGHTRY, and SHEPPARD, Defendant

   ADAMS undermined Donlon within days of him assuming the position.

470.        As a result of their ability to circumvent the chain-of-command without

   consequence, Defendants CHELL, DAUGHTRY, and SHEPPARD went directly to

   Defendants ADAMS, to complain about Donlon’s Executive Orders etc. Essentially,

   Donlon had no power or authority to make decisions or transfer, promote MOS within the

   NYPD.

471.        When Donlon attempted to make changes within the Police Department, he was

   completely unsupported from doing so by the Defendants herein, and in particular

   Defendant GERBER of the NYPD Legal Bureau.

472.        Donlon, as stated and implied throughout this Complaint, is of the belief that all

   of his communications and meetings with Defendant ADAMS were essentially those of a

   civilian speaking to a politician, and not those of a duly appointed interim Police

   Commissioner speaking with a duly elected Mayor (Defendant ADAMS). Donlon was

   the interim Police Commissioner in name only and he lacked the authority, as authorized

   by law, to carry out his official duties.

473.        Donlon was not given the authorization by Defendant ADAMS to make any major

   decisions or properly manage the Police Department. Additionally, Donlon did not have



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   the authority to supervise or discipline Defendants KINSELLA, MADDREY, CHELL,

   DAUGHTRY, SHEPPARD, SARACENO and MARINO when they refused to follow his

   Orders or report back to Donlon with expected answers. This is a direct result of

   Defendant ADAMS not supporting the Police Commissioner and there has never been

   any recent Mayor who has not backed or supported the Police Commissioner.

474.        It should be noted that Donlon had no real choice in accepting the role of legitimate

   Police Commissioner under Defendant ADAMS—a leader who appeared to lack even the

   most basic sense of ethics, integrity, or moral responsibility. The gross mismanagement

   of the nation’s largest police department under Defendant ADAMS devastated morale and

   performance across the NYPD. Rank-and-file supervisors patrolling the streets, as well as

   those in Transit and Housing, were left without guidance or support. Even the

   Department’s highest-ranking uniformed leaders—Assistant and Bureau Chiefs—were

   routinely undermined and abandoned by the ADAMS Administration.

475.        At every turn, Donlon attempted to raise concerns about police corruption directly

   with Defendant ADAMS. Although Donlon repeatedly requested formal meetings,

   Defendant ADAMS was consistently unavailable. In contrast, Defendant MADDREY

   met with and advised Defendant ADAMS on a daily basis. Defendant MADDREY, the

   known sexual predator, acted as a gatekeeper, telling Donlon he would relay his concerns

   to Defendant ADAMS and deliver any messages on his behalf. Despite Donlon’s good-

   faith efforts to improve NYPD operations and address systemic corruption, Defendant

   ADAMS—shockingly and without justification—retaliated against him for his objections

   to the corruption. Defendant ADAMS diminished Donlon’s authority, spread internal and




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   external rumors that he would be fired, and ultimately carried out an unlawful termination

   in direct response to Donlon’s efforts to hold the Department accountable.

476.        The NYPD is a paramilitary organization that operates under a chain-of-command

   structure to ensure maximized efficiency.

477.        As a result of Donlon’s lack of authority and power, and the ability of the

   individual Defendants to speak directly to the Mayor, Defendant ADAMS, this chain of

   command structure is intentionally dismantled by Defendant ADAMS To allow

   Defendants KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER,

   SARACENO and MARINO to unlawfully control the entire NYPD is egregiously

   dangerous and unprecedented.

478.        Moreover, Donlon is told repeatedly the individual Defendants KINSELLA,

   MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER, SARACENO and

   MARINO resent the FBI, Donlon’s federal background, and they do not want to work

   with federal law enforcement authorities, as voiced by CHELL and DAUGHTRY.

479.        Throughout his time working as the interim Police Commissioner, Donlon’s

   Orders are disobeyed or ignored by Defendants KINSELLA, MADDREY, CHELL,

   DAUGHTRY, SHEPPARD, GERBER, SARACENO and MARINO. As previously

   stated, the above Defendants were essentially in control of the entire NYPD, in

   conjunction with ADAMS, from the time of Donlon’s appointment, as the interim Police

   Commissioner in September 2024 until Donlon was retaliatorily terminated as Police

   Commissioner in November 2024.

480.        When Donlon first met Defendant KINSELLA, she was cordial and expressed a

   willingness to support him in addressing NYPD-wide administrative and operational



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   matters. She claimed she would bring forward valuable ideas, initiatives, and projects to

   improve the Department’s overall efficiency and morale—particularly among patrol

   officers and frontline supervisors. Despite these assurances, Defendant KINSELLA never

   once offered tangible assistance or presented any of the initiatives she had promised. This

   included key concerns repeatedly raised by all NYPD unions, such as tour scheduling and

   morale.

481.        Donlon requested that the each of the Bureau Chiefs submit funding requests with

   the New York City Police Foundation in order to off set shortfalls in funding. Donlon

   provided the funding applications to the Chiefs. The only Chief who submitted the form

   was the Chief of ESU, who submitted a request for $550,000 in funding, while the

   remaining Chiefs failed to submit applications. To date it appears that none of the Chiefs

   took advantage of the application process and thus did not receive funding.

482.        This failure to utilize resources harms not only the NYPD as a whole, but directly

   harms the rank and file officers who lack critical support.

483.        At every turn Donlon was instructed to stand down, and it was clear to Donlon

   that Defendants KINSELLA, CHELL, DAUGHTRY, and SHEPPARD wield more actual

   power than any Police Commissioner. In practice, they function as the de facto Police

   Commissioners of the NYPD, exercising operational control, authority, and influence

   well beyond what the law permits them to do.

484.        As noted above, and emphasized herein, Defendant ADAMS summoned Donlon

   to City Hall on Donlon's first day as the interim Police Commissioner to advise Donlon,

   that Defendants MADDREY, CHELL and DAUGHTRY are his three "best guys" and

   that Donlon is to "leave them alone".



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   485.        This above conversation was pursuant to Donlon advising the above Defendants,

      and the entire NYPD staff, regarding the use of social media and the abuses thereof which

      needed to be authorized by the Legal Bureau before sending to the public.

   486.        The message from Defendant ADAMS to Donlon is unmistakable. Donlon is

      shocked and confused by the statement(s) made by Defendant ADAMS.

   487.        As stated above Donlon had reviewed their backgrounds of the individual

      Defendants prior to taking the Commissioner position and did not see any evidence of

      major successful operational experiences or a track record of success for any of the people

      Defendant ADAMS championed.

   488.        As a result, Defendants ADAMS, KINSELLA, MADDREY, CHELL

      DAUGHTRY, SHEPPARD, GERBER, SARACENO and MARINO and several other

      connected Chiefs connected to the Defendants are allowed to do whatever they want

      within the Police Department and Donlon is powerless to stop it.

   489.        This is further evidenced by the actions of Defendant SHEPPARD.



F. Following a Police Officer Being Shot in the Line of Duty, Commissioner Donlon

   Discovers Widespread Incompetency in the Highest Ranks of the NYPD



   490.        Donlon's leadership in a crisis was immediately tested on Saturday September 14,

      2024, when a NYPD patrol officer was shot in Brooklyn.

   491.        While the officer thankfully recovered, Donlon’s arrival at Brookville Hospital

      exposed a disturbing level of dysfunction within NYPD leadership.




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492.        Despite observing numerous dedicated Members of Service (MOS) at the hospital,

   including high-ranking Chiefs, Inspectors, Captains etc. and numerous Police Officers, a

   subsequent briefing with Defendants MADDREY, CHELL and Police Surgeon Dr.

   Kleinman revealed critical deficiencies to Donlon.

493.        Defendant ADAMS’s repeated phone calls to both Donlon and Defendant

   MADDREY for updates during this crisis underscored the urgent need for structured

   communication, a need that would be contemptuously ignored.

494.        Recognizing the potential for chaos and misinformation, Donlon explicitly

   directed Defendants MADDREY and CHELL to establish a centralized email

   communication system and chain of command for consistent and accurate updates to

   Defendant ADAMS and key stakeholders-(NYPD supervisors) at the scene. This effort

   was to ensure that the NYPD has one correct united message at the scene of a serious

   incident or event.

495.        This simple, crucial directive, designed to prevent the real danger of relaying

   unverified information to Defendant ADAMS and ensure collaborative communication,

   was met with blatant inaction. Both Defendants MADDREY and CHELL stated when

   Defendant ADAMS calls them individually, they then update him. Amazingly, they both

   totally missed Donlon’s message as Donlon said Defendant ADAMS has been calling

   others at the scene, including Donlon, and all need to have the latest information to

   provide to Defendant ADAMS. Donlon stated that he was certain that all other NYPD

   bosses at the scene, Borough Commander, ESU Chief, Precinct Commander and our

   Medical Division, Dr. Kleinman (who was present at the scene) and certainly the doctor

   would provide an excellent update to Defendant ADAMS. Lastly, Donlon stated that it



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   would be embarrassing if the family of the injured officer were provided false

   information.

496.        Donlon issued a directive to ensure accurate and unified updates were provided to

   Defendant ADAMS during field operations. This was designed to prevent the

   dissemination of unverified or conflicting information.

497.        Defendants MADDREY and CHELL stated that they updated Defendant ADAMS

   when he called them directly. Donlon emphasized that this fragmented communication

   was problematic, especially since Defendant ADAMS was also contacting others at the

   scene,

498.        Donlon then stated to both Defendants MADDREY and CHELL that the NYPD

   would look extremely disorganized if several different NYPD employees were providing

   updates directly to Defendant ADAMS that were incorrect, rather than getting information

   from those who were working closely with the hospital administration.

499.        Despite Donlon reiterating the necessity of this basic emergency planning

   organizational necessity, Defendants MADDREY and CHELL simply failed to act,

   demonstrating an early and alarming pattern of insubordination and operational neglect.

500.        At the following Monday's NYPD Executive Team meeting on September 16,

   2024, Donlon’s attempts to address these systemic failures were met with further evidence

   of profound incompetence.

501.        It became shockingly apparent that the Executive Team, specifically Defendants

   MADDREY and CHELL, possessed no structured Operational Plan for Brookville

   Hospital nor even a fundamental understanding of crisis management and emergency

   planning, not just for Brookville, but for any hospital facility responses, citywide.



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502.        This deficiency was not a minor oversight but a gaping hole in preparedness for

   critical incidents involving an injured MOS, where standardized protocols for meeting

   areas, family assistance, traffic control, access restriction, communication, and media

   relations are paramount.

503.        When Donlon directly questioned Defendant CHELL about an Operational Plan

   (“OP”) for Brookville Hospital, Defendant CHELL’s cavalier and dismissive retort, "I

   think we had one; I will look for it; I’ll dust it off", was not merely a sign of a lack of

   urgency, but a clear exhibition of gross incompetence, neglectful indifference, and

   dereliction of duty it and meant he had no intention of looking for the OP.

504.        True to form, and despite two subsequent direct requests from Donlon, Defendant

   CHELL demonstrated a stunning disinterest and an utter lack of an operational planning

   mindset.

505.        Defendant CHELL’s continued insubordination was evident as he willfully

   avoided addressing the issue, and failed to produce any plan for Brookville Hospital.

506.        Furthermore, Defendant CHELL displayed an appalling lack of basic delegation

   skills critical for an NYPD Executive; rather than assigning the task to ensure its

   completion, he chose indolence and defiance.

507.        On three (3) occasions thereafter, Donlon inquired about the whereabouts of the

   OP plans he requested without receiving the requested documents.

508.        Defendant CHELL when asked for the plans by Donlon, had nothing to say.

509.        Frustrated by this blatant insubordination and sloth behavior, Donlon bypassed

   Defendant CHELL and other NYPD executives and directly tasked 3 and 2 star Chiefs to

   solicit operational plans from their precinct commanders.



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510.        This initiative, born out of necessity due to the leadership vacuum, yielded results:

   weeks later, after Donlon instructed Defendant CHELL to follow up, well-structured plans

   were submitted by select commanders, proving that competence existed within the ranks,

   even if absent at the top. Again, Donlon asked Defendant MADDREY where the

   Operational Plans for all the hospitals in the five boroughs are, as requested well over

   approximately 5 weeks ago. Defendant MADDREY just looked at Donlon and said he

   would look into this matter.

511.        Donlon further directed Defendant SARACENO, at a later date, regarding the

   need for Operational Plans for all Hospitals in the five (5) boroughs. Within a couple of

   weeks Defendant SARACENO furnished Donlon all the Operational Plans for all the

   Hospitals in the five boroughs. Donlon advised Defendant SARACENO to ensure these

   vital plans were accessible precinct-wide via a shared computer drive.

512.        However, indicative of the pervasive culture of inaction fostered by his superiors,

   this crucial step also saw no follow-up, leaving critical information siloed despite

   Donlon's clear mandate.

513.        The consistent failures in communication and response planning, spearheaded by

   the insubordination, incompetence, and indolence of key executives like Defendants

   MADDREY and CHELL necessitated Donlon's urgent call for immediate action to

   establish a standardized operational framework.

514.        In a move that highlighted his own commitment to collaboration, a stark contrast

   to the indolence he faced internally, Donlon personally provided copies of the gathered

   operational plans to the Commissioners of the NYC OEM and FDNY. These plans




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      provide measures to safeguard the MOS, first respondents, NYC residents and the above

      agencies despite the internal resistance, apathy, and incompetence of the Defendants.



G. Defendant SHEPPARD Interferes With the Police Commissioner’s Security Detail



   515.        The Police Commissioner (“PC”) is assigned a dedicated security detail of

      approximately 15–20 members of the NYPD. While the security detail is established upon

      the PC’s appointment, whoever is acting as the Police Commissioner retains full

      discretion over its composition.

   516.        Upon assuming his role as interim Police Commissioner, Donlon exercised this

      discretion by personally selecting and approving his security detail, consisting of one (1)

      Lieutenant, two (2) Sergeants, and approximately 15 Detectives.

   517.        It was Donlon’s explicit intention to meet with all members of the detail

      personally.

   518.        Shortly after Donlon assumed his post, unbeknownst to Donlon, Defendants

      SHEPPARD and SARACENO called a meeting of Donlon’s Security Detail.

   519.        Donlon was not present for the meeting, nor did he authorize it.

   520.        At the meeting, Defendants SHEPPARD made clear he was in charge, not Donlon,

      as the Police Commissioner of the NYPD.

   521.        At the meeting Defendants SHEPPARD and SARACENO threatened the

      approximately fifteen (15) members of service that they are not to follow the orders of

      Donlon.




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522.        Donlon is further undermined by Defendant SHEPPARD who stated, “PC Donlon

   is an interim and will be gone soon, but I will still be here,” thereby positioning himself

   as the de facto authority figure. Per the meetings’ attendees Defendant SARACENO

   endorsed this statement.

523.        Defendant SHEPPARD thereafter directed personnel to bypass the Office of the

   Police Commissioner entirely for matters including transfers, requests, or other

   administrative needs; instructing them to report directly to him instead, as though he was

   the Police Commissioner.

524.        Even in the absence or disability of the Police Commissioner, no one, including a

   Deputy Police Commissioner, had “the power of making appointments and transfers”

   (NYC Charter § 432).

525.        Critically, Defendant SHEPPARD purportedly threatened the assembled security

   team that any attempt to bring such matters to Donlon’s attention would result in punitive

   transfers to undesirable assignments.

526.        Defendants SHEPPARD and SARACENO had held the meeting with Donlon’s

   security detail without Donlon’s knowledge or authorization and now controlled the

   Security Detail through fear and intimidation.

527.        Donlon was only informed of this unauthorized meeting after it had concluded.

528.        Donlon immediately and repeatedly complained to Defendants ADAMS and

   MADDREY about the actions of the NYPD Defendants herein and was retaliated against

   as a result of his protected speech. It became quite clear and was truly pointless for Donlon

   to speak to Defendant ADAMS regarding Defendants MADDREY, CHELL,

   DAUGHTRY, SHEPPARD or the remaining Defendants.



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529.        The deviation from the paramilitary structure is well documented.

530.        This deliberate circumvention of established protocols necessary for security

   within the highest level of the NYPD, combined with Defendant SHEPPARD’s coercive

   directives, and Defendant SARACENO’s dismissive attitude, constituted a grave breach

   of professional conduct and insubordination. When Donlon did speak with Defendant

   SARACENO, he dismissed his concerns, asserting that Police Commissioners “you know

   PC’s Come and go and you are an interim” implying Donlon’s authority was diminished

   due to his interim status.

531.        Donlon asked Defendant SARACENO to expound on that statement and he,

   Defendant SARCENO could not elaborate any further.

532.        This justification was not only inadequate, but profoundly disrespectful to the

   Office of the Police Commissioner, the established security structure, and Donlon’s need

   to have trusted and qualified individuals in these highly sensitive security positions.

533.        Defendant SARACENO’s rationale failed to address the core issue of the

   unauthorized meeting and appeared intended to deflect accountability, manipulation, and

   insubordination from Defendant SHEPPARD.

534.        In short and in reality Donlon continued as Police Commissioner in name only,

   with no power to perform any of his designated job duties.

535.        These actions actively undermined the integrity of the NYPD’s chain of command

   and fostered an environment of intimidation within Donlon’s security detail, and

   compromised the fundamental principles of leadership, chain of command, and

   accountability essential within the NYPD.




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536.        This situation warrants a formal investigation to address the improper exertion of

   influence and ensure adherence to professional ethics and departmental regulations,

   specifically as to who empowered the NYPD Defendants to comfortably act so

   contemptuously and reprehensibly without accountability.

537.        It is widely reported in the media that Commissioner Sewell left due to the many

   breakdowns in the paramilitary structure and lack of real power and authority.

538.        Donlon attempted to address this significant breach of protocol as detailed above

   regarding the security detail with Defendant ADAMS and Defendant MADDREY but

   was met with obstruction, contempt, and insubordination.

539.        Defendant SHEPPARD repeatedly failed to respond to Donlon’s calls and

   deliberately avoided direct communication regarding the matter. He would just walk away

   when Donlon attempted to speak with him. Due to Donlon’s lack of support from

   Defendants ADAMS and MADDREY, he had to tolerate this behavior, as complaining

   would not have and not change anything.

540.        Shortly after Donlon was named interim Police Commissioner, the FBI conducted

   a search of his residence.

541.        The FBI confiscated decades old documents, some over thirty years old, related to

   Donlon’s law enforcement career.

542.        Donlon cooperated fully in the investigation.

543.        The FBI incident caused Donlon and his family to suffer severe embarrassment

   and humiliation.

544.        Following the search, rumors were circulated that Donlon was going to step down

   as the interim Police Commissioner. These rumors reached Defendant ADAMS who



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      telephonically contacted Donlon regarding these rumors. Donlon stated that he had no

      intention of stepping down, unless of course Defendant ADAMS requested it.

   545.        Thereafter, Donlon chose his own NYPD employees to join the Police

      Commissioner’s Office, which was the historical practice within the agency.

   546.        Defendant ADAMS repeatedly failed to discipline the NYPD Defendants herein,

      emboldening them to further violate Donlon’s rights.

   547.        The repeated failure on the part of Defendant ADAMS to discipline the NYPD

      Defendants herein, and or allow Donlon to do so, is extreme, outrageous, and has far

      reaching and incalculable consequences for the safety and security of/for the inhabitants

      of New York City.

   548.        Around this time, as a result of the false rumors being spread, a former NYPD

      Police Commissioner contacted Defendant ADAMS to inform him that Donlon should be

      replaced and that he had a candidate to replace him.



H. The Culture of Corruption: How Donlon Was Sabotaged by a Corrupt Command Staff
   Enabled by Defendant ADAMS




   549.        From the moment Donlon assumed his duties, Donlon was confronted by a deeply

      entrenched culture of corruption, insubordination, and sabotage within the NYPD’s senior

      ranks. His efforts to support the hardworking, honest members of the department and

      instill a merit-based system to justify promotions were continuously thwarted by a clique

      of self-serving officials.




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550.        A sign of this systemic rot came from Defendant MARINO. His official duties in

   the Police Commissioner’s Office were administrative, such as tasking others with

   requests and Orders from the Police Commissioner, processing invoices, liaison with the

   Chief of Personnel, and handling routine matters. The above cited duties were the protocol

   and procedures authorized by previous Police Commissioners.

551.        Whilst Defendant MARINO ostensibly exercised these duties and authorities, his

   true power lay in his control over processes and his willingness to operate opaquely. In a

   blatant breach of professional protocol. Defendant MARINO deliberately concealed from

   Donlon that he possessed a rubber signature stamp bearing Donlon’s full official

   signature. Every Police Commissioner has an official rubber signature stamp made upon

   assuming their duties. It was only through notification from a senior NYPD MOS that

   Donlon discovered that Defendant MARINO was in possession of said rubber signature

   stamp and abused its usage to authorize a fraudulent and unmerited promotion of

   Defendant SHEPPARD described below.

552.        When Donlon confronted Defendant MARINO, he offered a weak excuse that the

   stamp being utilized by administrative staff, who had the rank such as Defendant

   MARINO held, was a long-standing practice to “alleviate backlog.”

553.        In each of the promotional lists that were fraudulently altered by the Individual

   Defendants, had officers selected by Donlon removed from the promotional list and

   replaced with officers that were not approved by Donlon. On paper Defendant MARINO

   illegally stamped Donlon’s name to the promotional lists to make it appear, falsely, that

   Donlon had approved the promotional lists.




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   554.        Defendant MARINO failed to even provide Donlon with a copy of the final list

      after they were falsified and fraudulently approved.

   555.        While Donlon understood this need and agreed to the procedure for efficiency, he

      demanded to review the process himself and any and all documents that Defendant

      MARINO had utilized the signature stamp. After this review by Donlon he agreed to the

      protocol. That said, the fact that Defendant MARINO never advised Donlon beforehand

      that he had a copy of the signature stamp was disturbing. The initial deception was a clear

      red flag. Defendant MARINO had demonstrated his allegiance was not to transparency

      and efficiency, or his new superior, but to the established power structure created and

      maintained by the NYPD Defendants and Defendant ADAMS.

   556.        Defendant MARINO kept Donlon completely in the dark as to which members of

      service were being promoted and by whom. Defendant MARINO allowed Defendants

      SHEPPARD and MADDREY to control the promotional lists and then fraudulently used

      Donlon’s stamp to solidify the promotions. What resulted was a transfer of wealth in the

      millions of dollars at the hands of the Defendants herein who falsified NYPD records to

      make it seem like Donlon had agreed to the promotional list when he had no idea who

      was being promoted or why.



I. Donlon Gains Knowledge of the Defendants First RICO Predicate Felony and Tells
   Defendant ADAMS, Who Does Nothing



   557.        Shortly after Donlon became aware of the misuse of his Police Commissioner

      rubber signature stamp, Donlon noticed to his surprise that Defendant SHEPPARD began

      to wear a third star on his collar when dressed in uniform. This would mean that Defendant


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   SHEPPARD had been elevated from the rank of Assistant Chief (2-stars) to Bureau Chief

   (3-stars). However, Donlon had never promoted or authorized the promotion of Defendant

   SHEPPARD. Ergo, Defendant SHEPPARD was fraudulently functioning as an NYPD

   Bureau Chief.

558.        Promotions of NYPD employees can only be made by the Police Commissioner.

559.        Defendant SHEPPARD’s fraudulently functioning as a Bureau Chief occurred

   after Donlon took over, in name only, as Police Commissioner. Again, Donlon did not

   promote Defendant SHEPPARD to Bureau Chief.

560.        Without Donlon’s permission, Defendant SHEPPARD obtained control of

   Donlon’s Police Commissioner’s signature stamp from Defendant MARINO and

   fraudulently imprinted Donlon’s signature onto a memorandum to promote himself to the

   rank of Bureau Chief.

561.        Defendant MARINO was the only person in the NYPD who had access to

   Donlon’s Commissioner’s stamp.

562.        Donlon confronted Defendant SHEPPARD about the promotion because he,

   Donlon, did not sign any promotion memorandum with respect to Defendant

   SHEPPARD, nor did Donlon authorize anyone to use his Police Commissioner’s

   signature stamp onto any memorandum regarding promotions.

563.        As a result of the lack of authorization Defendant SHEPPARD forged Donlon’s

   signature.

564.        Donlon asked Defendant SHEPPARD who authorized his promotion to Bureau

   Chief.




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565.        Defendant SHEPPARD, in a vitriolic tone and arrogant manner, denied that he

   took Donlon’s stamp to get promoted. Donlon advised MADDREY and he did absolutely

   nothing in handling SHEPPARD self-imposed promotion.

566.        Days later Defendant SHEPPARD when asked by Donlon again who promoted

   him advised that Defendant ADAMS was the one who promoted him to a Three Star

   Chief.

567.        Donlon then spoke in person with Defendants ADAMS and MADDREY over

   Defendant SHEPPARD stealing his Police Commissioner signature stamp and promoting

   himself to Bureau Chief.

568.        Defendant ADAMS informed Donlon that he, Defendant ADAMS, did not

   authorize the promotions of Defendant SHEPPARD.

569.        Defendant ADAMS took no action to discipline Defendant SHEPPARD following

   actual notice of Defendant SHEPPARD’s unlawfully egregious acts.

570.        When Donlon returned to the Police Department from City Hall (after meeting

   with Defendant ADAMS), he spoke with Defendant MADDREY who confirmed that

   Defendant SHEPPARD did not have any authorization to promote himself to the rank of

   Bureau Chief, but that he, Defendant SHEPPARD, had done exactly that.

571.        Defendant MADDREY also told Donlon that Defendant ADAMS did not promote

   Defendant SHEPPARD.

572.        Defendant MADDREY advised he would speak with Defendant SHEPPARD over

   the incident and rescind the falsified promotion.

573.        Donlon instructed Defendant MADDREY to report the matter to the Internal

   Affairs Bureau.



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574.        Upon information and belief, Defendant MADDREY failed to report the crimes

   to IAB, nor did he speak with Defendant SHEPPARD.

575.        After Donlon learned of Defendant SHEPPARD’s unlawful self-promotion, he

   confronted Defendant MARINO, who is the only person who had access to the Police

   Commissioner’s signature stamp.

576.        It is unknown to Donlon whether Defendant MARINO willingly gave Defendant

   SHEPPARD the Police Commissioner’s signature stamp or whether Defendant

   SHEPPARD took it from the possession of Defendant MARINO with his knowledge.

577.        Donlon then confronted Defendant SHEPPARD directly.

578.        Defendant SHEPPARD denied that he took Donlon’s stamp, telling him “I did not

   take your damn stamp. Hell no.”

579.        Donlon specifically ordered Defendant SHEPPARD to stop wearing the third star

   on his collar, but he refused.

580.        To Donlon, this fraudulent promotion by Defendant SHEPPARD is “stolen valor”

   and is a crime.

581.        It is also a slap in the face to every Chief who earned their third star on merit.

582.        It is unclear whether or not Defendant SHEPPARD received increased

   compensation from the Defendant CITY following his fraudulent promotion in addition

   to wearing the third star he did not earn.

583.        Defendant SHEPPARD was temporarily allowed to work as a Bureau Chief after

   he falsified documents and forged Donlon’s signature to promote himself to that rank.

   This meant that SHEPPARD would have received a higher salary from public monies,




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      than he was lawfully entitled to receive during the time that he was masquerading as a

      Bureau Chief. This is theft. This is a crime. This has never been resolved.

   584.        Defendant SHEPPARD, at all times herein, was emboldened to act in an unlawful

      manner by Defendant ADAMS and inter alia the other NYPD Defendants.

   585.        It would not be until Defendant SHEPPARD threatened to kill Donlon in

      November 2024, specifically stating to Donlon “I will fucking kill you”, that Defendant

      SHEPPARD would be demoted from his stolen Bureau Chief rank.



J. Defendant ADAMS is Indicted on Corruption Charges



   586.        On September 25, 2024 Defendant ADAMS was indicted on federal criminal

      charges.

   587.        The indictment charged Defendant ADAMS with one count of conspiracy to

      defraud the United States; one count of wire fraud; two counts of soliciting campaign

      contributions from foreign nationals; and one count of soliciting and accepting a bribe.

   588.        Following the indictment, Defendant ADAMS refused to resign his position as

      New York City Mayor.

   589.        New York State Governor Kathy Hochul threatens to remove Defendant ADAMS

      from office as he refuses to resign.

   590.        Governor Kathy Hochul forced Defendant ADAMS to terminate several bad

      actors from his staff which he previously refused.

   591.        Based on the Order of New York State Governor Kathy Hochul, Tim Pearson is

      forced to resign on September 30, 2024.



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  592.        On October 7, 2024, Phillip Banks and Winnie Greco resigned from Defendant

     ADAMS’s administration due to their respective pending criminal investigations.



K. The NYPD Roosevelt Avenue Task Force Is Created As a Result of a Dream of
   Defendant DAUGHTRY



  593.        In October 2024, there was extensive news coverage regarding the crime-ridden

     areas surrounding Roosevelt Avenue in Corona, Queens.

  594.        Defendant DAUGHTRY told Donlon that he proposed a “task force” to address

     all the” quality of life issues” in the Roosevelt Avenue area, in particular human

     trafficking, prostitution, illegal vendors,

  595.        He further explained that the “task force” would include the NYPD, Fire

     Department, NYS Environmental Protection Agency, Department of Sanitation, Office of

     Emergency Management, and the Queens District Attorney’s Office.

  596.        Defendant DAUGHTRY claimed to Donlon, in his office, that he conceived of the

     task force in ”a dream”.

  597.        Defendant DAUGHTRY was assigned by Defendants ADAMS and MADDREY

     to lead this task.

  598.        Donlon was not impressed with Defendant DAUGHTRY, who had virtually no

     experience or proven track record supervising police operations, and who regularly

     belittled NYPD employees under his supervision.

  599.        On several occasions, while on Roosevelt Avenue and in other venues, Donlon

     was compelled to confront Defendant DAUGHTRY about his mistreatment of all ranks

     of NYPD personnel. Defendant DAUGHTRY was routinely rude and disrespectful to


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   MOS in front of Donlon. Defendant DAUGHTRY’s response to Donlon was “you have

   to speak with them that way.” This response left no doubt as to why Defendant

   DAUGHTRY had a reputation among MOS of being rude and disrespectful when

   addressing them.

600.        It was clear to Donlon that Defendant DAUGHTRY, as evidenced by his actions,

   lacked meaningful leadership experience and/or operational experience regarding major

   investigations or training.

601.        In or around October 2024, the City of New York launched "Operation Restore

   Roosevelt" (ORR), a 90-day multi-agency initiative intended to address public safety and

   quality-of-life issues—such as prostitution, illegal vending, and retail theft—along

   Roosevelt Avenue in Queens. This was announced in a press conference conducted by

   Defendant ADAMS

602.        Despite its stated goals, the ORR task force was fundamentally flawed in its design

   and execution by deliberately excluding federal law enforcement partners.

603.        Donlon repeatedly recommended and advised that the task force collaborate with

   federal agencies to address the serious and transnational nature of the criminal activity

   alleged to be occurring in the area, specifically the complaints of illegal weapons, drugs

   and gang activities. With these recommendations, Donlon made certain to all the above

   NYPD Defendants, and the three and two star chiefs at Donlon’s weekly meetings, that

   he was not criticizing the abilities and capabilities of the NYPD.

604.        However, history has shown working with federal agencies and other law

   enforcement agencies has been extremely successful targeting the above violent criminal

   activities and/or organizations. It should be noted that the NYPD is a partner in several



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   successful Task forces with federal, state and other law enforcement and intelligence

   agencies. Again, the frustrating and debilitating factors with this ORR initiative was

   that    Defendants MADDREY, CHELL and DAUGHTRY, or for that matter

   ADAMS, have never been involved working on or with a Task Force comprised of

   federal law enforcement agencies.

605.        As usual, the NYPD Defendants, with their inexperienced, ineffective and

   insubordinate efforts, refused to listen to anyone with experience in these investigations.

   Their collective response was that they always know better. Unfortunately, the men and

   women of the NYPD who dedicated their time and effort with this ORR initiative, and the

   residents of the area, suffered.

606.        Donlon’s recommendations included a strategic intelligence-sharing protocol:

        a. First: Systematically collect identifying information from all individuals arrested,

           summonsed, or otherwise identified during ORR operations.

        b. Second: Provide this data to federal agencies to be checked against their national

           and international databases.

        c. Third: This process would have effectively identified individuals wanted on federal

           warrants, or those linked to ongoing federal investigations involving narcotics

           trafficking, human trafficking, gang activity (RICO), and other serious crimes.

607.        This collaboration would have provided a significant strategic advantage. Federal

   prosecution for such offenses carries substantially stricter penalties than state or local

   charges, including mandatory minimum sentences, thereby offering a more effective

   deterrent and a more lasting solution to the area's chronic crime problems. For example,




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   if convicted, the defendants would have to serve 85% of their sentence as opposed to

   lesser imposed sentences by state and city courts.

608.         Despite these clear strategic benefits, senior NYPD leadership, the collective

   NYPD Defendants, involved in the ORR task force expressly rejected any collaboration

   with federal agencies.

609.         The approach formulated by the NYPD Defendants proved to be a short-term,

   reactive enforcement blitz driven by media attention and Defendant DAUGHTRY’s

   personal zeal for publicity, rather than combatting crime and gathering intelligence.

610.         While ORR focused on visible, low-level offenses, serious violent crime

   escalated. During this period, robberies along the Roosevelt Avenue corridor surged 44%

   and assaults rose 46% compared to the prior year. This misalignment of resources

   occurred while local precinct staffing was simultaneously in decline, making any long-

   term success unsustainable.

611.         Consequently, the operation failed to produce lasting results, although ADAMS

   showed impressive questionable statistical accomplishments. As predicted by critics and

   reported in the media, upon the conclusion of the ORR, the same criminal activity,

   including open prostitution and illegal markets, promptly returned to Roosevelt Avenue,

   demonstrating the ineffectiveness of the collective Defendant's chosen strategy. The

   abject incompetence of NYPD executive leadership, specifically Defendants

   MADDREY, CHELL, and DAUGHTRY, all of whom as always, had their incompetence

   enabled and supported by Defendant ADAMS, was, and remains detrimental to public

   safety.




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    612.        Despite its stated goals, ORR was fundamentally flawed in design and execution

        due to the deliberate exclusion of federal law enforcement partners.



L. Defendant DAUGHTRY’S Arrogance and the Politicization of the NYPD Drone
   Program



    613.        Despite public praise from Donlon following well-received demonstrations of the

        NYPD’s drone technology—events attended by Defendant ADAMS and senior

        officials—Donlon privately harbored grave concerns about the program’s leadership.

        While the public optics suggested innovation and collaboration, the internal reality was

        one of dysfunction, obstruction, and retaliation.

    614.        Donlon, a former member of the FBI's Senior Executive Service (SES), which

        constitutes the top 1% of its FBI nationwide staffing, has a wealth of experience working,

        managing      and    coordinating     criminal;    domestic/international      terrorism;    and

        domestic/international counterintelligence cases. Moreover, Donlon is acutely familiar

        with counter intelligence efforts utilizing aviation/aerial surveillance relative to National

        Security investigations. Donlon made multiple respectful overtures to Defendant

        DAUGHTRY regarding this topic to ensure its success.

    615.        In light of Defendant DAUGHTRY's many utterances, to Donlon privately,

        publicly and at meetings with executive NYPD personnel that he, Defendant

        DAUGHTRY wanted to implement the "latest cutting edge technology.”4 Donlon, at one

        of his Monday morning executive meetings, always attended by three (3) and two (2) star


4
 Defendant DAUGHTRY also stated the same when he was appointed Deputy Mayor, Office of Public Safety in
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   chiefs, and other uniform ranks, along with civilian personnel, proposed leveraging his

   national security contacts to connect the NYPD with law enforcement and intelligence

   agencies experts. These agencies and individual(s) were at the forefront of drone

   integration/usage and other “latest cutting edge technology” as numerous times expressed

   by Daughtry. This was an offer rooted in collaboration and public safety against criminal

   and terrorism matters. Moreover, on a personal level, Donlon saw this as having the

   potential to foment a better working relationship with Defendant DAUGHTRY.

616.        Defendant DAUGHTRY rebuffed these efforts not with substantive feedback, but

   with a flippant and egotistical dismissal: “No thanks, we got it covered.” His refusal to

   engage was emblematic of a toxic pattern, not only him but by Defendants KINSELLA,

   MADDREY, CHELL and SHEPPARD. Defendant DAUGHTRY routinely rejected

   assistance from any individuals with superior qualifications in favor of preserving his own

   unearned authority. Donlon never could understand just who Defendant DAUGHTRY

   was referring to when he said “...we got it covered”. Any decisions regarding the

   technology and usage of drones would have ultimately been authorized by the Office of

   the Police Commissioner.

617.        Again, no collaboration with the Office of Police Commissioner every took place.

   When Donlon inquired of Defendant DAUGHTRY to explain “cutting edge technology”

   Defendant DAUGHTRY could never bring forth any example to Donlon. Donlon asked

   Defendant DAUGHTRY if he was coordinating efforts or seeking technical expertise and

   support from NYPD, but the Technical Assistance Response Unit (TARU) received no

   answer. TARU is an outstanding unit which is equipped to provide sophisticated technical

   support and specialized investigative equipment and also assist other cities, states and



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   many Federal agencies. During Donlon’s tenure with the JTTF, Donlon had the pleasure

   of working with TARU along with JTTF members, on several occasions. TARU’s history

   shows their capabilities utilizing drones with search and rescue cases, documentation of

   crime scenes and many other services. Again, due to Donlon’s imposed lack of authority,

   leadership, implementation and experience on critical, crucial and lifesaving matters, by

   orders from ADAMS, Donlon was seen as just a figurehead not to be respected or listened

   to regarding any police matter.

618.          While serving as Police Commissioner one of Donlon’s main objective and

   concern was to focus on the safety of MOS, and, of course, the safety of our NYC

   residents, however, with ADAMS directives to Donlon and the defendants, Donlon was

   obviously left powerless which was clearly seen by the MOS. Defendant DAUGHTRY’s

   position was protected not by merit or performance, but by a direct pipeline to Defendants

   MADDREY and ADAMS. When challenged, Defendant DAUGHTRY would run to his

   political benefactors, ensuring his mismanagement was never questioned, and his

   insubordination to Donlon or any Police Commissioner was rewarded.

619.          Donlon found it quite transparent that Defendant DAUGHTRY’s disdain for him

   stemmed from personal envy and resentment over not being selected as Police

   Commissioner by Defendant ADAMS. Rather than rise above those emotions in service

   to the NYPD, and our NYC residents, Defendant DAUGHTRY allowed it to dictate his

   professional conduct—even when doing so placed public safety and operational success

   at risk.




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   620.        After Donlon’s tenure, reliable sources informed him that Defendant ADAMS

      privately admitted regret over not forcing Defendant DAUGHTRY to cooperate and set

      aside his arrogance. By that point, however, the damage was done.

   621.        The drone program’s potential was lost, and another opportunity for innovation

      was squandered—yet another casualty of Defendant ADAMS’s loyalty-first, merit-last

      approach to governance. This again demonstrated ADAMS’s lack of administrative and

      operational skill.

   622.        This episode underscores a broader pattern: qualified professionals offering

      constructive reform were sidelined or retaliated against, while incompetent loyalists were

      protected and promoted. The NYPD, under the collective Defendants’ direction, had

      become a place where good faith collaboration was treated as insubordination and

      personal vendettas were allowed to sabotage public safety initiatives. This theme was

      echoed throughout the NYPD by every disheartened MOS who believed promotions were

      given based on merit.



M. Contrary to Their Stated Goals of Reducing Crime along the Roosevelt Avenue
   Corridor, the Defendants Refused Federal Assistance Through Dereliction of Duty



   623.        As stated previously, Donlon had extensive experience with multi-agency law

      enforcement operations and contacted several federal law enforcement agencies about

      initiating a joint investigation with respect to ORR.

   624.        Defendants KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD, and

      GERBER, through their incompetent and obstructionist leadership, deliberately

      undermined this effort by Donlon to ensure the success of ORR.


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625.        Donlon repeatedly recommended and advised the task force to collaborate with

   federal agencies to address the serious and transnational nature of the criminal activity in

   the area.

626.        Donlon’s recommendations included a strategic intelligence-sharing protocol as

   stated above. Such collaboration, as Donlon emphasized, would have offered a significant

   strategic advantage. Federal prosecution for these offenses carried substantially stricter

   penalties, where defendants have to serve 85% of their imposed sentences than local

   charges, including mandatory minimum sentences—offering a more effective deterrent

   and lasting solution..

627.        The individual Defendants summarily rejected Donlon’s recommendations. As a

   result, the residents and businesses along Roosevelt Avenue continued to face pervasive

   and escalating crime, including but not limited to the trafficking of illegal drugs, and

   weapons, gang violence, prostitution, and harassment of store owners and pedestrians.

628.        During an executive meeting in the Commissioner’s office, Donlon directly

   confronted Defendant DAUGHTRY about the inadequacy of the task force he had

   assembled.

629.        Donlon requested the names of investigative subjects, meaning those questioned,

   detained or arrested during ORR, so they could be vetted through federal databases,

   emphasizing the importance of avoiding interference with ongoing federal investigations.

630.        Donlon unequivocally stated that addressing violent crime, illegal weapons, and

   gang activity required immediate inclusion of federal law enforcement.




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631.        At a minimum, Donlon insisted that meaningful discussions with federal partners

   were necessary to explore joint efforts. Donlon stated clearly this would be a partnership

   between the NYPD and the respective federal agencies.

632.        Donlon emphasized that inter-agency collaboration is a cornerstone of modern

   policing, especially in the post-9/11 era, as outlined in the 9/11 Commission Report.

633.        Despite Donlon’s consistent and forceful advocacy at weekly NYPD executive

   meetings, his recommendations were met with obstruction by Defendant DAUGHTRY and

   deliberate resistance by Defendants MADDREY, CHELL, SHEPPARD, and GERBER.

634.        Donlon also demanded adherence to intelligence-sharing principles.

635.        He urged the NYPD Defendants to compile and transmit to federal agencies the

   names of individuals arrested, detained, or credibly linked to weapons seizures and gang

   activity by the NYPD. Not related solely to ORR.

636.        Donlon explained that this data was vital for federal agencies to cross-reference

   with their databases.

637.        This process could identify suspects or weapons connected to active federal cases,

   leading to more productive enforcement through federal warrants and statutes.

638.        These professional, evidence-based recommendations—crucial to public safety—

   were met with contempt and personal hostility.

639.        Defendant DAUGHTRY, in a display of arrogance and disregard for law

   enforcement norms, stated to Donlon and other attendees at the Monday Executive

   meeting: “I don’t like the Feds” and Defendant CHELL also arrogantly stated in front of

   all the 3 and 2 star chiefs and other ranks, “Come on the Feds - try getting them out of bed

   at 2:00 a.m. on a Saturday morning to come out and work with us.”




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    640.         This attitude epitomized Defendant DAUGHTRY's insular approach, which was

        endorsed and or tolerated by the other individual NYPD Defendants. It was also

        disheartening and embarrassing to hear the above ignorant statements from Defendants

        CHELL and DAUGHTRY.5

    641.         As a result, any meaningful progress with respect to ORR was sabotaged.

    642.         Undeterred, Donlon continued to emphasize the benefits of federal collaboration at

        a few Monday morning meetings, explaining that it would support both the NYPD and the

        community.

    643.         The flippancy of the Individual Defendants towards the joint NYPD and Federal

        task forces was extremely disparaging and hurtful. These comments further undermined

        the efforts of current and past officers and diminished their roles in fighting terrorism and

        stopping crime.



    644.         Defendant GERBER, a former U.S. Federal prosecutor, known as an Assistant

        United States Attorney (AUSA), later falsely claimed after one of the Monday executive

        meetings, when asked by Donlon about inviting federal agencies to join the ORR Task

        Force, “I don't remember any conversation(s) at this particular meeting or at any other

        Monday meetings about inviting the “FEDS to join the ORR Task Force.”

    645.         This statement by Defendant GERBER was knowingly false and intended to

        conceal the collective dereliction of duty by the NYPD Defendants.




5
  Most concerning, as of this date Defendants CHELL and DAUGHTRY are the two faces of the NYPD representing
the organization in their joint effort with Thomas Douglas Holman, White House Border Czar and his regaining the
migrant/illegal issues.


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646.        Donlon asked Defendant GERBER, “Were you sleeping at this meeting and at other

   Monday meetings?” Astonishingly, GERBER had no response—and he stopped offering

   comments at future meetings.

647.        Throughout Donlon’s tenure, Defendant GERBER displayed contempt, deception,

   and subversion. Donlon was shocked that Defendant GERBER, a former Assistant United

   States Attorney (“AUSA”), showed no interest in authorizing federal agencies—such as

   the U.S. Marshals, ATF, FBI, or DEA—to support ORR.

648.        This refusal undermined a major initiative and left Donlon baffled.

649.        Donlon found it extremely disturbing that Defendant GERBER—despite his prior

   experience as a federal prosecutor—resisted involving federal agencies in a high-profile

   initiative like ORR.

650.        His resistance wasn’t strategic or legal—it was personal, rooted in ego and control.

   This behavior not only impeded interagency cooperation but also increased risks to NYPD

   officers and the public.

651.        Donlon made repeated attempts to address this issue, but Defendant GERBER

   continued to act with insubordination and disregard for operational effectiveness.

652.        This reinforced Donlon’s belief that Defendant GERBER was being dishonest. It

   was hard to comprehend, especially given Defendant GERBER’s background as a former

   AUSA, that he failed to understand the benefit of cooperating with federal authorities on

   ORR. It remains unclear whether his actions were based on directives from Defendant

   ADAMS or influenced by Defendant CHELL’s earlier comments about not working with

   “FEDS.”




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   653.        ORR, as implemented under Defendant DAUGHTRY with support from

      MADDREY, CHELL, SHEPPARD, and GERBER, failed to meaningfully reduce crime—

      despite NYPD claims to the contrary.

   654.        Media reports and community members indicated that prostitution, drug activity,

      and gang presence quickly returned. One local leader even called for FBI and DEA

      involvement to address the worsening criminal activity.

   655.        Donlon identified a dangerously outdated mentality among the collective NYPD

      Defendants, who erroneously believed that the NYPD could not or should not collaborate

      with federal agencies.

   656.        This view, rooted in misconceptions decades out of date, ignored essential

      strategies of modern law enforcement.

   657.        Their resistance to federal partnerships obstructed opportunities for coordinated

      investigations and enforcement.

   658.        This refusal squandered crucial intelligence opportunities and had a devastating

      effect on the Roosevelt Avenue community.




N. The Incompetence of Operation Restore Roosevelt Avenue Results in Failure



   659.        Ultimately, ORR—defectively conceived and incompetently executed—failed to

      reduce crime. Due to the collective NYPD Defendants’ willful neglect, the operation

      focused only on what can be deemed trivial offenses while violent criminals continued

      operating with impunity, directly endangering the public.




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   660.        As Donlon predicted, ORR failed to produce lasting results proving the strategy’s

      ineffectiveness and exposing the incompetence of NYPD leadership—specifically

      Defendants MADDREY, CHELL, and DAUGHTRY—all enabled by Defendant ADAMS

      KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER, SARACENO

      and MARINO.



O. Defendant ADAMS Further Solidifies Donlon’s Lack of Authority As the Defendants
   Maneuver for Control



   661.        Defendants CITY, ADAMS, KINSELLA, MADDREY, CHELL, DAUGHTRY,

      SHEPPARD, GERBER, SARACENO and MARINO, through their direct conversations

      with Defendant ADAMS, knew that Donlon was Police Commissioner strictly in name

      only, had no real power whatsoever, and ignored the orders of Donlon as Police

      Commissioner, interim or permanent.

   662.        Donlon was deeply disheartened by his complete lack of authority within the

      NYPD, rendering his position effectively ceremonial.

   663.        Donlon regularly tried to go through Defendant ADAMS for assistance in dealing

      with these problematic employees but was pointless.

   664.        Each time Donlon raised a concern with Defendant ADAMS, he was further

      stripped of his authority and denied the ability to perform his job, as the individual NYPD

      Defendants became increasingly emboldened by the ineffectiveness of Donlon’s efforts.

   665.        Following a private meeting that Donlon had with Defendant ADAMS at City

      Hall, numerous individuals, including several placed in positions by Defendant

      MADDREY, visited Donlon’s office to elicit information about the meeting.


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666.        The questions were led by Defendant SARACENO.

667.        Shortly after the meeting where Donlon did not disclose the circumstances of the

   meeting with Defendant ADAMS, Defendant MADDREY called Donlon to see if

   everything was ok. While this may seem minor to the casual observer, it was and is the

   sole discretion of the Police Commissioner to disseminate or not, the private conversations

   with the Mayor.

668.        Defendant ADAMS regularly made comments to Donlon that he, Donlon, needed

   to get the NYPD “in order” as that is the only way he, Defendant ADAMS, will get re-

   elected.

669.        Donlon learned that Defendant ADAMS had expressed to individuals that he

   Defendant ADAMS “wished” that Defendant DAUGHTRY was nicer to Donlon and

   “didn’t give him such a hard time”. That said, Defendant ADAMS leaderless failed to

   actually intervene to stop Defendant DAUGHTRY’s insubordination, irresponsible

   behavior and unmanageable individual with an inability to listen to experienced

   individuals.

670.        Defendant ADAMS’ lack of action, lack of respect for Donlon in front of others,

   at all times herein, condoned and acquiesced to the unlawful actions of the NYPD

   Defendants herein.

671.        Despite Donlon’s qualifications, and Defendant ADAMS’s need to get the NYPD

   “in order”, Defendant ADAMS continued to empower Defendants KINSELLA,

   MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER, SARACENO and

   MARINO. In short, Defendant ADAMS allowed them to do whatever they wanted which

   directly undermined Defendant ADAMS’s request to Donlon to get the NYPD “in order.”.



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   672.        Upon information and belief Donlon was further stripped of his authority as a

      result of his complaints about Defendants KINSELA, MADDREY, CHELL,

      DAUGHTRY, SHEPPARD, GERBER, SARACENO and MARINO to Defendant

      ADAMS.

   673.        The interactions described throughout this complaint, underscored the ongoing

      pattern of internal maneuvering and information control within NYPD leadership.



P. Actual Police Work and Public Safety is a Secondary Concern for the Defendants



   674.        Defendants SHEPPARD and SARACENO and other NYPD employees, despite

      making no positive or relevant contribution operationally to the Police Commissioner’s

      Office or the NYPD, continued to be positioned strategically within the Police

      Commissioner’s Office.

   675.        During three separate executive Monday meetings, Donlon addressed the

      importance of the Violent Gang and Terrorism Organization (“VGTOF”) database,

      developed by FBI Headquarters (“FBIHQ”) in 1995.

   676.        At the time of its creation, Donlon was permanently assigned to the Violent Crime

      Section/Safe Streets Unit, where he played a role in its implementation alongside the

      Counterterrorism Section and the Terrorism Screening Center at FBIHQ.

   677.        VGTOF serves as a critical national database that tracks known and wanted

      terrorism and gang members, documenting their affiliations and case types. Individuals

      entered into this system must meet specific criteria for inclusion.




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678.        During the meetings, Donlon specifically instructed Defendants MADDREY,

   CHELL, DAUGHTRY and GERBER, who were surprisingly unaware of the VGTOF, to

   review and use this resource as an investigative tool, particularly in relation to the NYPD’s

   newly created ORR.

679.        Donlon urged the NYPD Defendants to obtain access to the file, review its

   requirements, and incorporate its use in their enforcement activities.

680.        Given that VGTOF is an invaluable tool, Donlon emphasized the importance of

   checking the names and groups encountered, detained, arrested, or interviewed during

   operations (by ORR in particular), against the VGTOF database.

681.        Despite these discussions, Donlon was surprised to learn that Defendants

   MADDREY, CHELL, DAUGHTRY and GERBER had not engaged with the VGTOF

   file. Donlon formally requested the above-mentioned individuals to examine the database

   and verify whether any of the individuals they encountered, detained, or arrested appeared

   in VGTOF.

682.        Over the course of three separate meetings, Donlon received no substantive

   response. In an effort to follow up, he later asked Defendant GERBER about the review,

   to which he, Donlon, received a non-committal response “I will look into it.” from

   Defendant GERBER.

683.        In contrast, the NYPD Counterterrorism Division was well aware of the VGTOF

   database and actively utilized it in their investigations. This discrepancy highlighted a

   significant gap in awareness among top NYPD executives and the need for further

   engagement with this critical resource.




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Q. Defendant SHEPPARD Undercuts and Embarrasses Donlon



  684.        In a blatant act of professional sabotage, Donlon was unexpectedly summoned

     from his 14th-floor office mid-afternoon by Defendant SHEPPARD, via one of Donlon’s

     own security detectives.

  685.        During the elevator ride to the 8th-floor conference room, Donlon’s detective

     could offer no insight into why Defendant SHEPPARD demanded his presence, only that

     a massive assembly of approximately one hundred MOS – Chiefs, Inspectors, Captains,

     Lieutenants, and Sergeants – awaited.

  686.        Donlon walked into an ambush. Before him was a significant departmental

     gathering for which he, as the Police Commissioner, had received zero invitation, zero

     prior notice, and which was conspicuously absent from his official schedule.

  687.        Defendant SHEPPARD, arrogantly presided over this meeting dressed in full

     uniform, parading an unearned and unauthorized three-star insignia – a testament to his

     disregard for regulation and unequivocally stolen valor. It was evident this was a

     ceremony for newly promoted Chiefs, yet Defendant SHEPPARD offered Donlon no

     courtesy of an explanation for either his attendance, or the event itself.

  688.        Forced to improvise in this orchestrated spectacle of disrespect, Donlon offered

     genuine congratulations to the promoted MOS, and apologized for an apparent lateness

     he could not have avoided, given Defendant SHEPPARD’s deliberate exclusion of the

     Police Commissioner’s office from any planning or invitation. The depths of Defendant

     SHEPPARD’s malice became undeniable when, as the meeting concluded, he was




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      overheard contemptuously remarking to others, “Donlon doesn’t even know where to sit.”

      This was a calculated, public insult designed to inflict maximum embarrassment.

   689.        Donlon’s subsequent apologies to the Chiefs, explaining his lack of prior

      knowledge, only underscored the deviousness of Defendant SHEPPARD’s scheme. This

      entire charade was nothing less than a despicable and manipulative ploy by Defendant

      SHEPPARD to humiliate Donlon, and paint him as incompetent, disorganized, and unfit

      for the office of Police Commissioner.

   690.        Defendant SHEPPARD’s conduct was a flagrant abuse of his position, a

      reprehensible display of insubordination, and a malicious attack on Donlon’s leadership.

      It was also a continuous illustration of vindictiveness of someone who acted like he,

      Defendant SHEPPARD, was the Police Commissioner when Defendant SHEPPARD was

      not even a three-star-chief, as he deviously had stolen the title, and criminally earned the

      salary associated with it.

R. The Promotion Process Hijacked by Corruption and Collusion Resulting In Several
   RICO Predicate Acts



   691.        The corruption within the NYPD’s upper ranks was undeniably reveled and

      exposed during Donlon’s promotion process. Donlon had made his intentions clear to

      Defendants MADDREY, SHEPPARD and MARINO: All promotions would be based on

      merit, fairness, and integrity. Donlon sought a collaborative, transparent process, relying

      on recommendations from trusted senior leaders. Donlon was assured by Defendants

      MADDREY, SHEPPARD and MARINO that his proposed promotion list, composed of

      carefully vetted candidates, would be submitted to the Mayor’s Office and specifically to

      Defendant ADAMS


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692.        This assurance was a calculated lie by Defendants MADDREY, SHEPPARD and

   MARINO. In a stunning act of betrayal and sabotage, numerous names submitted by

   Donlon and his trusted advisors, was removed from the final list. Defendants MADDREY,

   SHEPPARD and MARINO had secretly replaced the list with their own selections,

   promoting cronies and dismantling Donlon’s authority in the process.

693.        These illegal acts likely constitute honest services fraud as well as mail and wire

   fraud.

694.        The next round of promotions descended into open defiance. After Donlon

   finalized the list in coordination with Defendants MADDREY and MARINO, he

   witnessed Defendants SHEPPARD and MARINO, who had no formal role in the

   promotion process, emerge from a private meeting, on the 14th floor. When confronted,

   Defendant SHEPPARD brazenly told Donlon he had “finished the promotion list” and

   submitted it, then indignantly walked away from Donlon. Donlon asked Defendants

   SHEPPARD and MARINO for a copy which he never received.

695.        Under a mayor with integrity and leadership, Donlon would never have had to

   tolerate the NYPD Defendants’ behavior. The appropriate response would have been to

   terminate those individuals and restore proper chain of command.

696.        While Donlon could have chosen to resign in frustration, that was the outcome the

   Defendants were hoping for. Instead, he remained committed to improving the NYPD and

   supporting the rank-and-file, especially the Department’s future leaders.

697.        Donlon immediately reported Defendant SHEPPPARD’s insubordination to both

   Defendants ADAMS and MADDREY. He demanded a copy of the revised list from

   Defendant MARINO, who refused and walked away, signaling the protection he enjoyed



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      from the collective NYPD Defendants. Defendant MADDREY merely offered vague

      promises to “look into it” which was nothing more than a stalling tactic used repeatedly

      to shield misconduct.

   698.        Defendant MADDERY, a clear protector of Defendant SHEPPARD, says to

      Donlon “Oh now you are going to blame Defendant SHEPPARD, again.?”



S. Forgery, Fraud, and the Theft of Command Authority



   699.        Defendant SARACENO who worked in Defendant MADDREY’s Office was also

      one of MADDREY’s acolytes.

   700.        In his role as interim Police Commissioner, Donlon attempted to execute

      legitimate promotions within the NYPD on three separate occasions.

   701.        Defendant MADDREY and SHEPPARD, with the help of MARINO, deliberately

      removed Donlon’s selected candidates from the promotion list and replaced them with

      their own handpicked individuals. MARINO was also aware of these changes and failed

      to advise Donlon during all three promotions when Donlon was Police Commissioner

      Donlon also asked MADDREY, SHEPPARD and MARINO to send Donlon the finalized

      list but never received. ADAMS was fully aware of this action but did absolutely nothing

      to rectify these criminal acts.

   702.        These individuals were never selected, vetted, or approved by Donlon.

   703.        This unauthorized interference directly violated the New York City Charter and

      Administrative Code, both of which solely vest exclusive authority to make NYPD

      promotions to the Police Commissioner.



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   704.        To complete the deception, Defendant SHEPPARD forged the revised lists by

      unlawfully using Donlon’s signature stamp, without his knowledge or consent. It should

      be noted, Donlon personally observed the promotion memo with his signature stamp on

      the memo signifying that SHEPPARD was prompted to a three (3) star Chief.

   705.        Defendant SHEPPARD’s actions constituted multiple crimes, including forgery,

      falsifying business records, grand larceny, and official misconduct.



T. Retaliation and Conspiracy to Silence a Whistleblower



   706.        Donlon’s internal objections to Defendant SHEPPARD’s criminal conduct were

      met with a conspiracy to force him, Donlon, out of the NYPD.

   707.        Defendants KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD,

      GERBER, SARACENO and MARINO coordinated a retaliatory campaign to cover up

      their misconduct and protect their criminal enterprise.

   708.        The fraudulent promotions were never rescinded. As a result, the City continues

      to pay inflated salaries, benefits, and pensions to unlawfully promoted officers, despite

      knowing those promotions were never authorized by the Police Commissioner.

   709.        This ongoing fraud has cost the City hundreds of thousands, if not millions, in

      misappropriated public funds.




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U.    Defendant ADAMS refuses to act, Further Undermines Donlon




     710.        Donlon informed Defendant ADAMS directly about Defendant SHEPPARD’s

        felonious conduct, including the forgery of his signature stamp.

     711.        These disclosures involved criminal conduct and matters of public concern, far

        beyond the scope of Donlon’s ordinary job duties.

     712.        Defendant ADAMS refused to take any corrective action.

     713.        Instead, Defendant ADAMS further isolated Donlon, allowing Defendant

        SHEPPARD’s insubordination to escalate unchecked.

     714.        Defendant SHEPPARD ignored lawful orders, including refusing to attend weekly

        meetings of Two-Star and Three-Star Chiefs.

     715.        Donlon was stripped of any power to discipline him.

     716.        Defendants MADDREY, CHELL and DAUGHTRY, each embittered by being

        passed over for the role of Police Commissioner, aligned themselves with Defendant

        SHEPPARD in a coordinated effort to target Donlon.

     717.        Their resentment was widely known throughout the NYPD and fueled their

        coordinated effort to sabotage Donlon’s tenure.

     718.        Their actions were not isolated acts of retaliation, but calculated moves designed

        to further their criminal enterprise from within the NYPD’s highest ranks.

     719.        Defendant SHEPPARD became the principal face of this contempt, repeatedly

        undermining Donlon with impunity, secure in the knowledge that Defendant ADAMS

        would protect him.




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V. A Toxic Environment Engineered by Defendant ADAMS



   720.        Defendant SHEPPARD’s misconduct included refusing to respond to Donlon’s

      communications, ignoring directives, and engaging in flagrant disrespect.

   721.        Defendant ADAMS actively enabled this behavior by shielding Defendant

      SHEPPARD from accountability and preventing Donlon from disciplining him.

   722.        Defendants MADDREY, CHELL and DAUGHTRY lodged repeated complaints

      to Defendant ADAMS behind Donlon’s back. Donlon was excluded from these

      discussions and denied the opportunity to respond.

   723.        Defendant ADAMS acknowledged to Donlon that these complaints were

      coordinated, yet continued to undermine Donlon’s authority.

   724.        On two occasions, Defendant ADAMS told Donlon that his command was in

      “chaos.” When pressed for specific examples, Defendant ADAMS admitted he had none,

      merely parroting unsubstantiated grievances from Donlon’s saboteurs.

   725.        Donlon   repeatedly   warned    Defendant     ADAMS      that   the     unchecked

      insubordination was corroding the department’s chain of command. Defendant ADAMS

      did nothing.

   726.        The collective Defendants refused to recognize Donlon’s authority, deliberately

      stripping the role of Police Commissioner of its legitimacy and effectiveness.

   727.        Despite this campaign of abuse, Donlon never lost composure or retaliated. His

      professional restraint contrasted sharply with the collective NYPD Defendants’

      belligerence.




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  728.        In his long and distinguished career, including service with the FBI, Director of

     Homeland Security for New York State, and senior roles in the private sector, Donlon had

     never endured this level of hostility.

  729.        The deliberate and coordinated misconduct by Defendants, coupled with

     Defendant ADAMS’s silence, created a toxic and intolerable workplace.

  730.        Sources confirmed to Donlon that Defendant ADAMS was aware of the criminal

     conduct and corruption but chose to do nothing, telling Donlon he would “make good” on

     promotions later, an implicit admission of his complicity.

  731.        Ultimately, the same officials Defendant ADAMS protected, including Defendant

     SHEPPARD, turned on him. Defendant SHEPPARD reportedly aligned with the Cuomo

     campaign, seeking to become Police Commissioner himself.

  732.        Donlon’s experience illustrates the cost of speaking out against a corrupt political

     machine: a system built on loyalty to power, not the law or the public.



W. NYPD Leadership Acts to Shield Compromised Personnel and Obstruct Federal
   Corruption


         a. Defendant GERBER’S Pattern of Deception, Retaliation and Hostility to
            Collaboration with Federal Agencies


  733.        Defendant GERBER’s actions throughout Donlon’s tenure as interim Police

     Commissioner revealed a deeply rooted pattern of contempt, deception, and subversion.

     Donlon was quite surprised and dumbfounded that Defendant GERBER, a former U.S.

     Federal Assistant United States Attorney (AUSA) had no interest or desire to authorize a

     small number of U.S. Federal law enforcement agencies such as U.S. Marshall Service,



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   U.S. Alcohol, Tobacco and Firearms, FBI, DEA etc. to work in conjunction and support

   the NYPD in their efforts on this major initiative called :Operation Restore Roosevelt

   (“ORR”).

734.        Donlon clearly and concisely stated his opinion and reasoning why the federal

   agencies should be involved with ORR and fully support the NYPD. This was explained

   on a few occasions at the Monday morning Executive meeting attended by Defendants

   KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD, and GERBER. Two

   fold reasons: NYPD would provide the names or any other identifying information on the

   offenders to the above respective federal agencies who in turn would check their

   criminal/terrorism data bases to determine if the offenders were wanted by one of the

   above Federal Agencies or perhaps another federal agency. It would then be determined

   in consultation and in conjunction with the NYPD the next logical course of action which

   will benefit the residents in the vicinity of this major ORR initiative. If there are positive

   results of the federal checks - will the offenders be charged federally or by the NYPD for

   their respective offense. If jail/prison time is warranted for the offender, a joint decision

   will be made by the respective federal agency and NYPD examining what is the best

   avenue to pursue this matter for the benefit of the community. Will the person be charged

   federally or through the NYPD. One factor to consider would be jail/prison time for

   offender. If the individual is sentenced by the federal agency m , the offender has to serve

   85% of their sentence as opposed to the city/state court where the sentencing of the most

   at is One of the major decisions determine if the feed fast will be charged by the NYPD.

   Second reason was in who the defense has to serve 85% of the senate.




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735.        City and State governments did not possesses the same information as federal law

   enforcement which would allow the NYPD to check criminal/terrorism databases to

   determine if any of the individuals describe and /or arrested by the NYPD the some of

   these individuals who have federal pending charges against them.

736.        Additionally, chairing these decencies with Federal violations and charges carry

   that through the record changes of these agencies the NYPD Marshals Service Alcohol

   Tobacco and Firearms Drug Enforcement Agency joining the ORR Task Force.

   Defendant GERBER being a former Federal Prosecutor was Donlon added that the ORR

   Task Force was served to go after equity of life matters’ (possession, Illegal Street

   vendors, Noise violations, etc.) (NYPD , FDNY, OEM, SANITATION EPA and other

   city based agencies) and a host others to combat the quality of life issues at the Operation

   Rescue Roosevelt

737.        The NYPD Legal Division had absolutely no interest in allowing a number of

   federal law enforcement Agencies ,such as the US Marshall Service, Alcohol, Tobacco

   and Firearms, and other federal groups. With the want to worry the Fera law endpoint

   against FBI, US Marshals Service Alopoldo Tobacco and Firearms Drug Enforcement

   and others and having this willing Federal Agbeid in joining the ORR Task Force.

738.        Defendant Gerber being a former Federal Prosecutor surely hindered this ORR

   initiative from being successful. It is shameful with his alleged experience it would have

   immensely helped and protected the residents in the ORR area who depend on the NYPD

   to keep them safe and secure




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739.        His conduct was not merely unprofessional but constituted a sustained effort to

   undermine the integrity of NYPD leadership and to obstruct Commissioner Donlon’s

   attempts at reform and transparency.

740.        Despite claiming he intended to “clean house” of officials affiliated with the prior

   administration, Defendant GERBER selectively shielded those who served his own and

   the Defendants political interests.

741.        Defendant GERBER’s refused to allow Donlon to transfer Sergeant Special

   Assignment Danielle A. Venus, an individual closely associated with the prior regime of

   Commissioner Keechant Sewell, and whom Donlon later discovered was surreptitiously

   monitoring him and transmitting his calendar and internal information to Defendant

   MADDREY.

742.        Donlon reported this breach of trust and called for an internal investigation—

   requests that were deliberately ignored by Defendant GERBER.

743.        Instead, Defendant GERBER described Sergeant Venus as a “great person” and

   refused to reassign her, further undermining Donlon’s authority and operational control.

744.        With Defendant ADAMS’s blessing, Defendant GERBER even removed one of

   Donlon’s most trusted colleagues from internal communications and banned him from the

   14th floor. The 14th floor at One Police Plaza is exclusively the domain of the Office of

   the Police Commissioner.

745.        Defendant GERBER’s insubordination extended to his interactions with outside

   agencies.

746.        Although he publicly supported the concept of interagency collaboration, in private

   Defendant GERBER repeatedly expressed disdain for federal authorities.



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747.        In one instance, Defendant GERBER told Donlon he “hated the Feds” and later

   reiterated this sentiment in front of others, stating that he did not want to work with them.

748.        These views directly contradicted the Administration of Defendant ADAMS

   publicly espoused efforts to build a unified task force with federal partners.

749.        Throughout Donlon’s administration, Defendant GERBER routinely withheld key

   information, avoided eye contact when confronted, and consistently refused to answer

   direct questions. All hallmarks of a manipulative and untrustworthy actor.

750.        Defendant GERBER’s behavior culminated in a stunning breach of protocol when

   he leaked confidential information about internal personnel changes to Defendant

   ADAMS, triggering a public reprimand in which Defendant ADAMS scolded Donlon:

   “You are to bring no one in.”

751.        Defendant GERBER’s conduct was not the product of bureaucratic misjudgment

   or simple disorganization—it was a calculated, ongoing campaign to sabotage Donlon’s

   leadership, shield politically connected insiders, and curry favor with corrupt individuals

   at the top of the NYPD hierarchy.


       b. Defendant MADDREY Uses Strategically Placed Spies, like Defendant
          GERBER, in the NYPD Legal Bureau, to Prevent Donlon From Performing
          His Job as Police Commissioner.



752.        When Donlon arrived officially to the NYPD he attempted to perform the duties

   of the Police Commissioner.

753.        Donlon had befriended an NYPD Chief (whom Donlon had known from his prior

   government service), who began to help him navigate his way through the NYPD.




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754.        This NYPD Chief is met with great resistance from Defendant MADDREY and

   the other NYPD Defendants due to, one can only surmise, their worry that Donlon will be

   able to effect reform of the Police Department in his role.

755.        The NYPD Chief who befriended Donlon is suddenly banned from going on the

   14th floor of One Police Plaza and is labeled a bad influence on Donlon by Defendant

   MADDREY.

756.        Plaintiff Donlon is informed by Defendants MADDREY and ADAMS that the

   NYPD Chief he befriended had little operations experience and should not be consulted

   on police matters, in an effort to discredit him.

757.        Donlon found the NYPD Chief to be highly competent, intelligent and he

   communicated extremely well with everyone in the Department.

758.        Prior to the NYPD Chief being banned from the 14th Floor, Donlon allowed him,

   and only him, access to his emails to assist him in his work as Police Commissioner.

759.        The NYPD Chief was the only person that Donlon could trust within the NYPD.

760.        Due to the overwhelming amount of emails the Police Commissioner receives,

   several assistants and staff had access to Donlon’s emails.

761.        Defendant MADDREY controls several of the NYPD employees who had access

   to Donlon’s schedule.

762.        When Donlon learned that Defendant MADDREY, or his subordinates, removed

   this NYPD Chief from his schedule and banned him from the 14th Floor, Donlon had a

   heated discussion with Defendant MADDREY.

763.        During the discussion, Donlon explained that the NYPD Chief had far more

   experience than the people Defendants MADDREY and ADAMS were championing



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764.        Defendant MADDREY responded to Donlon that the NYPD Chief is “not good

   for you.”

765.        Donlon responded by saying, “I will be the judge of that.”

766.        The heated discussion then touched on the interference of Donlon’s schedule and

   calendar.

767.        Following the discussion, Defendant MADDREY continues to unlawfully

   interfere with Donlon’s business as the Police Commissioner.

768.        Donlon attempts to visit different communities and NYPD facilities (Precincts,

   Transit Districts, Housing Service Areas) on a regular basis in his role as the Police

   Commissioner, which Police Commissioners throughout the history of the NYPD had

   done.

769.        Numerous employees had access to Donlon’s daily schedule, calendar, and emails.

770.        The change in the Police Commissioner’s daily schedule to remove the NYPD

   Chief ordered by Defendant MADDREY, made Defendant MADDREY the de facto

   Police Commissioner of the NYPD.

771.        Defendant MADDREY regularly had the NYPD Chief he befriended removed

   from Donlon’s schedule.

772.        When the NYPD Chief is banned from the 14th Floor, Defendant MADDREY

   also removes his access to Donlon’s emails without permission.




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       c. Sergeant Venus Overrules the Police Commissioner Over his Holiday Party



773.         Around this time Donlon is in the process of planning the Police Commissioner’s

   Christmas party which is a small party for select guests.

774.         Donlon’s Christmas party was being sponsored by Susan Birnbaum, CEO of the

   NYPD Police Foundation and contacted Donlon as to why the invitations had not yet been

   sent out.

775.         The invitations for the event were subsequently created, approved and ready for

   distribution.

776.         The invitations were supposed to be disseminated two weeks prior, but they had

   not yet been sent out.

777.         Donlon informed Mrs. Birnbaum he had instructed his staff to send the invitations

   two weeks prior to Donlon’s conversation with Birnbaum.

778.         Donlon immediately inquired with his staff as to the status of the delinquent

   invitations.

779.         A visibly nervous staff member then responded to Donlon, hesitantly explaining

   that Venus had ordered that the invitations not be mailed until she gave further direction.

780.         Donlon subsequently confronted Venus who claims that she gave the order

   because the invitations were going out too early and needed to be distributed closer to the

   party date. Donlon told Venus that the Commissioner holiday party in the past have

   always been disseminated months prior. Donlon advised this is the case with most Holiday

   events.




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781.        Donlon asked Venus as to why she did not consult with him prior to making the

   decision. Venus provides no explanation.

782.        Donlon continues to press Venus as to who authorized her orders.

783.        While Venus continuously states that she made the decision on her own, it was

   clear to Donlon that she was lying.

784.        Donlon further states that he checked the date where past Police Commissioners

   mailed their party invitations and found it was the same time as his invitations were

   supposed to be mailed.

785.        Venus again has no answer.

786.        Upon information and belief, Defendants MADDREY and GERBER controlled

   the actions of Venus.

787.        Venus' direct Orders to Donlon’s staff not to follow the orders of the Police

   Commissioner were confusing to Donlon’s staff and placed them in a very awkward

   position. Donlon advised the staff apologized and understood Donlon’s position. Donlon

   told them please not to worry they were placed in a difficult position by Venus.

788.        Donlon’s administrative assistants were outstanding and supported of Donlon

   during Donlon’s tenure as Police Commissioner.

789.        Shortly thereafter Donlon learned that a NYPD Chief was removed from Donlon’s

   schedule/access by Venus, (Sergeant Special Assignment) who was also assigned to

   Commissioner Caban’s office during Caban’s tenure.

790.        Donlon learned that the removal of the Chief was ordered by Defendant

   MADDREY.




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791.        Donlon attempted to secure his daily schedule and discovered that it is Defendant

   MADDREY’s office, who has access to Donlon’s daily calendar, schedule and emails.

792.        Donlon was informed by the technician that Venus, a Defendant MADDREY

   acolyte, had access to Donlon’s schedule, calendar and email.

793.        The technician showed Donlon proof of Venus’ access and inquiries of Donlon’s

   schedule, calendar and email contents and who had access. Donlon was also provided the

   email reflecting this information from Venus’ possession.

794.        Donlon also learned that Venus was also responsible for controlling access to the

   schedules, calendar and emails of former Commissioner Caban and Chief of Staff Raul

   Pintos. Venus played a vital role in the administration of Commissioner Caban Office but

   as stated above GERBER stated Venus was not compromised and her phone was not

   seized or “dumped” by law enforcement authorities. As mentioned before, GERBER said

   Venus is “good people” and can be trusted and should remain with Donlon’s

   Administration.

795.        Donlon confronts Defendant MADDREY about altering his (Donlon’s) schedule

   without permission and removing the Chief from receiving Donlon’s schedule, calendar,

   emails. Additionally, MADDREY per Venus also advised that MADDREY had direct

   access to Donlon’s emails. However, MADDREY did not inform that DONLON that

   MADDREY had access to Donlon’s emails, but Venus confirmed that MADDREY did

   in fact have access to Donlon’s emails. Donlon was not surprised as MADDREY and the

   Defendants have a history       lying, cheating and stealing and involved in scandals.

   Amazingly, they all have trouble being honest and forthright. Straight forward.




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796.        Defendant MADDREY admits to Donlon, after a lively conversation with

   MADDREY, he was able, through Venus, to view Donlon’s schedule, calendar and email

   access which he received from Venus.

797.        Donlon was unaware that Defendant MADDREY had direct access to his

   schedule, calendar and emails until this revelation. The full extent of MADDREY and the

   Defendants interference with Donlon’s schedule, calendar and email access was unknown

   at this time. Donlon mentioned to the IT individual who was extremely honest and

   understood the violation of Donlon’s privacy.



       d. Defendant MADDREY Alters Donlon’s Schedule Without Permission



798.        Defendant MADDREY advised Donlon he removed the Chief from his schedule,

   calendar and email access, as MADDREY advised the Chief is not helpful to Donlon.

799.        Donlon told Defendant MADDREY the person (Chief) who was removed is not

   Defendant MADDREY’s concern and Donlon’s main worry was related to Defendant

   MADDREY’s unlawful actions and the actions of the Defendants..

800.        Donlon further informed Defendant MADDREY that the NYPD Executives he,

   Defendant MADDREY, removed from Donlon’s schedule has more integrity, honesty

   and police experience then Defendants MADDREY, CHELL, DAUGHTRY and

   SHEPPARD, combined. When Donlon learns of the widespread corruption and

   interference with his calendar, he went to the NYPD Information and Technology Bureau

   (“ITB”) to speak with a technician.




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801.        Donlon then stated that he does not want Defendants MADDREY, CHELL,

   DAUGHTRY and SHEPPARD having continued access to his schedule and email.

802.        To Donlon, it was clear that Sergeant Venus was beholden to Defendant

   MADDREY who felt comfortable enough due to her protection from the Chief of

   Department, Defendant MADDREY, to remove a one-star chief meeting from Donlon’s

   schedule without fear of discipline.



       e. IT Technician In Donlon’s Office Exposes Venus and Defendant MADDREY



803.        When the ITB technician left Donlon’s office, Donlon witnessed Venus

   scrambling running from her desk to the ITB technician’s desk.

804.        Donlon subsequently asked the technician what Venus wanted and was informed

   that she wanted to know what the technician and Donlon had discussed in their private

   meeting.

805.        The technician advised Donlon that Venus instructed him to contact her whenever

   Donlon instructs him regarding any tasking.

806.        Venus was one of the few individuals allowed to remain in the Police

   Commissioner’s Office following the termination of Commissioner Caban.

807.        Defendant GERBER advised Donlon to get rid of several people but advised

   Donlon to retain Venus. Unknown to Donlon at the time, Venus was an acolyte of

   Defendant MADDREY whose sole purpose was to inform Defendant MADDREY of

   Donlon’s every move, coupled with SARACENO who DONLON observed them both

   often speaking



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808.        It was learned by Donlon that Venus repeatedly questioned the ITB technician

   who informed Donlon of the many people who had access to his schedule, calendar and

   emails. .

809.        Donlon confronts Venus in his (Donlon) office who admits to questioning the ITB

   technician about Donlon. Venus advised that she spoke to the technician to simply assist

   him with and any taskings requested by Donlon.

810.        Donlon further asked Venus if there were other occasions Venus spoke to the

   technician concerning taskings requested by Donlon.

811.        Venus became rather emotional and denied she decided to assist Donlon in any

   manner and had no nefarious reasons to work with the technician, to help Donlon. Donlon

   told Venus’ he did not believe her, and she had to directed by someone.

812.        Venus began crying and denied any wrongdoing and advised Donlon she was

   upset that she could be disciplined and was upset that Donlon didn’t believe her. Due to

   Venus continues emotional state and crying Donlon discontinued the interview. Venus

   departed Donlon’s office and proceeded to a room in the lobby of 1 PP, still l emotionally

   upset and crying while telling MOS she is upset “because the Commissioner doesn’t

   believe me”. Donlon advised the last time she had any contact with Venus was in Donlon’s

   office. Additionally, Venus never returned Donlon’s calls and retired within a week




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       f. Former Chief of Staff, Raul Pintos, Also Uses Venus To Gather Information on
          Donlon


813.        Donlon was advised that Venus was seen meeting with Raul Pintos, Caban’s,

   Chief of Staff inside his NYPD vehicle parked inside the lower basement at NYPD

   Headquarters parking garage of One Police Plaza on multiple occasions.

814.        Following knowledge of these meetings, Donlon confronted Venus about the

   purpose of these clandestine meetings with Pintos.

815.        Venus tells Donlon that they are just friends, and she reported to him in her

   previous role.

816.        That said, Donlon was and is of the belief that Pintos was gathering information

   regarding Donlon. For just whom, is unknown.



       g. Exposing Defendants MADDREY and SARACENO



817.        Defendant SARACENO was assigned to Donlon’s office by Defendant

   MADDREY. At the time of Defendant SARACENO’s assignment to Donlon’s office,

   Donlon was told by Defendant MADDREY about the expert and unique qualifications

   and record of Defendant SARACENO.

818.        However, from a review of Defendant SARCENO’s records by Donlon, it was

   documented that Defendant SARACENO had retired approximately one year prior due to

   a scandal in which Defendant SARACENO was found to have falsified his time and

   attendance records and misconduct. Defendant SARACENO was eligible to retire at the

   time and did so. He retired with the rank of Inspector.



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819.        Within one year of Defendant SARACENO’s retirement, Defendant MADDREY

   welcomed Defendant SARACENO back to the NYPD as an Inspector assigned to

   Defendant MADDREY’s office.

820.        To add incredulity, Defendant SARACENO told Donlon that he had retired in

   order to be closer to his family. It defies logic that Defendant SARACENO could openly

   provide false statements to Donlon knowing Donlon’s ability, to verify the information.

821.        On two (2) separate occasions, Donlon deliberately gave Defendant SARACENO

   inaccurate information to test whether SARACENO could be trusted.

822.        On both occasions the inaccurate information came back to Donlon through

   Defendant MADDREY, confirming Donlon’s suspicions about Defendant SARACENO.

823.        Given the circumstance, Donlon strongly believed that Defendant MADDREY

   placed Defendant SARACENO in close proximity to Donlon so that he (Defendant

   SARACENO) could gather information and report back to Defendant MADDREY.

824.        In conversations with Defendant SARACENO and Donlon, Defendant

   SARACENO openly praised Defendant MADDREY, stating that he “never encountered

   a more ethical, honest and dedicated NYPD member,” and stating how much respect he

   had for him (Defendant MADDREY).

825.        Defendant SARACENO repeatedly tried to solicit Donlon’s opinion of Defendant

   MADDREY, which suggested to Donlon that Defendant SARACENO had an ulterior

   motive.

826.        Defendant SARACENO also tried to solicit information from Donlon about

   Defendants CHELL, DAUGHTRY, SHEPPARD, and even Defendant ADAMS




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   827.        Donlon declined to share his opinion but specifically mentions that he noticed

      Defendants CHELL, DAUGHTRY, and SHEPPARD had an aversion to working with

      federal law enforcement agencies on Roosevelt Avenue.

   828.        Donlon attempted to discuss with Defendant SARACENO how the FBI could be

      brought into the task force and was met with silence.

   829.        Donlon continued to be surprised by the collective Defendants’ refusal to use the

      full law enforcement resources at their disposal to address the crime problems facing the

      Defendant CITY.



X. Internal Espionage and Institutional Sabotage


            a. Defendant SHEPPARD Spreads False Narrative to NYPD Police Foundation

               to Undermine Donlon



   830.        On or about Monday October 10, 2024, Defendant SHEPPARD, called Susan

      Birnbaum, the President and Chief Executive Officer of the NYPD Police Foundation, to

      inform her that Donlon would be terminated that coming Friday, October 11th.

   831.        Upon information and belief Defendant SHEPPARD did this to further undermine

      Donlon’s authority in NYPD and in law enforcement circles.

   832.        On October 10, 2024, WPIX 11 News reported that Donlon is likely to resign.

   833.        At this time, Defendant SHEPPARD led the NYPD’s Public Information office,

      which works closely with the press.




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834.         Upon information and belief, the rumor that Donlon would be relieved of his

   duties as Police Commissioner, which was published by WPIX 11 News, came from

   Defendant SHEPPARD in retaliation against Donlon for his complaints and protected

   speech.

835.         The termination did not happen as Defendant SHEPPARD had falsely spread.

   Donlon learned of SHEPPARD’s conversation with Mrs. Birnbaum during the week of

   October 14, 2024 when Donlon met with Mrs. Birnbaum.



         b. Donlon’s Conversation with and Warnings from Chief Pintos



836.         Thereafter in October, prior to his last day, the former Chief of Staff for

   Commissioner Edward Caban, Raul Pintos, met with Donlon.

837.         In the meeting Pintos tells Donlon that “he wished he knew him (Donlon) better”

   and heard about and witnessed “several targeted attacks against” him (Donlon).

838.         Pintos warned Donlon in the meeting he was surrounded by “bad people” who

   wished Donlon harm who were actively trying to undermine him.

839.         Donlon thanks Pintos, who was very pleasant and friendly, for his honesty and

   warning him about the conspiracy of the collective Defendants to harm him.




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         c. WPIX Interview Organized By Defendant SHEPPARD



840.        On October 28, 2024, Donlon was led into a WPIX 11 table top conversation with

   Defendants CHELL, DAUGHTRY, and SHEPPARD, and Donlon which had been

   organized by Defendant SHEPPARD.

841.        Donlon was very hesitant to participate in this round table discussion as it was

   orchestrated by Defendant SHEPPARD who was very close with the female television

   host. (Donlon was also advised by some MOS that Defendant SHEPPARD was setting

   Donlon up and looking to embarrass him).

842.        It was also obvious to Donlon that Defendant SHEPPARD had something in his

   mind for this round table discussion. At first, Donlon told Defendant SHEPPARD that

   he didn’t want to participate, and Defendant SHEPPARD became stressed and rather

   angry. Donlon, at first was hesitant to partake in the discussion but finally agreed, as he

   was repeatedly told by Defendant ADAMS to “work with these guys” in reference to the

   Defendants MADDREY, CHELL, DAUGHTRY and SHEPPARD.

843.        Defendant SHEPPARD stated that Defendant ADAMS is aware of this round

   table discussion and would not be happy if Donlon didn’t participate, along with the MOS.

   Defendant SHEPPARD said it is important for Donlon to partake in these discussions and

   participate as a team. Before the round table discussion, Defendant SHEPPARD escorted

   Donlon over to the reporter, at which time the reporter and Defendant SHEPPARD

   wanted Donlon to first submit to a one-on-one interview before the round table discussion.

844.        Donlon looked at both of them and asked why he wasn’t advised of this previously

   and received no answer from either the reporter or Defendant SHEPPARD. Obviously,



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   this was a set up by Defendant SHEPPARD and the reporter and they truly believed that

   Donlon wasn’t aware of their sneaky, dishonest, childish and amateurish stunt. Donlon

   agreed to the one-on-one interview and sat down with the reporter with Defendant

   SHEPPARD standing by the side listening attentively to the questions and, of course,

   Donlon’s answers.

845.        The first question in the interview was about the search of Donlon’s home by the

   FBI, which was a question that Donlon found too obvious and unusual for an NYPD

   initiated press interview. The reporter asked Donlon if he can perform his official duties

   as Police Commissioner and how will this affect his daily duties and responsibilities.

   Donlon answered the question and          said he is entirely focused being the Police

   Commissioner and the above search will not affect his position. Donlon further stated that

   the documents were 20-30 years old, and related mainly to cases Donlon was involved

   with during his career.

846.        Donlon further stated he is not at liberty to discuss an ongoing FBI investigation.

   Surprisingly , the reporter excused herself and went directly to speak with Defendant

   SHEPPARD. After a few minutes after her private discussion with Defendant

   SHEPPARD she continued the interview.            Surprisingly, the reporter asked Donlon

   basically the same question, again, and Donlon provided her with the same answer. It was

   obvious to Donlon that the reporter wasn’t happy with his first answer, nor his second

   which mirrored the first. After Donlon answered the question he is asked to expound on

   his answer but advised this is a present investigation and Donlon cannot expand on the

   answer. The reporter was obviously frustrated and appeared angry.




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847.        During the segment preceding a commercial break, WPIX 11 broadcast favorable

   coverage of Defendant SHEPPARD, effectively portraying him in a positive light.

848.        The round table discussion resumed with Defendants CHELL, DAUGHTRY, and

   SHEPPARD joining Donlon. Donlon was not surprised that he was interrupted by the

   threesome in attempting to partake and answering questions. This was truly narcissistic

   behavior at its best from these three individual Defendants who continued to embarrass

   the NYPD with the strong backing of Defendants ADAMS and MADDREY.

849.        Donlon also at this time thought about Defendant SHEPPARD’s overall behavior

   towards him and how he could resort to any means to force Donlon to resign or be fired.

850.        It should be noted, Defendant SHEPPARD was in his NYPD white shirt uniform

   fraudulently wearing the third star on his uniform collar during the Pix 11 interview.



         d. Defendant SHEPPARD’S Devious Insubordination Of Donlon



851.        To Donlon, it was pathetic to watch Defendant SHEPPARD constantly engage in

   devious behavior in order to attempt to undermine him as Police Commissioner.

852.        It was obvious to Donlon, that Defendant SHEPPARD was angling to undermine

   Donlon and secure his position as the 48th NYPD Police Commissioner.

853.        Donlon was subsequently informed that Defendant SHEPPARD truly believed as

   a result of his insubordinate and criminal actions against Donlon and his repeated efforts

   to humiliate, embarrass and spread lies about Donlon, it would cause Donlon to resign

   in disgrace




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   854.        Defendant SHEPPARD also believed that Defendant ADAMS would observe and

      be told about all of this alleged turmoil surrounding Donlon, and that Defendant ADAMS

      would have no choice but to terminate Donlon.          Thereby, appointing Defendant

      SHEPPARD, as the 48th Police Commissioner in spite of his ( Defendant SHEPPARD’S)

      own dismal NYPD record.



Y. Donlon Complains Directly To Defendant ADAMS who Takes No Action



   855.        Donlon thereafter spoke with Defendant ADAMS over what he viewed as repeated

      insubordination, if not sabotage, of his (Donlon’s) work and the operations of the NYPD.

   856.        Defendant ADAMS told Donlon that he has to be prepared to answer these

      questions and ignores his complaints of the illegalities of the NYPD Defendants herein.

      Donlon asked ADAMS, if he found it unusual that he was separated by Defendant

      SHEPPARD and interview one-on-one with by the reporter which was not previously

      arranged.

   857.        Defendant ADAMS responded by telling Donlon that the NYPD is in a state of

      “chaos.”

   858.        It was clear to Donlon that the individual NYPD Defendants were feeding

      Defendant ADAMS false information without any evidence.

   859.        Donlon asked Defendant ADAMS several times to define chaos, but Defendant

      ADAMS refused.




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   860.        It was patently clear that Defendants MADDREY, CHELL, DAUGHTRY and

      SHEPPARD had a direct line to Defendant ADAMS, and used this connection to

      undermine Donlon.

   861.        In reality, the 'chaos' within the NYPD was/is a direct result of Defendant

      ADAMS’s corrupt appointments, promotion of unqualified personnel, and tolerance for

      misconduct at the highest levels—factors that systematically undermined institutional

      stability and threatened the safety and security of inhabitants and visitors to New York

      City.

   862.        Each of the unlawful actions of Defendant ADAMS, the highest policy maker of

      the Defendant CITY, are condoned and adopted by the Defendant CITY.



Z. Donlon Discovers Glaring Problems in the NYPD Evidence Warehouses: A Crisis of
   Neglect and Failed Leadership



   863.        Before Donlon assumed his role, a significant incident occurred on or around

      December 13, 2023, when a fire broke out at one of the NYPD’s warehouses. Fire

      marshals concluded that the blaze quickly escalated into a three-alarm fire on Columbia

      Street, sending thick black smoke over the Red Hook neighborhood. The inferno

      destroyed an unknown quantity of biological evidence—some dating back two or three

      decades—including crucial DNA tied to burglaries, shootings, and other unsolved crimes.

      Shockingly, the evidence was stored in cardboard boxes, barrels, and paper bags,

      materials that may have contributed to the fire’s intensity.

   864.        Troublingly, when Donlon assumed the role of Police Commissioner, he requested

      a final comprehensive report on the warehouse fire from Defendant MADDREY—yet the


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   report was never provided. Despite specifically seeking detailed information on the

   incident, Donlon was informed that the NYPD had no final report available. Although the

   Fire Department of New York (FDNY) ultimately attributed the fire to an “electrical

   blowout,” that determination does not excuse the NYPD’s apparent failure to thoroughly

   investigate such a critical event

865.         Recognizing the NYPD’s long-standing issues with disorganization, poor

   oversight, and unreliable record-keeping systems, Donlon chose to personally inspect the

   department’s evidence warehouses. This decision stemmed from his awareness of

   persistent management failures and systemic dysfunction. For members of service (MOS),

   the conditions of these facilities were hardly a surprise—they had long been aware, at

   least in part, of the inadequate and often chaotic environments where critical investigative

   evidence was stored. Shockingly, none of these warehouses had ever been visited NYPD

   senior leadership, despite their responsibility for overseeing warehouse operations.

   Donlon’s visit marked a rare and necessary effort to confront an issue that had been

   neglected for far too long.

866.         This alarming incident, coupled with reports of systemic disrepair, compelled

   Donlon to personally inspect NYPD warehouse facilities, an action he was told no Police

   Commissioner or high-ranking Chief had ever undertaken. Donlon’s findings were

   appalling.

         •   At the Erie Basin warehouse, Donlon discovered decades of evidence, vital to
             countless cases, haphazardly piled in cardboard boxes and paper barrels, devoid
             of proper labeling, fireproof storage, or any systematic categorization.
         •   Aisles were unmarked, logs non-existent. Evidence from the NYPD’s Information
             Technology Bureau, known as the MISD, regarding cases dating back to 1981, sat
             in decaying cardboard boxes. A profound risk to justice.



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         •   The absence of secure, fireproof containment was a shocking dereliction of duty
             and does not represent the professionalism or the ideals of the NYPD.

867.         Donlon saw no effort to protect the invaluable work of hard-working NYPD

   investigators nor evidence which might exonerate the innocent. assigned to confirm to

   Donlon long-standing, unaddressed issues which include but are not limited to, a lack of

   safety protocols, fire prevention, proper building inspections, and deplorable working

   conditions. Hazardous materials, including drugs, tobacco, other substances and

   contraband, were stored with dubious assurances and no verifiable documentation,

   endangering our personnel and again severely diminishing the administration of justice.

   Donlon was told that the air quality in the Warehouse was monitored and there were no

   issues.

868.         Donlon also found, which was known throughout the NYPD for years, that the

   warehouses were a literal dumping ground for MOS, for the most part, who were being

   disciplined or punished in some way. This is a practice that has unfortunately gone on for

   many years.

869.         Donlon stated then—and reaffirms now—that this pattern of systemic negligence

   has handed defense attorneys a tactical advantage, undermining prosecutions and denying

   justice to victims and their families. It represents a blatant disregard for the tireless efforts

   of officers, detectives, crime scene units, first responders, supervisors, and others whose

   work has been consistently compromised. Following this, Donlon addressed the issue

   during his scheduled meeting with three-star and two-star Chiefs, and spoke directly with

   Defendants KINSELLA, MADDREY, CHELL, and DAUGHTRY about the deplorable

   conditions he witnessed at both warehouse facilities.




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870.         There are approximately 6 - 7 other facilities that Donlon was informed had the

   same conditions.

871.         These locations were all neglected and appear to have the same quality issues as

   the warehouses visited by Donlon.

872.         Donlon was further informed that some of the NYPD warehouses did not have

   working heat and others lacked air conditioning. Donlon determined that a supervisor

   was able to have some air conditioner equipment brought to one of the warehouses.

873.         Following Donlon’s inspections, Donlon demanded immediate action from NYPD

   leadership and the NYPD Defendants to rectify these critical failures.

874.         Donlon was informed that Defendant Maddrey was aware of his visits and was

   reportedly "livid"—not only about the inspections themselves but also the exposure of a

   long-standing, well-known problem. Donlon was further told that Maddrey promptly

   discussed the matter with Adams, who was likewise said to be upset. Although Adams

   professes to be an honorable, responsible, and compassionate leader, he made no effort to

   speak with Donlon directly—an action that would have been both appropriate and

   expected under the circumstances. In reality, Donlon never anticipated any meaningful

   engagement from Adams regarding the issue.

875.         Yet, neither he, Defendant KINSELLA, MADDREY, CHELL or DAUGHTRY,

   addressed Donlon about his findings or initiated any meaningful reform.\

876.         This silence and inaction are proof of ongoing incompetence, apathy, and a

   profound leadership crisis within the NYPD.

        7.   Key revelations from Donlon ’s two warehouse inspections included:
         •   No verifiable link between physical evidence and active cases.



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         •   No functional tracking system to locate evidence for NYPD or prosecutors.
         •   Evidence scattered, exposed, and inconsistently marked, violating all protocols.
         •   Disorganized storage that directly benefits defense challenges to evidence
             integrity.
         •   Questions about the functioning fire suppression system (Donlon was expressly
             informed of this deficiency by a MOS concerned about the vulnerabilities).

877.         Donlon asked direct questions such as, “why is the evidence not maintained in

   metal containers?” and what system was used to organize the evidence.

878.         Donlon received no answers to his inquiries—only silence from the NYPD

   personnel assigned to the warehouses. He came to the realization that it was the upper

   leadership—Defendants ADAMS, MADDREY, CHELL and DAUGHTRY—who were

   all fully aware of the deplorable situation that had persisted for over a decade. This horrific

   and embarrassing mess demanded immediate attention, yet those at the highest levels

   failed to act. Donlon asserted that there is a complete absence of leadership within the

   NYPD's top ranks, including Defendant ADAMS himself.

879.         While a supervisor, at a subsequent event, later claimed some minor

   improvements, such as acquiring a few metal containers, the vast majority of evidence

   remained vulnerable.

880.         The scale of necessary reforms is massive and absolutely essential.

881.         Donlon was primarily concerned about a fundamental breakdown in the chain of

   custody, a direct threat to successful prosecutions, and a blatant disregard for decades of

   investigative work rather than simply reorganizing the evidence warehouses.

882.         It is disgraceful that all of the painstaking hours, days, weeks, months and years

   on an investigation would be squandered due to the deplorable conditions in which

   evidence is maintained.


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  883.        Donlon expressed this at the and there was no response or follow-up. Dolon said

      if you really cared and respected all the hard work committed by these officers, defensive

      bosses you would all look to examine the matter for the in you would. Defendants

      KISELLA, MADDREY, CHELL and DAUGHTRY, the NYPD Chief of Operations, had

      absolutely nothing to say. Defendant MADDREY did say he would look into this matter.

  884.        Unfortunately, Donlon was replaced shortly thereafter and was unable to visit the

      approximate 6 other warehouses with the same reported conditions. Donlon had the

      opportunity to speak with personnel at these warehouses and confirmed these irreparable

      and deplorable conditions.

  885.        Donlon was shocked by the lack of concern by the individual NYPD Defendants

      following his discovery.

  886.        Contrarily and incredulously, Donlon learned that the individual Defendants were

      angry that he visited the warehouses.

  887.        Without immediate, sweeping corrective measures, this system will continue to

      fail victims, embolden criminals, and betray the trust placed in the NYPD.



AA.   Madison Square Rally, NYC, for Presidential candidate President Donald J. Trump



  888.        On October 24, 2024, then presidential candidate, President Donald J. Trump held

      a rally inside Madison Square Garden (MSG), New York City. The rally was widely

      reported by media outlets as there were significant concerns about potential issues with

      protestors and/or other disruptions.




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889.        For that reason, it’s always standard procedures, protocol and policy, that the

   NYPD provided police protection at this event and other similar major events taking place

   throughout the NYC area. Additionally, at these major events, NYPD cooperation and

   liaison with federal and state law enforcement and intelligence agencies at these events

   are outstanding. The NYPD needed to be represented at the event for liaison purposes or

   if any unforeseen criminal, civil or terrorist issues occur.

890.        Prior to arriving at this event, Donlon was fully aware not to meet or engage

   directly with President Donald Trump or with his security detail. Within NYPD circles, it

   was widely understood that Defendant ADAMS was not supportive of President Donald

   Trump or his policies, opinions and didn’t want the NYPD MOS to make any contact or

   speak with President Trump or the President’s Administration. (Defendant ADAMS

   unfavorable public comments and personal attacks against Trump policies and opinions

   were also widely reported by the media).

891.        At the event, Donlon met with roughly ten NYPD units—including ESU, Bomb

   Squad, Intelligence, and Counterterrorism—to provide support and gather updates.

892.        He thanked them for their service, a standard practice consistent with his prior

   appearances at events like the U.N. General Assembly.

893.        Donlon arrived at the event accompanied by Defendant SARACENO and a One-

   Star Chief.

894.        Donlon, a consummate leader, was fully cognizant about the then current situation

   involving ADAMS and went to the Trump rally at MSG. Donlon’s intention was to meet

   with all the NYPD Chiefs, Inspectors, Captain etc. along with the numerous patrol officers

   assigned to the event and in the area.



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895.        However, in an event like this the normal protocol would be to visit with the U.S.

   Secret Service and Trump's security team but that would not be proper Historically,

   NYPD Police Commissioners had undertaken such actions at similar events and Donlon

   had also beforehand.

896.        Defendant CHELL in full uniform attended the rally and was interviewed by

   Newsmax media about the rally and Defendant ADAMS didn’t provide any feedback or

   concerns with Defendant CHELL. It is plainly clear that Defendant CHELL did not, and

   does not operate, under the same set of rules as imposed on Donlon.

897.        While at the rally, Donlon had suspected that Defendant SARACENO was

   monitoring his activities on behalf of Defendant MADDREY, and or any of the above

   NYPD Defendants. The Trump Rally incident removed any lingering doubt, as Defendant

   SARACENO proved his intentions on many occasions being a source for Defendants

   MADDREY and ADAMS. It was quite transparent that Defendant MADDREY,

   supported by Defendant ADAMS, had Defendant SARACENO monitor Donlon’s

   activities.

898.        There were also heads of various federal, state, and local law enforcement

   agencies in attendance. Actually, while Police Commissioner, Donlon received a call from

   the SAC ICE, who covers this region, who wanted to meet with Donlon. Due to Defendant

   ADAMS disdain and displeasure with ICE policies he did not meet with ICE, even for

   an initial meet and greet

899.        Donlon was at the event for a total of one hour.

900.        Upon information and belief, Defendants MADDREY and SARACENO informed

   Defendant ADAMS that Donlon went to the event.



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901.          While at the event, Donlon received a text message from Defendant ADAMS who

   questioned Donlon’s presence at the event.

902.          Defendant ADAMS specifically texted that it was “not a smart decision going to

   the Trump rally tonight”.

903.          Defendant ADAMS then wrote that the unnamed NYPD MOS who advised

   Donlon to attend the rally acted “poorly.”

904.          Donlon immediately telephonically contacted Defendant ADAMS who in a very

   nasty and disrespectful manner, as usual as he spoke to Donlon, addressed his concerns,

   explaining that his attendance was in his official capacity and not as a spectator or private

   citizen.

905.          Donlon asked Defendant ADAMS why he objected to his attendance at the rally

   but received no response.

906.          Donlon clarified that he did not meet with Trump, his staff, or the Secret Service.

   To this day, Donlon does not understand why ADAMS was concerned about his presence.

   It was critical for the Commissioner to attend given the event’s national importance and

   the history of threats against President Trump.

907.          On the call, it was clear that Defendant ADAMS was upset that Donlon went to

   the Trump rally. Moreover, Defendant ADAMS expressed concern about the alleged

   presence of the wife of an NYPD MOS in a suite that Donlon had visited at MSG. Donlon

   asked Defendant ADAMS if there was a problem attending and fulfilling his duties and

   responsibilities attending such a major event. Ironically, Defendant CHEL was front and

   center at the event being interviewed by NEWSMAX with Trump posters behind him.




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  908.        Defendants ADAMS or MADDREY never mentioned a word about Defendant

     CHELL’s interview. Conversely, if Donlon gave the interview with NEWSMAX, he

     would have likely been terminated.

  909.        Donlon corrected Defendant ADAMS stating that the person he referred to is not

     the wife of an NYPD MOS.

  910.        Defendant ADAMS acknowledged that he may have received “bad information.”

     Donlon replied yes.

  911.        Donlon asked Defendant ADAMS why he objected to his attendance at the rally

     but received no response.

  912.        Donlon clarified that he did not meet with Trump, his staff, or the Secret Service.

     To this day, Donlon does not understand why ADAMS was concerned about his presence.

     It was critical for the Commissioner to attend given the event’s national importance and

     the history of threats against President Trump.

  913.        During the rally, Donlon was accompanied by Defendant SARACENO, who

     witnessed the conversation between the Chief, Donlon and the purported wife of an

     NYPD MOS.

  914.        Donlon later learned that it was Defendant MADDREY, sourced by Defendant

     SARACENO, who relayed this inaccurate information directly to Defendant ADAMS.



BB. Defendant SHEPPARD Publicly Makes Terroristic Threats (Another Felony) at
   Donlon Which is Covered Up By the Defendants



  915.        On November 3, 2024, the New York City Marathon was held.




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916.        At the marathon, Defendant SHEPPARD continued to wear the unearned Third

   Star on his collar.

917.        At the finish line at the marathon, Donlon and Defendants DAUGHTRY and

   SHEPPARD had a photo opportunity with the NYPD Road Runners club.

918.        The only space available in the photo for Donlon was next to Defendant

   SHEPPARD.

919.        Donlon approached Defendant SHEPPARD and politely asked him to move a bit

   so he could fit into the photo.

920.        Defendant SHEPPARD refused the request.

921.        The photos were taken.

922.        When the pictures had concluded, Defendant SHEPPARD stepped back and

   suddenly began shouting loudly and aggressively that Donlon had grabbed his arm.

923.        Defendant SHEPPARD became irate over the inadvertent touch and began to

   berate Donlon in full view of the public and media.

924.        Defendant SHEPPARD, one of the highest-ranking sworn police officers in the

   NYPD, proceeded to yell at Donlon, stating “I will fucking kill you.”

925.        As Defendant SHEPPARD made this threat, he was lunging toward Donlon in an

   aggressive manner, appearing intent on initiating a physical confrontation. Defendant

   SHEPPARD’s physical actions towards Donlon constituted the crime of menacing (by

   physical menace) because it placed Donlon, the interim Police Commissioner of the City

   of New York, in fear of physical injury.




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926.        Defendant MADDREY was forced to intervene at this point and physically

   restrained Defendant SHEPPARD to prevent him from escalating to a full-blown assault

   against Donlon at the marathon.

927.        Despite Defendant SHEPPARD’s criminal conduct, Donlon kept his composure

   and did not escalate the situation with the clearly emotionally disturbed Defendant

   SHEPPARD.

928.        Donlon instructed Defendant SHEPPARD, his alleged subordinate, to calm down

   and stated, “let’s discuss this in private, away from the crowd.”

929.        Defendant SHEPPARD again refused.

930.        Donlon walked away from the scene.

931.        Donlon’s daughter was at the event and was terrified due to the criminal conduct

   of Defendant SHEPPARD.

932.        Donlon’s daughter began to cry as a result of the actions of Defendant

   SHEPPARD who was frightened for the safety of her father, which continues to date.

933.        Donlon was rightly irate over the insubordination, the criminally physical threat,

   and for being physically menaced in front of his daughter and the many other witnesses

   at this heavily attended public event.

934.        As Donlon departed, he gave Defendant MADDREY a direct order to notify the

   NYPD’s Internal Affairs Bureau about Defendant SHEPPARD’s criminal conduct and

   criminal threat against him (Donlon).

935.        However, per Defendant ADAMS, a mass email was sent to NYPD Members of

   Service and the media notifying them the incident was an in-house event and disagreement

   between co-workers.



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  936.         This was not what took place.

  937.         The repeated threats were witnessed by several high-ranking NYPD officers

     including Defendants MADDREY and DAUGHTRY, each of whom refused to take

     action or even report the incident to Internal Affairs Bureau, as required by NYPD rules

     and regulations.

  938.         The incident is also witnessed by several NYPD officers and private citizens who

     are shocked by the criminal acts they just witnessed.

  939.         The incident was then repeatedly lied about to protect all the Defendants herein.

  940.         From this point forward, based on the violent outburst of Defendant SHEPPARD,

     both Donlon’s daughter and wife are concerned for his safety.

  941.         This fear continues to date.

  942.         Upon information and belief, this incident was not even investigated, and the

     criminal actions of Defendant SHEPPARD were never addressed.



CC. Donlon Complains to Defendant ADAMS About Defendant SHEPPARD’s Crime-
  But No Action is Taken



  943.         On or about November 4, 2024, following the above cited “marathon incident”,

     Donlon spoke directly with Defendant ADAMS at City Hall in Defendant ADAMS’s

     office.

  944.         Specifically, Donlon detailed the repeated unlawful and corrupt acts that Donlon

     witnessed Defendant SHEPPARD commit. To wit Donlon specifically spoke with

     Defendant ADAMS regarding the menacing incident at the marathon, and the previously




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   cited fraud when Defendant SHEPPARD stole and unlawfully used the Police

   Commissioner’s signature stamp.

945.        Defendant ADAMS barely responded to Donlon’s complaints and took no

   corrective action towards any of the NYPD Defendants.

946.        By repeatedly failing to correct the unlawful actions of the NYPD Defendants

   herein, Defendant ADAMS knowingly deprived Donlon of his constitutional rights.

947.        This conversation consisted of Donlon speaking not only as the interim Police

   Commissioner but also as a private citizen to Defendant ADAMS about the corruption,

   and alleged criminal behavior and action of the Defendants CITY, ADAMS, KINSELLA,

   MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER, SARACENO and

   MARINO.

948.        This conversation, and the others Donlon had with Defendant ADAMS, are in fact

   and substance Donlon reporting crimes to Defendant ADAMS

949.        As a result of Donlon’s meeting with Defendants ADAMS, a conference call is

   subsequently held between Defendants ADAMS, SHEPPARD and Donlon.

950.        On the call Defendant SHEPPARD first stated, unprovoked, that “No one had to

   hold me back during the argument.” This is a clear lie. In Donlon’s experience and

   interpretation this unprovoked utterance/protest by Defendant SHEPPARD clearly

   indicates the lack of truthfulness of his statement.

951.        Defendant ADAMS was clearly angry on the call about the “marathon incident”

   and told Donlon and Defendant SHEPPARD that they need to “patch up their

   disagreement” as the election is near.




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  952.        Defendant ADAMS stated on the call that they, indicating the Press Office of City

      Hall will be drafting a statement to characterize the “marathon incident” as a simple

      disagreement.

  953.        Donlon was subsequently informed by various NYPD executives who were

      outraged over Defendant SHEPPARD actions, that Defendant SHEPPARD would have

      been removed from his position and disciplined for his crimes but that he is protected by

      Defendant ADAMS.



DD.   Defendants KINSELLA and MADDREY Scold Donlon For Reporting Crimes



  954.        Following the incident and phone call, Donlon met privately with Defendants

      KINSELLA and MADDREY.

  955.        The purpose of the meeting is to discuss with Donlon the “marathon incident” with

      Defendant SHEPPARD.

  956.        At the meeting Defendants KINSELLA and MADDREY each tell Donlon that he

      should not have acted in the manner he did with Defendant SHEPPARD

  957.        Donlon was told by Defendants KINSELLA and MADDREY that the level of

      detail he included in reporting the criminal actions of Defendant SHEPPARD to

      Defendant ADAMS was unacceptable.

  958.        In efforts to cover for Defendant SHEPPARD’s physically menacing threat and

      insubordination, Defendants KINSELLA and MADDREY advised Donlon that he had

      "gone too far" in explaining the details of the incident at the marathon.




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959.        Defendants KINSELLA and MADDREY expressed that Donlon’s initial mention

   of the incident was acceptable, but the level of detail was excessive.

960.        In response to Donlon’s clear perplexation, neither Defendants KINSELLA and

   MADDREY were unable to explain what portion of Donlon’s objections to Defendant

   SHEPPARD threatening to kill him and having to be held back, was excessive in any way.

961.        The “marathon incident” received widespread news coverage, but the narrative is

   controlled by the collective Defendants herein.

962.        Donlon reiterated to Defendants KINSELLA and MADDREY, that the New York

   Post's account of the incident was false, and that he needed to share the truthful version

   to protect his reputation and integrity.

963.        Donlon repeated that he did not argue, scream, yell, or charge at Defendant

   SHEPPARD.

964.        The story also falsely claimed that Donlon engaged in a verbal argument with

   Defendant SHEPPARD which did not take place.

965.        In fact, it was Defendant SHEPPARD that screamed, yelled and charged at

   Donlon.

966.        During the meeting Donlon directed a statement to Defendant MADDREY, telling

   him, “you should remember- you held him back from physically attacking me.”

967.        Defendant MADDREY does not respond to the substance of the comment but tries

   to deflect by stating that Donlon “says things about Kaz and Chell.”

968.        Donlon asked Defendant MADDREY what he meant but he failed to elaborate.

969.        The comment by Defendant MADDREY makes little sense.




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  970.        It appeared to Donlon that Defendants KINSELLA and MADDREY were trying

      to silence him in order to further the criminal actions of the Defendants herein.

  971.        Under normal circumstances Defendant SHEPPARD would have been terminated

      for his unlawful misconduct, but under Defendant ADAMS the unlawful misconduct of

      Defendant SHEPPARD is willfully and purposely ignored, and no corrective actions were

      or would be taken.



EE.   Donlon has his Transfers Rescinded- Suffering Further Retaliation



  972.        Thereafter, Donlon submits documents to have several NYPD employees

      transferred, but the transfers are stopped. Under the law (NYC Charter § 432), no one

      except for the Police Commissioner has the power to effectuate the transfer of an NYPD

      employee. This is so even if the Police Commissioner is absent or unavailable due to

      disability, and one of her/his duly appointed “Deputy Commissioners” temporarily

      assumes the duties of the Police Commissioner.

  973.        Donlon meticulously prepared and personally approved a critical transfer list for

      several NYPD employees

  974.        Donlon believed the list was paramount to bolstering severely damaged officer

      morale and optimizing command efficacy,

  975.        Donlon transmitted the transfer list to the Chief of Personnel.

  976.        Donlon was then informed that the officially sanctioned transfer directive had been

      brazenly tampered with and illicitly subverted by Defendant SHEPPARD.




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977.        The perpetrators of this egregious act were later identified as Defendant

   SHEPPARD, acting in a highly irregular and unauthorized collaboration with Camille

   Joseph Varlack, who is Defendant ADAMS’s former secretary and current Deputy Mayor

   of New York City for Administration.

978.        Varlack, leveraging her position to/with Defendant ADAMS, improperly

   empowered Defendant SHEPPARD to usurp Donlon’s authority.

979.        Their conspiratorial actions directly resulted in the unlawful cessation of

   approximately ten (10) Member of Service transfers.

980.        This was not merely an administrative error, but a calculated act of defiance

   constituting a flagrant and continuous act of insubordination against the explicit directives

   of the sitting interim Police Commissioner.

981.        By the time Donlon’s transfers were rescinded, the NYPD employees had already

   been informed of their transfers by Donlon which were a reward for their stellar work

   performance.

982.        To those officers, and those who hoped that Donlon would have had real power to

   change the NYPD for the better, this was a devastating blow to morale.

983.        The already suffering morale of the affected officers, and indeed the NYPD writ

   large, the collective Defendants further decimated this arbitrary and disrespectful reversal

   and interference with the office of the Police Commissioner.

984.        An NYPD Chief advised Donlon that this unauthorized rescission of approved

   transfers precipitated major operational problems and turmoil across numerous NYPD

   commands. Officers who had, in good faith, begun transitioning to their new, Police

   Commissioner approved assignments, were abruptly and humiliatingly ordered back to



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   their previous commands. This created an unconscionable level of embarrassment,

   unprofessionalism, and logistical havoc.

985.        Donlon was advised by a wide range of NYPD personnel, both current and retired,

   that this reprehensible usurpation of a Police Commissioner's approved transfer directives

   was entirely unprecedented in the annals of the NYPD and marked a scandalous departure

   from established order and respect for the chain of command.

986.        The fabric of NYPD procedure(s) was torn asunder when officially sanctioned

   transfers were summarily nullified by subordinates operating outside their authority all

   under the explicit control of Defendant ADAMS, namely Defendant SHEPPARD and

   Camille Joseph Varlack.

987.        When Donlon confronted Defendant MADDREY about this malicious injustice,

   and the clear undermining of his office by Defendant SHEPPARD and Varlack,

   Defendant MADDREY stated that he would “take care of it.”

988.        Defendant MADDREY’s subsequent assurance to "take care of this" proved

   hollow, merely necessitating crisis-management calls to individual commands to address

   the chaos created by Defendant SHEPPARD and Varlack’s insubordination and arrogant,

   malicious, capricious and intervention.

989.        The actions of Defendant SHEPPARD, in collusion with Varlack, represent a

   direct and intolerable assault on the authority and office of the Police Commissioner.

990.        This was a calculated act of insubordination, an abuse of position, and a deliberate

   undermining of the chain of command, abetted by external political interference, which

   cannot be tolerated.




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   991.        The damage inflicted upon NYPD morale, operational stability, and the integrity

      of the Commissioner's office demands immediate and thorough investigation, and

      appropriate disciplinary action against all culpable parties.

   992.        This flagrant defiance of a Police Commissioner's legitimate orders is an affront

      to the entire command structure of the NYPD and warrants the most serious review and

      decisive action.



FF.President Trump Wins the 2024 Presidential Election




   993.        On November 5, 2024, President Donald Trump won the United States

      Presidential election.

   994.        Donlon learned that on the next day after the election, Phillip Banks arrived at

      Police Headquarters and met with the Internal Affairs Bureau.

   995.        Donlon subsequently learned that Phillip Banks was meeting with Internal Affairs

      in order to lobby for a pass on his investigations.

   996.        Donlon is told that Phillip Banks was heard stating in the meeting that “He

      (Defendant ADAMS) is getting a pass now, what about me?



GG.   Overtime scandal in the office of Defendant MADDREY.




   997.        Around this time an overtime scandal was uncovered and widely reported publicly

      involving the authorization of unwarranted overtime for certain individuals in the office



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   of Defendant MADDREY. The individuals who received these overtime benefits include

   Lieutenant Quathisha Epps and Detectives Ingrid Sanders and Ada Reyes, each of whom

   worked directly for, and were promoted by Defendant MADDREY to be on his official

   staff.

998.        Despite Defendant MADDREY’s direct involvement, blame for his actions was

   diverted publicly by Defendant MADDREY’s attorneys at a news conference stating that

   his then assigned Inspector, Defendant SARACENO was responsible for signing all the

   overtime slips for the above three individuals; Epps, Sanders and Reyes. The NYPD

   overtime program is ultimately the total responsibility of Defendant KINSELLA, who

   failed at controlling the overtime not only within Defendant MADDREY’s office but

   throughout the entire NYPD.

999.        Neither Defendants KINSELLA nor MADDREY are held accountable by

   Defendant ADAMS despite Donlon’s efforts to reign in overtime.

1000.       To date, the NYPD has failed to discipline Defendant KINSELLA for the rampant

   abuse of overtime that occurred

1001.       The fraudulent authorization of overtime—allegedly in exchange for sexual favors

   by Lieutenant Epps on behalf of Defendant MADDREY—is criminal in nature.

1002.       The payments came from FEMA funds controlled by the U.S. Department of

   Homeland Security. NYPD Defendants MADDREY, SARACENO, and KINSELLA

   allegedly used administrative codes to divert FEMA money. This constitutes fraud. This

   is a federal crime.




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HH. Defendant MADDREY Unlawfully Manipulates the NYPD Promotional List-
  Usurping the Authority of the Police Commissioner.




  1003.     Later in November 2024, Defendant MADDREY had Defendant SARACENO

     promoted to Deputy Chief by manipulating the list containing the names of employees

     selected for promotion, in the same manner that Defendant SHEPPARD had previously

     engaged in the fraud.

  1004.     Defendant SARACENO is placed on the list for promotion by Defendant

     MADDREY while the promotional list is finalized.

  1005.     Donlon did not select, approve, or authorize the promotion of Defendant

     SARACENO in any way, shape or form.

  1006.     During this process, Donlon, again, submitted his list of NYPD employees to be

     promoted to Defendant MARINO, who joined Donlon and Defendants KINSELLA and

     MADDREY throughout the process.

  1007.     A day later, Donlon was called by Defendant MARINO and informed that the list

     of employees that Donlon had authorized for promotions were securely “locked into the

     system.”

  1008.     Donlon asked whether the employees that he had designated for promotions will

     remain on the list for promotion or would they be removed by the collective Defendants,

     and in particular Defendant SHEPPARD. Defendant MARINO offered no response.

  1009.     Defendant MARINO, who witnessed the crime of Defendant SHEPPARD’s

     fraudulent promotion of himself, failed to report this criminal activity to Internal Affairs

     despite being mandated to do so by NYPD rules and regulations. In short, Defendant



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   MARINO failed to take any action after becoming aware of Defendant SHEPPARD’s

   fraud.

1010.       It is clear to Donlon that Defendant MARINO was, at best, deceptive and

   dishonest towards him, Donlon, throughout the promotional processes.

1011.       Donlon surmised that Defendant MARINO had actually engaged/participated in

   such criminal and fraudulent and blatant disregard for the established rules and protocols

   for promotion because he, Defendant MARINO, finalized the promotional list without

   Donlon’s knowledge, permission, or authority.

1012.       Any manipulation or falsification of the Police Commissioner’s promotional lists

   would have had to be signed off and finalized by Defendant MARINO, making him

   complicit in the criminal enterprise.

1013.       By withholding from the Police Commissioner information/knowledge that

   subordinates    like   Defendant   SHEPPARD        had   manipulated   or   falsified   the

   Commissioner’s promotional list, Defendant MARINO would have had final say on each

   promotional list.

1014.       Either Defendant MARINO signed off on Defendant SHEPPARD’s fraudulent

   promotion, or Defendant SHEPPARD coerced and or manipulated Defendant MARINO

   into believing he, Defendant SHEPPARD and others should be fraudulently promoted.

1015.       Despite assurances for the November 2024 promotions, the employees designated

   for promotions by Donlon were ultimately discarded.

1016.       A day later, Defendant SARACENO’s name remained, a decision made by

   Defendant MADDREY.




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1017.      Defendant SARACENO, who reported to Defendant MADDREY regarding

   Donlon’s daily activities, was promoted for “a job well done.”

1018.      Defendant SARACENO, himself, would later be terminated for his role in an

   overtime abuse scandal where he signed off on hundreds of thousands of dollars in

   overtime payments involving work that was never performed.

1019.      Defendant SARACENO, despite having a history of “stealing job time” and other

   performance issues, was rewarded for his subterfuge and insubordination against Donlon

   at the behest of Defendant MADDREY..

1020.      Defendant MADDREY’s unlawful handling of promotions proved inconsistent

   and capricious, demonstrating hypocrisy in his selection process.

1021.      Donlon did not authorize the final list of promotions which bore his signature from

   the Police Commissioner signature stamp.

1022.      Upon information and belief, the improper and fraudulent promotions to

   employees who were not designated by the Police Commissioner over those who earned

   it, constitutes honest services fraud, mail fraud, wire fraud, and likely several other crimes.

1023.      During this time period and its aftermath, Donlon learned that Defendant

   MARINO added his paramour to the list of promotions which resulted in a promotion to

   1st Grade Detective.

1024.      This constitutes honest services, wire and mail fraud.

1025.      Following the incident, where Donlon’s promotional list was improperly altered

   Donlon confronted Defendant MARINO and advised him that he, Donlon, was fully

   aware of Defendant MARINO’s dishonest activities.




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   1026.     Despite witnessing the many crimes of the Defendants herein and reporting it to

      Defendant ADAMS, no actions are taken to discipline the Defendants in any way.



II. The Betrayal of the Badge: Corruption at the Top of the NYPD




   1027.     The relentless, 24/7 campaign to undermine a leader of integrity was a profound

      moral travesty, a slap in the face to every dedicated, rank-and-file member of the NYPD.

   1028.     This was not random dysfunction; it was a calculated assault carried out by a

      corrupt cabal of senior NYPD leaders, including Chief of Department Defendant

      MADDREY, and enabled by a complicit New York City Mayor, Defendant ADAMS

   1029.     The rot starts at the very top. Defendant MADDREY’s reckless and immoral

      sexual escapades are not secrets; they have been widely documented in the media,

      exposing a man whose character is fundamentally unfit for leadership.

   1030.     Ironically, many of the same individuals who suborned and defied Donlon because

      of his integrity were themselves complicit—either through acts of omission or direct

      support—in the widely reported corruption of former Commissioner Caban’s

      administration. They attacked a man for the very virtues they lacked.

   1031.     This moral bankruptcy was on full display in the shameless manipulation of the

      promotion process. When Donlon submitted his promotion lists, he included two

      exemplary detectives for promotion to First Grade. These individuals, with stellar records,

      had provided security for the former commissioner, and for Donlon and his family. They

      had earned their advancement through merit.




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1032.     But merit means nothing to the corrupt. NYPD Attorney Defendant GERBER, in

   a stunning display of hypocrisy, unilaterally vetoed these promotions. Defendant

   GERBER’s stated reason for doing so was a supposed need to "distance" the department

   from the Caban administration, claiming, "We don’t know if they were involved with

   Caban in a criminal or inappropriate manner."

1033.      Defendant GERBER’s cynical goal was to purge anyone affiliated with the

   previous administration, regardless of their unblemished records.

1034.     Yet, in a paradoxical and self-serving move, Defendant GERBER protected two

   other individuals from Caban’s detail who remained seated outside Donlon's office—

   including one named Sergeant Venus, whom Donlon subsequently learned was acting

   under the direction of Defendant MADDREY’s.

1035.     The message was clear: loyalty to the corrupt regime, not integrity, was the

   currency of survival and reward. As cited supra, Venus was clearly exposed by Donlon

   with concrete evidence of her providing Defendant MADDREY all of Donlon’s daily

   activities without Donlon’s permission.

1036.     The promotion process was hijacked. Donlon’s merit-based lists were sent to the

   Mayor’s Office without his approval.

1037.     Defendants MADDREY, CHELL, and MARINO eliminated qualified candidates

   and advanced unqualified individuals—including MARINO’s alleged romantic partner.

1038.     An examination of the paramour’s work record revealed what many already knew:

   she had no major investigative or notable accomplishments to her name. She was utterly

   unqualified for a coveted position that demands the highest integrity. This promotion was

   a senseless and reprehensible reward for a personal relationship, an insult to every



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   detective who earns their shield through sacrifice and skill. This matter should be

   immediately reported to Internal Affairs and to the Chief of Detectives Office where

   Defendant MARINO was assigned.

1039.     Shortly after this undeserved promotion by Defendant MARINO, as overtime was

   being scaled back, the newly promoted paramour conveniently retired.

1040.     This blatant injustice demands a serious investigation into everyone who was

   denied a deserved promotion, and conversely of every undeserving person who was

   elevated by favoritism as perpetrated by the collective Defendants.

1041.     Neither Defendants MADDREY, CHELL or MARINO possessed the minimal

   basic integrity to inform Donlon that his selections were gutted, even after personally

   assuring him they would be promoted. The Mayor, Defendant ADAMS, was not an

   innocent bystander; he was a silent accomplice. After Donlon texted him directly about

   these abuses, Defendant ADAMS refused to respond, yet hypocritically assured others he

   would "rectify" the situation—a promise he never kept.

1042.     The corruption was transactional. Defendant MADDREY promoted Defendant

   SARACENO for spying on Donlon—despite SARACENO’s history of misconduct.

1043.     After media coverage of Defendant MADDREY’s corruption, his attorney

   publicly blamed Defendant SARACENO for authorizing the overtime. Donlon’s advice

   to Defendant SARACENO: contact the FBI and tell the truth.

1044.     When Defendant MADDREY assigned Defendant SARACENO to Donlon’s

   office it defied credulity that Defendant SARACENO was there to assist Donlon due to

   Defendant SARACENO’s impressive NYPD career, as Donlon was advised by Defendant

   MADDREY. Donlon had the opportunity to examine Defendant SARACENO’s NYPD



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   record, and he did not read any major accomplishments which would warrant such a

   prestigious assignment to the office of the Police Commissioner.

1045.     It was also obvious to Donlon from the beginning that Defendant MADDREY

   placed Defendant SARACENO in the Police Commissioner’s office to funnel information

   on Donlon’s daily activities etc., to Defendant MADDREY and one could logically

   conclude to Defendant ADAMS. By all accounts, Defendant SARACENO’s duties were

   to follow around Donlon throughout the day, which he did, and report Donlon’s activities

   back to Defendant MADDREY and logically, of course, Defendant ADAMS.

1046.      It was quite sad, and in many ways comical, that the NYPD dedicated an Inspector

   full time to follow Donlon during the course of his entire day and obviously report back

   to Defendant MADDREY, and, of course, Defendant ADAMS

1047.     Defendant SARACENO was referred to by many as “Donlon’s shadow”, as it was

   quite evident of Defendants MADDREY and SARACENO’s intentions. During Donlon’s

   time with Defendant SARACENO there were very pleasant discussions about family and

   children.

1048.     Defendant SARACENO advised Donlon that he “took off one year” after

   retirement, before coming back to the NYPD, after spending time with family. Obviously,

   Defendant SARACENO never advised Donlon of the true story, that the NYPD forced

   him to resign due to his misconduct. These actions by Defendants ADAMS, MADDREY

   and SARACENO clearly depict what Donlon was forced to confront on a daily basis, not

   only with the above three defendants but the other five defendants.

1049.     Again, what a sad commentary of the constant devious, lying, underhanded,

   dishonest and unethical behavior of not only Defendant SARACENO but Defendants



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   MADDREY and ADAMS, who allegedly led the greatest, and Donlon wholeheartedly

   agrees, the greatest law enforcement agency in the world. It is only logical that Defendant

   SARACENO        had    conversations    with    Defendants   KINSELLA,      CHELL      and

   DAUGHTRY etc. about his assignment targeting Donlon and what was uncovered on

   him.

1050.     During Defendant SARACENO’s time assigned to the Police Commissioner's

   Office, Defendant SARACENO never contributed any logical thoughts, ideas, initiatives,

   projects or programs to assist Donlon and/or benefit the NYPD, our personnel and the

   public we serve. Upon advising Donlon that he was temporarily appointing Defendant

   SARACENO to Donlon’s office, without even asking Donlon’s permission, Maddrey

   raved about Saraceno being a very experienced MOS with a vast operational and

   administrative skill set which will immensely benefit Donlon.

1051.     At this time, Donlon witnessed how Defendant MADDREY forced Defendant

   SARACENO into Donlon’s office.

1052.     Defendant MADDREY failed to inform Donlon that Defendant SARACENO had

   been forced to retire for “stealing time.”

1053.     Defendant SARACENO later returned to the NYPD and was assigned to both

   Donlon’s and Defendant MADDREY’s offices. He was used to sign Lieutenant Epps’s

   overtime slips, helping to conceal Defendant MADDREY’s involvement.

1054.     At a press conference, MADDREY’s attorneys claimed only SARACENO signed

   the overtime slips.

1055.     As mentioned before, Defendant SARACENO’s first self-appointed “official

   duty” was to secretly meet with Donlon’s new security team, in conjunction with



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   Defendant SHEPPARD, without Donlon’s knowledge. Defendant SARACENO told

   Donlon he saw nothing wrong with Defendant SHEPPARD and himself having this secret

   meeting with Donlon’s new security detail.

1056.     For Defendant MADDREY, a known sexual predator who perpetually blames

   others for his own failings, character is a foreign and alien concept. His despicable

   activities, consistently covered up by his acolytes, reveal a deep moral rot at the heart of

   NYPD leadership—a rot that dishonors the badge and betrays the public's trust and

   dishonors the countless Chiefs, Inspectors, Captains etc. and to the Police Officers who

   retired in good standing from the NYPD.

1057.     Following one of Donlon's final Monday executive meetings, Donlon confronted

   Defendant MADDREY head-on regarding the Emergency Service Unit’s (ESU's) critical

   duties and responsibilities during their Federal Emergency Management Agency

   (“FEMA”) deployment.

1058.     Donlon believed that the NYPD ESU team should be recognized and honored for

   their stellar work performance as Donlon sought documentation from Maddrey and ESU

   to ensure that the unit, along with officers and bosses, would receive the recognition they

   deserved for their out of state twelve (12) deployments over a three year period.

1059.     Donlon repeatedly raised the issue with Defendant MADDREY and other Chiefs,

   including ESU, during Monday NYPD executive meetings. He demanded documentation

   of ESU’s 12 FEMA deployments over a three-year period.

1060.     This included specifics such as the assignments, scope of work, accomplishments,

   and interactions with other agencies (Police, Fire, EMTs, OEM, and first responders).




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   FEMA had requested NYPD participation in these humanitarian deployments, and

   Donlon made it clear that proper documentation was essential.

1061.     Such records would help demonstrate the NYPD’s contribution to the public,

   FEMA, and other stakeholders. They could also strengthen funding applications and

   highlight the NYPD’s standing as a global law enforcement leader.

1062.     Donlon's demands at these meetings were met with deafening silence, especially

   by Maddrey.

1063.     Donlon personally tasked Defendants MADDREY, CHELL and DAUGHTRY

   with providing the requested documentation.

1064.     They failed to deliver, and continued with their consistent apathetic,

   insubordinate, and incompetent response (when they actually did respond) to each and

   every task/order of Donlon.

1065.     At Donlon's final Monday meeting, with Donlon's departure imminent and widely

   known – particularly by Defendant MADDREY– Donlon confronted Defendant

   MADDREY directly afterward.

1066.     Donlon stated, “ I demanded this documentation on the 12 FEMA deployments by

   the NYPD from you on numerous occasions."

1067.     Defendant MADDREY, initially smirking, then put on a transparently false show

   of seriousness, summoning a one-star chief and theatrically ordering him to complete the

   assignment Donlon had long requested.

1068.     Donlon responded to this blatant ineptitude, apathy, and incompetence,

   "Defendant MADDREY, are you actually serious? Your charade does not fool me, nor




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      anyone else in your incompetent clique. You know I am leaving and being replaced by

      Tisch.”



JJ. Donlon is Terminated As Police Commissioner, Replaced by Tisch




   1069.        Less than a few days later, on November 25, 2024, Defendant ADAMS removed

      Donlon as Police Commissioner.

   1070.        Donlon was not officially informed by Adams but heard many strong rumors that

      Donlon was being replaced by Tisch. Adams called a Press Conference at City Hall and

      10 minutes before the Press Conference started Adams called Donlon into his office and

      informed Donlon that Tisch was assuming the Police Commissioners position. Adams

      said to Donlon “you can either leave or stay for the conference” Being polite and a true

      professional Donlon stayed for the Press Conference and congratulated Tsch.

   1071.        Donlon was ushered into Adam’s office where he observed Jessica Tisch in

      another room reviewing papers.

   1072.        Donlon was relieved of his duties as Police Commissioner, less than three (3)

      weeks following his last reporting directly to Defendant ADAMS the criminal acts of

      Defendant SHEPPARD and the failure of Defendants MADDREY, CHELL and

      DAUGHTRY to take corrective action.

   1073.        Jessica Tisch is named Police Commissioner replacing Donlon.

   1074.        Donlon was unlawfully removed as Police Commissioner due to his numerous

      attempts to bring honesty, integrity and ethical standards to the forefront of the NYPD.

      Donlon sought to expose the criminal corruption, ineptness and insubordination of the


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   Defendants KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER,

   SARACENO, and MARINO which Defendants ADAMS and CITY ignored willfully and

   purposely.

1075.       Donlon is not referring to the everyday, dedicated, and honorable Police Officers,

   Detectives, Squad Commanders, Borough Chiefs, and NYPD civilian staff he was

   privileged to work with during his tenure.

1076.       Rather, he specifically condemns the criminal, incompetent, and morally bankrupt

   conduct of Defendant ADAMS and the NYPD Defendants and their inner circle. Their

   behavior was not only noticed—it was rejected by the NYPD rank and file and the public

   alike.

1077.       The collective Defendants were entrusted with positions of immense power,

   achieved through election or appointment.

1078.       They squandered that privilege. They betrayed the public trust and violated the

   social contract between those who govern and the governed.

1079.       The collective Defendants displayed, even to the most casual and distant observer,

   a shameful naivety that their criminally foolish behavior and actions were disguised or

   protected and not at any risk of exposure. Donlon, and those dedicated to true public

   service, saw through their vile attempts to hide such treacherous and unlawful behavior.

   Long after the collective Defendants retire in shame, and fade into obscurity (save for

   Defendant CITY), they will hopefully possess the temerity for contriteness and wistfully

   rue their criminal, corrupt, and contemptuous actions.

1080.       At the swearing in ceremony for Jessica Tisch, every former living NYPD Police

   Commissioner was invited and given a place to sit to witness the proceedings except



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      Donlon, who did not receive an invitation. Donlon stood on the sidelines of the hall where

      the ceremony took place.

KK.   Donlon Is Relegated to City Hall Where He Works in Public Safety, A Demotion



  1081.      To mask the unlawful nature of Donlon’s termination as interim Police

      Commissioner, he was advised he will be moved to the position of Senior Advisor,

      Mayor’s Office of Public Safety, reporting to the Deputy Mayor, Public Safety, which is

      under Defendant ADAMS’s Administration. Specifically, Donlon was told it would be

      similar to Tim Pearson’s position. A clear demotion.

  1082.      In that position, Donlon was mainly tasked and responsible for coordinating and

      managing grant applications in conjunction with agencies within Public Safety. These

      coordinated efforts will be essential in submitting applications for U. S. Federal and New

      York State available grants which will be critical in enhancing the Public Safety Agencies.

  1083.      Donlon arduously approached the task of developing the new position while

      completing a booklet made available to Public Safety Agencies providing guidance and

      the application process, containing numerous links with background and the names of the

      many Federal, FEMA and NYS grants. It is shameful and extremely ignorant of ADAMS

      in his decision which is a reflection on his very limited administration and operational

      background.

  1084.      Initially, Donlon was advised he would be receiving an experienced analyst to

      assist in developing the Public Grant Program. However, he was without any assistance

      for a couple of months. John Gunn, Public Safety, joined Donlon and was invaluable with

      his long term connectivity with the Public Safety Agencies, followed by Kevin Clarke,



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      NYCOEM, who brought a wealth of experienced administrative and operational

      knowledge regarding the overall complicated Federal and NYS Grant Program.

LL.   Donlon’s Security Team Is Further Punished



  1085.      It is common for some members of the NYPD Police Commissioner’s security

      detail to be promoted as a result of their dedicated time and efforts in protecting the Police

      Commissioner and his/her family.

  1086.      However, it has always been customary for all members of the Police

      Commissioner security detail, when that assignment is concluded, to receive a transfer to

      a command they would like to be transferred or one of their top choices. It has always

      been called “a soft landing” by all former Police Commissioners and their

      Administration.

  1087.      However, Donlon’s security team was not afforded the benefit of rewarding the

      hardworking security detail composed of one (1) Lieutenant, three (3) Sergeants and

      approximately fifteen (15) Detectives, who protected Donlon and his family 24/7 during

      Donlon’s tenure.

  1088.      To this date, Donlon’s security team has not received their transfer requests and

      have returned to their old commands, unfortunately, all have not been able to return to

      former commands. Additionally, when addressing Donlon’s security team during the

      transition period it would have been appropriate and respectful to have a supervisor

      address them during the transition. Additionally, some of the new security members team

      were present in the same conference room with Donlon’s former detail which was

      awkward for them not appropriate or respectful.



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   1089.     Chief Burke, who served under Commissioner Kelly’s Administration and is

      presently assigned to Tisch’s administration fully understands how the security detail

      should be treated.

   1090.     The disrespectful treatment Donlon’s security team was given would not have

      been allowed under Commissioner Kelly’s Administration and the Chief is fully aware of

      this which has been tradition for decade.

   1091.     Uniformed officers operate under a paramilitary structure with rigorous rules,

      rotating shift assignments, and frequent last-minute changes. Many are single parents or

      caregivers to family members with health or educational needs. The cumulative effect of

      back-to-back shifts and unpredictable scheduling has created a “stress poison” that

      undermines officer wellbeing, morale, and, ultimately, public safety.

   1092.     The utter disregard for the dedicated rank and file officers who worked diligently

      under the Defendant ADAMS Administration is deplorable.



MM. Donlon Repeatedly Attempts to Contact Commissioner , But Is Ignored




   1093.     After his removal as interim Police Commissioner, Donlon made multiple

      attempts to contact his successor, Police Commissioner Jessica Tisch, to ensure that

      individuals who had been intentionally and unlawfully removed from the NYPD

      promotional list during Donlon’s tenure be reinstated on the list and rightfully promoted.

   1094.     To date, disappointedly Police Commissioner Tisch, nor any members of her

      administration, has failed to promote the NYPD employees who Donlon determined were

      deserving of discretionary promotions. To date, the Tisch Administration, despite


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   knowing of the fraud that took place previously, have failed to contact Donlon to undo

   the injustice prevailed upon these proud and dedicated NYPD officers, detectives and

   supervisors who were on his promotion list.

1095.     These officers were removed in direct violation of the rules and regulations

   governing the NYPD and the rights inherently conferred upon the Office of the Police

   Commissioner.

1096.     Having been closely and intimately involved with the NYPD for over three

   decades, with many close and dear friends, Donlon has never heard of or witnessed a

   manner in which officers identified and submitted by the Police Commissioner for

   promotion have been deliberately taken off the list.

1097.     Defendant ADAMS has direct knowledge of these crimes but have failed to

   correct or rectify them.

1098.     For the sake of justice, it is Donlon’s sincere hope that individuals promised

   promotions under his tenure will have those promotions realized. It is also unfortunate

   that the MOS who Donlon was promoting have lost monetary gains in salary and future

   available promotions or assignments.

1099.     The officers who Donlon came to rely on during his tenure as the interim Police

   Commissioner have all been removed from their positions.

1100.     There is no way of knowing the full extent of the NYPD promotional abuse which

   had occurred since January 1, 2022, when Defendant ADAMS was sworn in as Mayor.

1101.     Upon information and belief, the full extent of the NYPD’s corruption under

   Defendant ADAMS will not be known until Phillip Banks, Timothy Pearson and




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   Defendants ADAMS, KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD,

   GERBER, SARACENO and MARINO are indicted.

1102.      It is common for the NYPD Police Commissioner’s security detail to get promoted

   as a result of their work.

1103.      Donlon is not afforded the benefit of rewarding the hardworking NYPD Officers,

   detectives, Sergeants and Lieutenant who protected Donlon and his family 24/7 during

   Donlon’s time period.

1104.      The matter was so important to Donlon that he had an unidentified NYPD

   Executives to speak with Defendant ADAMS to try to give his former NYPD security

   detail the accolades he promised, and they earned.

1105.      Donlon was told that Defendant ADAMS “promised to make it right” and ensured

   that any of the promotions removed from the list would be reinstated.

1106.      To date, Defendant ADAMS has not acted on his promise to reinstate the

   promotions previously authorized by Donlon that were removed from the list by

   Defendants MADDREY, CHELL, SHEPPARD.

1107.      NYPD employees who should have been promoted under Donlon have not

   received their promotions, costing them millions of dollars in lost income and pension

   benefits.

1108.      After his removal as interim Police Commissioner, Donlon made multiple

   attempts to contact his successor – Commissioner Tisch- to ensure that qualified and

   vetted MOS who had been intentionally, deliberately, and cruelly removed from the

   NYPD promotional list be reinstated to receive their promotions. Donlon also wanted to




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   discuss some potential issues with Commission Tisch and her Administration regarding

   the warehouse in Brooklyn.

1109.      MOS advised Donlon that Tisch was fully aware of the above criminal action, but

   her position was simply: "that was the past and we are moving in a different direction.”

1110.      Donlon strongly believed, and still does, that Tisch should have had the common

   courtesy to return his texts and calls to discuss the matter of the denied promotions. As

   the new Police Commissioner, she was already aware of these criminal acts and should

   have been willing to fight the injustice on behalf of the MOS who were denied rightful

   promotions.

1111.      Despite knowing of the fraudulent removal of qualified officers from Donlon’s

   promotion list, Police Commissioner Tisch and her administration have taken no action

   to correct the injustice.

1112.      Donlon has not been contacted to restore the merit-based list, and those deserving

   of advancement remain sidelined in violation of NYPD rules and regulations.

1113.      Having been intimately involved with the NYPD for over three decades, with

   many close and dear friends, Donlon has never witnessed such a grave injustice, where

   promises made by the office of the Police Commissioner were blatantly disregarded and

   broken.

1114.      Donlon attempted to reach Adams to inform him that Tisch refused to

   communicate with him, but Adams also failed to answer texts and calls concerning this

   grave injustice committed by Defendants MADDREY, SHEPPARD, MARINO,

   GERBER and the remaining Defendants.




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  1115.      For the sake of justice, it is Donlon’s sincere hope that individuals promised

      promotions under his tenure will have those promotions reinstated. Donlon had many

      slated for promotion only for the Defendants to unfairly overrule him, causing not just a

      loss in salary but also in employee morale and confidence in NYPD leadership.

  1116.      There is no easy way to quantify just how many rightfully earned and promised

      promotions to have been denied or reversed since January 1, 2022, when Defendant

      ADAMS was sworn in as Mayor.



NN.   Additional RICO-Predicate Criminal Acts Uncovered by Defendants



  1117.      As described earlier in November 2024, it was uncovered that Defendant

      MADDREY personally authorized overtime pay for Lieutenant Quathisha Epps. This

      resulted in Lieutenant Epps earning more than $400,000 in 2024. More than half of the

      $400,000 consisted of overtime compensation.

  1118.      The overtime in Defendant MADDREY’s office is actually overseen by

      Defendant KINSELLA.

  1119.      While Donlon was the interim Police Commissioner the serious issue of overtime

      was discussed at a meeting with Defendants MADDREY CHELL and DAUGHTRY,

      Three and Two-Star Chiefs, Inspectors, Captains and civilian employees.

  1120.      Defendant KINSELLA stood up and spoke at the above meeting and instructed

      Maddrey et al that the overtime “must be reined in.”

  1121.      As the Defendant KINSELLA delivered her speech on the recent overtime scandal

      involving mainly Maddrey and others, Donlon observed Defendant MADDREY smirking



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   and appearing very uncomfortable with Defendant KINSELLA looking directly at

   Defendant MADDREY, reiterating the “overtime was out of control, and we have to

   watch it better”.

1122.       Unbelievably, Defendant KINSELLA with such a serious topic was also smirking

   while discussing the overtime and again looking over at Defendant MADDREY.

   Defendant MADDREY’s response was - “we have to watch it, and it won’t happen again”.

1123.       While continuing to speak about the abuse of overtime, Defendant KINSELLA

   advised we all have to be more careful with the use of overtime. Defendant KINSELLA,

   being the First Deputy Commissioner, failed to advise all present that she is solely in

   charge and responsible for the distribution and monitoring of the NYPD overtime budget.

   Donlon stated to Defendant KINSELLA all in the room, “you need to place a “tickler

   system" (Fed terminology) daily, weekly or whatever timeframe you choose to closely

   monitor the use and possible abuse of overtime.”

1124.       Donlon told her when the overtime goes over the limit: “the bells and whistles will

   go off and you will be surely notified” no guessing. Donlon reiterated to Defendant

   KINSELLA that when “you place an electronic and/or software system in place you will

   be immediately notified of the present overtime status thus avoiding possible abuse of the

   overtime.” As Defendant KINSELLA began to sit down she muttered they wouldn’t listen

   to me”

1125.       This was the same comment Defendant KINSELLA made to Defendant ADAMS

   when he questioned her about the criminal abuse of overtime. Donlon was well aware

   from a few MOS who spoke to him confidentially that even prior to this apparent abuse




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   of over, Defendant ADAMS was not satisfied with Defendant KINSELLA work

   performance and was looking to transfer her to another position within the NYPD.

1126.     It is still difficult to understand how Defendant KINSELLA, who failed to monitor

   the overtime budget, which has cost the NYPD millions in abuse of overtime and the

   countless lawsuits to follow, is allowed to remain in her position as the 1st Deputy

   Commissioner in the NYPD.

1127.     It is inconceivable that Defendant KINSELLA and CHELL have been allowed to

   remain in their current high profile NYPD positions despite years of documented abuse

   in their respective positions.

1128.     After her speech Donlon told Defendant KINSELLA “you have to have a tickler

   system (a term used by the FBI) in place to monitor overtime.” Defendant KINSELLA

   told Donlon that, “These guys will never listen to me.”

1129.     In the midst of the very public news coverage of the overtime abuse, Donlon meets

   privately with Defendant KINSELLA.

1130.     Donlon tells Defendant KINSELLA she needed to exercise vigilance and strictly

   control overtime writ large in the NYPD.

1131.     Donlon relays to Defendant KINSELLA how the overtime is handled in the FBI

   which results in overtime being managed, regulated and verified on a bi-weekly basis

   through what’s referred to as a “tickler system.”

1132.     In the FBI when overtime raises above a predetermined number, electronic

   notifications are made, and overtime is immediately halted to remain on budget.

1133.     No system is in place for the NYPD.




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1134.     Neither Defendants KINSELLA nor MADDREY were held accountable by

   Defendant ADAMS despite Donlon’s efforts to rein in overtime abuse.

1135.     As scrutiny surrounding Defendant MADDREY’s actions intensified, it became

   clear that blame for his actions was shifted.

1136.     This was done, in particular, due to the media coverage.

1137.     These decisions and political maneuverings had long shaped leadership

   appointments within the department, highlighting the intricate and often opaque dynamics

   of NYPD’s internal structure.

1138.     During the week of the November 2024 Presidential election, Donlon had another

   conversation with Defendant ADAMS

1139.     In that conversation, Donlon again, detailed the criminal actions of the Defendants

   herein and specifically Defendant SHEPPARD’s attacking him and held back by

   Defendant MADDREY. Defendant ADAMS had no response.

1140.     Defendant ADAMS took no actions to fix the problems and instead retaliated

   against DONLON for his complaints.

1141.     Donlon’s complaints are protected by the First Amendment of the United States

   Constitution.

1142.     The      Defendants   CITY,    ADAMS,        KINSELLA,     MADDREY,       CHELL,

   DAUGHTRY, SHEPPARD, GERBER, SARACENO and MARINO retaliated against

   him because he spoke out, which he claims violated his constitutional rights.

1143.     Following widespread news coverage of the overtime scandal, Defendant

   MADDREY is not disciplined in any way and allowed to continue in his position.




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OO. Defendant ADAMS asks Defendant MADDREY to Submit His Retirement Papers
  Who Refuses




  1144.        Following news coverage of the overtime scandal, Defendant ADAMS told

     Defendant MADDREY that he should go to the pension board and submit his retirement

     papers.

  1145.        Defendant MADDREY, being his own person, ignores the request of Defendant

     ADAMS and continues in his position as Chief of the Department. It was certainly seen

     as a defiant act by Maddrey who obviously thought he was untouchable. A number of

     MOS were aware of his claims and ADAMS requested him to just leave and retire quietly.

  1146.        Defendant MADDREY had so much power within the NYPD and Defendant

     CITY that he directly ignored the order of Defendant ADAMS that he should retire.

  1147.        Defendant ADAMS fails to discipline Defendant MADDREY for ignoring his

     request to retire and fails to remove him as the Chief of the Department. Defendant

     ADAMS, even appointing Defendant MADDREY, as Chief of the Department was a

     deployable and irresponsible appointment by Defendant ADAMS, Donlon recalls that

     Defendant MADDREY was constantly always boastful in the media and with MOS that

     Defendant ADAMS and himself were “best friends” and Defendant MADDREY publicly

     stated that he (Defendant MADDREY) will be appointed as Chief of the Department.

     When Defendant MADDREY was appointed it came as no surprise to MOS and the

     public. Defendant MADDREY was seen boasting and telling all that Defendant ADAMS

     and himself were close friends, and he was certainly going to be appointed as Chief of the



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      Department. It was also not a shocking appointment by Defendant ADAMS as they

      Defendant MADDREY promoted Maddrey through promotion system Leaving

      Defendant MADDREY even appointing him as Chief of the Department with his horrific,

      immoral, loathsome record.



PP.DOI Determines Community Response Team Had No Oversight



   1148.     On November 26, 2024, the Defendant CITY’s Department of Investigation

      released a report following the conclusions of their investigation into the Community

      Response Team (CRT).

   1149.     Defendant CITY’s Department of Investigation announces that they found that the

      CRT was operating for more than two (2) years without written policies, procedures and

      operational guides, and without any required training for its members.

   1150.     Defendant CITY’s Inspector General Jeanene Barrett separately stated that the

      lack of transparency regarding NYPD’s CRT risks non-compliance with the law, ethical

      breaches, and negative policing outcomes.

   1151.     Inspector General Barett further states “The recommendations in this report

      encourage the creation of public policies and procedures that will enhance knowledge of

      and confidence in CRT’s mission, as well as facilitate future oversight.




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QQ.   Donlon’s Wife, Deirdre O’Connor-Donlon is Falsely Arrested



  1152.         On December 16, 2024, Donlon’s wife, Mrs. Deirdre O’Connor-Donlon was

      driving in her personally owned vehicle on 56th Street and First Avenue in bumper-to-

      bumper traffic when she was rear-ended which in-turn caused her to tap an Uber van

      which was in front of her, in the rear.

  1153.         The vehicle that struck Mrs. O’Connor-Donlon fled the scene.

  1154.         The incident was minor and did not require police assistance, but the gentleman

      in the back of the Uber van showed a Police Benevolent Association card and demanded

      that a “bus” (the colloquial term for an ambulance) be called. Due to a 911 call being

      made by the passenger, that automatically caused the NYPD to respond as well.

  1155.         Police Officers Su and Saleem arrived from the 17th Precinct.

  1156.         These officers were kind and treated Mrs. O’Connor-Donlon with great respect.

  1157.         After the police arrived, the officer asked both Mrs. O’Connor-Donlon and the

      driver of the Uber van for their respective driver’s licenses, registration, and proof of

      insurance. Mrs. O’Connor-Donlon produced her New York State driver’s license for the

      officers, but had trouble locating her registration and insurance.        Moreover, Mrs.

      O’Connor-Donlon was shockingly informed that her driver’s license was in suspended

      status.

  1158.         Mrs. O’Connor-Donlon called Donlon who had a copy of the insurance and

      registration documents, and who happened to be six (6) blocks away.




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1159.        Mrs. O’Connor-Donlon let the officers know as a courtesy that her husband,

   Thomas G. Donlon is the former interim Police Commissioner, and now works in City

   Hall for Public Safety, so they wouldn’t be surprised when he arrived.

1160.        The officers then called the 17th Precinct and requested the presence of the

   Supervisory Patrol Sergeant on duty. The officers explained that they needed to call the

   said Sergeant due to standard operating procedures when an incident involves the apparent

   involvement of a “high profile individual” or something that clearly would end up being

   in the media.

1161.        Sergeant McDermott arrived at the scene a short time later.

1162.        The officers informed Sergeant McDermott of what has transpired and that Donlon

   has been called and will be arriving shortly.

1163.        While waiting for Donlon to arrive, Mrs. O’Connor-Donlon, Police Officers Su

   and Saleem, and Sergeant McDermott have a friendly conversation.

1164.        During the conversation Mrs. O’Connor- Donlon applauds the NYPD officers and

   how great her husband’s security detail was while Donlon was the interim Police

   Commissioner.

1165.        When Donlon arrived at the scene, he greeted Police Officers Su and Saleem and

   Sergeant McDermott, who referred to him as “Commissioner” and “Sir.”

1166.        The interaction with Donlon and the collective NYPD personnel could not be

   better.

1167.        Donlon came to the scene, and explained that he must have left the registration at

   the auto body shop when the car had been in for other repairs.




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1168.      Donlon exchanged pleasantries with Sergeant McDermott and explained that he

   was the former interim Police Commissioner, now at the Mayor’s Office of Public Safety,

   and that Deirdre was his wife and that he stopped by to check on her.

1169.      Initially, Sergeant McDermott could not have been nicer, and there were no issues

   whatsoever.

1170.      Mrs. O’Connor-Donlon told her husband, Donlon, that he could leave since

   everything was in order.

1171.      After Donlon departed, Police Officers Su and Saleem continued talking with Mrs.

   O’Connor-Donlon. By this time the ambulance had arrived and departed, Officers Su and

   Saleem told Mrs. O’Connor-Donlon that they spoke with the EMT’s and the passenger,

   and that the passenger was not injured in any way, shape or form.

1172.      Sergeant McDermott then looked down at his phone and said, “excuse me, I have

   to take this call.”

1173.      Officer Su suggested to Mrs. O’Connor-Donlon that she should retrieve proof of

   insurance on her phone.

1174.      Mrs. O’Connor-Donlon followed the direction of Officer Su and retrieved proof

   of insurance.

1175.      Sergeant McDermott returned from having the phone call with an unknown

   individual(s).   Sergeant McDermott has changed his demeanor drastically.         As he

   approached Mrs. O’Connor-Donlon he started to badger her with questions in a hostile

   manner regarding her insurance status, and advised her that her New York State driver’s

   license was in suspended status.




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1176.      Sergeant McDermott, furthermore, asked Mrs. O’Connor-Donlon if she lived at

   multiple old addresses.

1177.      Mrs. O’Connor-Donlon sensed that something had definitely changed and asked,

   “What is wrong?” to Sergeant McDermott and the police officers. She did not receive any

   reply to this question.

1178.      Mrs. O’Connor-Donlon then holds up her phone to show proof of insurance to the

   officers.

1179.      Mrs. O’Connor-Donlon had/has maintained the same insurance for twenty (20)

   years without a lapse, and was shocked to hear of the accusation by Sergeant McDermott

   that Mrs. O’Connor-Donlon does not have insurance coverage and a suspended driver’s

   license.

1180.      Despite showing clear proof of insurance, Sergeant McDermott refused to look at

   the proof of insurance on her phone.

1181.      Instead, Sergeant McDermott accused Mrs. O’Connor-Donlon of having a

   suspended license dating back to October 2021, and a current lapse of insurance on the

   vehicle she was driving in at that moment.

1182.      Although Sergeant McDermott refused to look at Mrs. O’Connor-Donlon’s proof

   of insurance, she was able to show it to the police officers on the scene. Mrs. O’Connor-

   Donlon further told Sergeant McDermott that she has never received any notice

   whatsoever from the New York State Department of Motor Vehicles regarding her

   driver’s license suspension.

1183.      Mrs. O’Connor-Donlon is surprised and confused by the allegations.

1184.      A short time later Sergeant McDermott shouted to the officers, “CUFF HER.”



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1185.     Officer Su, audibly responded with a confused, “What?”

1186.     Mrs. O’Connor-Donlon said to Sergeant McDermott “Are you kidding me? What

   am I being arrested for?”

1187.     Sergeant McDermott did not respond to Mrs. O’Connor-Donlon and had to repeat

   the Order multiple times to Officer Su who was clearly objecting to the improper course

   of action.

1188.     The shocked police officers are noticeably taken back by the Order.

1189.     The officers begrudgingly handcuffed Mrs. O’Connor-Donlon and placed her in

   the back of their police vehicle.

1190.     While in the back of the police vehicle, both officers profusely apologized to Mrs.

   O’Connor-Donlon and told her that they had never arrested anyone for an alleged lapse

   of insurance before, nor a suspended driver’s license.

1191.     The officers further lamented that they “are going to get in trouble” for the arrest

   of Mrs. O’Connor-Donlon.

1192.     From this point until her release from custody, two (2) hours later, Mrs. O’Connor-

   Donlon was falsely imprisoned by the NYPD.

1193.     The rationale for Mrs. O’Connor-Donlon false imprisonment and arrest, namely

   that she had a lapse of insurance, and a suspended driver’s license is pretextual, illegal

   and a violation of her rights as enshrined the 4th and 14th Amendments of the U.S.

   Constitution.

1194.     Mrs. O’Connor-Donlon is transported to the 17th Precinct for processing.




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1195.     Mrs. O’Connor-Donlon, during her unlawful detainment, repeatedly asked any

   NYPD personnel in her immediate view what she is being arrested for and why she is still

   handcuffed.

1196.     Mrs. O’Connor-Donlon received no answer to her questions, and was further

   denied a phone call by all the NYPD personnel she had directed her questions to.

1197.     Next Mrs. O’Connor-Donlon, was approached by Police Officer Vargas who

   informed her that she would be conducting a search of her.

1198.     Officer Vargas searched Mrs. O’Connor-Donlon

1199.     At the end of the search, police officer Vargas placed a $100 bill in Mrs..

   O’Connor-Donlon pocket which was in Mrs. O'Connor-Donlon pocket book. O’Connor-

   Donlon was confused, and asked what she needed this for.

1200.     Vargas told Mrs. O’Connor-Donlon that the money is for when she “goes

   downtown” to Central Booking.

1201.     Mrs. O’Connor-Donlon, who was extremely polite up to this point, had enough

   and began to get emotional in the Precinct as a result of being denied a phone call, and

   not told what she had done wrong to warrant being arrested.

1202.     Mrs. O’Connor-Donlon asked repeatedly what she was arrested for, but was not

   provided with the information.

1203.     Mrs. O’Connor-Donlon’s repeated requests for a phone call continued to be

   ignored.

1204.     Mrs. O’Connor-Donlon was then told (BY WHO?) that she will be taken to the

   holding cell.

1205.     Mrs. O’Connor-Donlon objected to this and refused to be taken to the holding cell.



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1206.     The Desk Sergeant, identity unknown, ignored Mrs. O’Connor-Donlon’s

   questions and objections, and ordered Officer Su to place her in the holding cell.

1207.     Mrs. O’Connor-Donlon continued to object, at which point Officer Su attempted

   to intervene on behalf of Mrs. O’Connor-Donlon.

1208.     The Desk Sergeant begrudgingly thereafter agreed to place Mrs. O’Connor-

   Donlon in the Juvenile Room which they referred to as the “Juvie Room.”

1209.     When Mrs. O’Connor-Donlon entered the Juvie Room, Officer Su began to take

   off her handcuffs.

1210.     Mrs. O’Connor-Donlon told Officer Su that she is relieved to finally have her

   handcuffs off, but is informed by Officer Su that he must remove one handcuff only and

   then affix it to the bench in the room.

1211.     Mrs. O’Connor-Donlon was chained to the metal bench like a common criminal.

1212.     As Officer Su was leaving the room, Mrs. O’Connor-Donlon asked, again, “Why

   are they doing this to me?”

1213.     Officer Su responded to Mrs. O’Connor-Donlon “I do not know. This had never

   happened before.” This was an admission the arrest of Mrs. O’Connor-Donlon was not

   based on probable cause.

1214.     Mrs. O’Connor-Donlon overheard an upset and distraught Officer Su that they

   were going to be ultimately blamed for the whole incident.

1215.     Later during the false imprisonment, Sergeant McDermott walked in the Juvie

   Room holding a cellphone where the Commanding Officer of the 17th Precinct, Deputy

   Inspector Maggie Clamp, is on the phone.

1216.     Deputy Inspector Clamp profusely apologized to Mrs. O’Connor-Donlon.



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1217.     Mrs. O’Connor-Donlon explained to Deputy Inspector Clamp that Sergeant

   McDermott was the person responsible for her unlawful arrest and treatment, having her

   in handcuffs for more than an hour and a half. Mrs. O’Connor-Donlon specifically asked

   Deputy Inspector Clamp for the identity or identities of the individuals that Sergeant

   McDermott received a call from which then led to her unlawful arrest. When Mc Dermott

   received the call as he walked to the middle of the street to speak. Donlon also observed

   Mc Dermott on the call but left the scene while he was still on his phone.

1218.     Deputy Inspector Clamp continued to apologize and said the officers will be held

   responsible.

1219.     Mrs. O’Connor-Donlon stated that Officers Su and Saleem have been respectful

   and that the problem she had stemmed entirely from Sergeant McDermott.

1220.     Donlon, who was called by an unknown officer, arrived at the precinct.

1221.     When Donlon arrived, the Desk Sergeant was unpleasant to him. Donlon greeted

   him with “hello Sergeant”. The unidentified desk Sergeant did not reply and wouldn’t

   even look at Donlon. This was witnessed by Police Officer Vargas and one of the other

   Officers.

1222.     Donlon then spoke with Sergeant McDermott who was standing by the side.

1223.     Sergeant McDermott blatantly lied to Donlon and said he “did not know that Mrs.

   O’Connor-Donlon was his wife”, and if he knew he “wouldn’t have treated her this way”

   This statement by Sergeant McDermott defies logic and credulity since Sergeant

   McDermott and Donlon had spoken at the scene, along with the two Police Officers, at

   the accident and moreover, Sergeant McDermott had addressed Donlon as

   “Commissioner” during their conversation.



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1224.     Mrs. O’Connor-Donlon ultimately was given a summons for lapse of insurance

   and then released from custody, and thus allowed to leave the 17th Precinct. She was

   NOT given a summons for a suspended driver’s license.

1225.     As Donlon left the Precinct he said to the Desk Sergeant “is this how you treat

   people. In my 30 years in law enforcement - I never hurt a cop.”

1226.     The Desk Sergeant does not respond.

1227.     Fifteen minutes after leaving the 17th Precinct, Mrs. O’Connor-Donlon is

   contacted by the New York Post about the incident.

1228.     Within minutes, Mrs. O’Connor-Donlon received another phone call, this time

   from the New York Daily News regarding the incident.

1229.     Donlon also received phone calls from the media immediately after leaving the

   precinct.

1230.     The New York Post published the story about Mrs. O’Connor-Donlon and Donlon

   online that evening by 11:00 pm and in the following day's paper.

1231.     The unusual lengthy story specifically questioned the relationship status of Donlon

   and Mrs. O’Connor-Donlon and stated that they live at separate addresses which is

   incorrect.

1232.     This information is only known to the NYPD.

1233.     The news story was subsequently picked up by several news outlets.

1234.     Upon information and belief, Defendant SHEPPARD, the former Deputy

   Commissioner of Public Information, and who worked closely with the press, along with

   Defendants DAUGHTRY and GERBER ordered the arrest of Mrs. O’Connor-Donlon,




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   and then leaked the arrest to the media to embarrass Donlon and Mrs. O’Connor-Donlon,

   in retaliation for Donlon’s complaints regarding Defendant SHEPPARD’s crimes.

1235.     These actions were taken purposefully to interfere and disrupt the union between

   Donlon and Mrs. O’Connor-Donlon, and their rights to privacy and marital relationship.

   The emotional harm to Mrs. O’Connor-Donlon was devastating and traumatic.

1236.     Mrs. O’Connor-Donlon was subsequently called by Assistant Chief James

   McCarthy who apologized for the ordeal. McCarthy is the Chief of the Patrol Borough of

   Manhattan South (“PBMS”), meaning that he is the highest-ranking NYPD official in

   PBMS and oversees the ten (10) police precincts within that Patrol Borough.

1237.     Mrs. O’Connor-Donlon had met McCarthy previously with Donlon during

   Donlon’s tenure as interim Police Commissioner.

1238.     Chief McCarthy told Mrs. O’Connor-Donlon “I called as soon as I heard to

   apologize.”

1239.     It is later discovered that Mrs. O’Connor-Donlon’s license suspension issue

   stemmed from her stepson in Texas trading in a vehicle back in 2021 which was

   previously registered to Mrs. O’Connor-Donlon in New York.

1240.     Donlon drove this vehicle to Texas and gifted it to his son from his first marriage.

   Thereafter, Donlon’s son opted to trade in the vehicle for another one at a dealership.

1241.     Texas’s policy is that license plates must be destroyed by a dealership upon the

   trade-in of a vehicle.

1242.     New York State requires the vehicle’s registrant to return the license plates to the

   New York State Department of Motor Vehicles (NYSDMV).




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1243.     The dealership in Texas issued a receipt to Donlon’s son acknowledging the trade-

   in and the receipt of the license plates received by the Texas car dealership. This receipt

   was to be submitted to the NYSDMV. The dealership informed Donlon’s son that they

   would destroy the license plates and mail the proof of the transaction to NYSDMV. The

   receipt handed to Mr. Donlon’s son was for his record keeping purposes only. Per the

   Texas dealership, no action was required on his part nor on the part of Mrs. O’Connor-

   Donlon. Once this transaction was completed by Donlon’s son, Donlon removed the

   vehicle from the family insurance policy.

1244.     New York State suspended Mrs. O’Connor-Donlon’s driver’s license in 2021 due

   to lack of notification from the Texas car dealership regarding the destruction of her New

   York license plates.

1245.     Donlon had removed the vehicle from the family’s insurance policy under the

   mistaken belief that the dealership had destroyed the plates and notified the NYSDMV.

   Unbeknownst to any Donlon family member, the DMV automatically suspended her

   license when that notification was never received.

1246.     The incident on December 16th, 2024 is purely related to paperwork, easily

   remedied, and not a crime warranting arrest.

1247.     The following day, Mrs. O’Connor-Donlon went to the NYSDMV and easily

   rectified the license issue by paying $50.

1248.     Mrs. O’Connor-Donlon was informed by an employee at the NYSDMV that the

   administrative issue was “not a big deal”

1249.     Mrs. O’Connor-Donlon informed the DMV employee that she was arrested over

   the lapse in paperwork.



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  1250.         The DMV employee expressed shock to learn of the arrest, and said she had never

      heard of anything like that before, and that the police officers who arrested her should

      have been able to see that the issue was purely administrative and not worthy of an arrest

      when she was stopped.

  1251.         After the incident, Donlon learned that during the time Mrs. O’Connor-Donlon

      was being unlawfully held by the NYPD, Defendants DAUGHTRY, SHEPPARD and

      GERBER were on a three (3) way call determining what to impose and too do with Mrs.

      O’Connor-Donlon.

  1252.         Upon information and belief, Donlon later learned that Defendant DAUGHTRY

      recommended that Mrs. O’Connor-Donlon be issued a Desk Appearance Ticket, which is

      more severe than the summons she was ultimately issued.

  1253.         In late February 2025, Mrs. O’Connor-Donlon filed a notice of claim informing

      the Defendant CITY of her intent to sue.

  1254.         The filing of the Notice of Claim becomes known throughout City Hall.



RR.   Defendant MADDREY’s Sexual Abuse, Overtime Violations Exposed



  1255.         On December 19, 2024, Defendant ADAMS former Chief Adviser, Ingrid Lewis-

      Martin is arrested, along with her son, for taking $100,000 in bribes from two businessmen

      in exchange for intervening with city regulators on the businessmen's behalf

  1256.         On December 21, 2024, Defendant MADDREY was forced to resign when

      Lieutenant Epps accused him of sexual abuse, rape and sodomy while working in his

      office.



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1257.       It is further alleged that Defendant MADDREY engaged in a quid pro quo

   relationship where he approved overtime only if Lieutenant Epps engaged in sexual

   relations with him, Defendant MADDREY.

1258.       Following allegations regarding Defendant MADDREY’s misconduct and his

   removal from the NYPD, his attorney issued a statement at a press conference as noted

   above.

1259.       As stated previously Defendant MADDREY’s attorney claimed that Defendant

   MADDREY did not sign off on critical overtime documents, instead shifting

   responsibility onto Defendant SARACENO, who was the Commanding Officer of

   Defendant MADDREY’s office and responsible for approving overtime for personnel

   such as Lieutenant Epps.

1260.       In reality it was Defendant KINSELLA who was ultimately responsible for

   overseeing and approving the overtime in Defendant MADDREY’s office.

1261.       Defendant KINSELLA is not disciplined in any way.

1262.       On January 2, 2025, Defendant MADDREY had his home searched by the FBI.

1263.       That same day the FBI executed search warrants on the residences of Lieutenant

   Epps and Detectives Reyes and Sanders related to the abuse of overtime in Defendant

   MADDREY’s office.

1264.       Following the search it became known that Defendant MADDREY was being

   investigated for using federal overtime codes to falsely justify overtime in order to steal

   federal money, potentially perpetuate sexual abuse, or possibly rape, or at a minimum,

   conspiring to commit fraud.




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1265.     Specifically, as stated previously, the NYPD uses overtime codes to keep track of

   what the overtime is being paid for. The federal government provides the NYPD with

   overtime codes to utilize when/if officers are performing overtime tasks which are paid

   for by the Federal government.

1266.     Upon information and belief, Defendant MADDREY, allowed his staff to

   fraudulently use federal overtime codes including but not limited to Federal Emergency

   Management Agency (“FEMA”) overtime codes for overtime they did not work.

1267.     Unsurprisingly, as a result of the unchecked power afforded to the Defendants

   KINSELLA,       MADDREY,         CHELL,        DAUGHTRY,        SHEPPARD,     GERBER,

   SARACENO and MARINO by Defendant ADAMS, they used the Police Department as

   they pleased in order to regularly and unlawfully encroach on NYPD employees’

   constitutional rights, enrich themselves, and put the public at risk.

1268.     Upon information and belief, the misuse of federal overtime codes to fraudulently

   report overtime within the NYPD is a common practice amongst the individual

   Defendants herein.

1269.     Upon information and belief, Defendants CHELL and DAUGHTRY allowed

   officers who worked in CRT to use federal overtime codes to earn excess overtime,

   fraudulently.

1270.     Upon information and belief, Defendants CHELL and DAUGHTRY allowed

   officers to improperly use JTTF overtime codes while working in CRT.




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SS. Department of Investigation Finds Social Media Abuse Similar to Donlon’s Prior
    Determinations




   1271.     On January 28, 2025, the CITY’s Department of Investigation (DOI) released its

      findings following an investigation into the NYPD’s misuse of social media.

   1272.     The DOI reached the following conclusions:

   1273.     Certain social media posts made by members of the NYPD executive staff from

      official Defendant CITY accounts were unprofessional, fostered unproductive public

      discourse, and violated NYPD policies requiring courteous and civil conduct. These social

      media missives also raised concerns about potential prohibited political activity, though

      DOI made no formal finding on that issue.

   1274.     Several of the NYPD’s social media practices were found to be noncompliant with

      the citywide (Defendant CITY’s) social media policy which governs and supersedes each

      respective New York City agencies policies.

   1275.     The NYPD’s official social media policy, dated December 2, 2022, had not been

      updated to reflect the requirements of the most recent Citywide social media Policy issued

      in June 2023. Additionally, the policy lacked clear rules or guidance regarding appropriate

      content and language for official NYPD accounts.

   1276.     NYPD executives with individual accounts operated them without adequate

      oversight and outside the supervision of the Office of the Deputy Commissioner of Public

      Information. That said, the NYPD Defendants are grown adults with very serious

      positions of responsibility to preserve public order and maintain trust. It is beyond the




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      pale to even attempt to excuse their unprofessional and sophomoric behavior and practices

      regarding social media because the NYPD manual had not been updated since June 2023.

   1277.     The NYPD failed to provide formal training to executive staff on appropriate

      social media content, and the broader public impact of their communications to the public.

   1278.     Donlon’s earlier efforts to address and reform the NYPD’s social media practices

      closely aligned with the DOI’s findings and recommendations.

   1279.     However, these efforts were ultimately blocked by Defendant ADAMS, which

      allowed and caused public confidence in the NYPD to erode.



TT. After the Incident the NYPD Destroys Evidence of the Summons issued to Mrs.
   O’Connor-Donlon, and Retaliates Against Donlon



   1280.     In March 2025, Mrs. O’Connor-Donlon telephonically contacted the 17th Precinct

      to figure out how to challenge her ticket as she was unable to challenge the summons on-

      line (via the internet). Mrs. O’Connor-Donlon was told, by an as of yet unidentified NYPD

      employee who answered the phone, that the summons she inquired about is “no longer in

      the system” and was completely removed.

   1281.     Specifically, to wit, Mrs. O’Connor-Donlon stated that she has been trying to

      challenge the merits of the summons and has been unable to locate it on-line via the

      official NYPD portal for such activity.

   1282.     Mrs. O’Connor-Donlon is informed that there is no record of the summons in the

      NYPD database and that she is essentially “in the clear.”




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  1283.       Mrs. O’Connor-Donlon directly asked the officer if this failure to upload the ticket

      means she will have an unknown issue, similar to what just happened related to her

      license, in the future.

  1284.       Mrs. O’Connor-Donlon is then told by the individual on the phone that

      “sometimes it takes a couple months to upload.”

  1285.       In response to this statement Mrs. O’Connor-Donlon explains that it has already

      been three (3) months.

  1286.       Mrs. O’Connor-Donlon is then told that the ticket is unlikely to be uploaded at a

      later date.



UU.   Donlon Is Placed in an Administrative Position and Set Up to Fail




  1287.       As stated earlier and repeated herein, Donlon was removed as the interim Police

      Commissioner and installed in the Mayor’s Office of Public Safety, in a position

      previously held by Tim Pearson.

  1288.       In that role, Donlon, as Mr. Pearson before him, was in charge of the coordination

      and filing of applications for grant money from the federal government to be utilized by

      Defendant CITY for law enforcement related programs and expenditures.

  1289.       Donlon received no formal training for the role and opted to teach and train

      himself.

  1290.       Through his efforts, Donlon added two (2) team members, and worked closely

      with the New York City Office of Emergency Management to properly prepare grant




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   requests, which will ensure the Defendant CITY receives the full amount of financial

   compensation they are entitled to from the federal government.

1291.     Defendant DAUGHTRY was named the Deputy Mayor of Public Safety in early

   March 2025.

1292.     This was done following the mass resignation of four (4) Deputy Mayors

   following their perception of a quid pro quo arrangement between Defendant ADAMS

   and the United States Department of Justice which led/relative to the dismissal of federal

   charges against Defendant ADAMS.

1293.     While Defendant ADAMS will never stand trial relative to the federal charges that

   were dismissed, he is a co-conspirator in the crimes committed by the other Defendants

   as described herein by Donlon.

1294.     As stated previously, Defendant DAUGHTRY became Donlon’s direct supervisor

   at the Office of the Deputy Mayor for Public Safety.

1295.     On April 3, 2025, Defendant ADAMS federal criminal charges were formally

   dismissed with prejudice.

1296.     On April 17, 2025, Defendant SARACENO was terminated from the NYPD for

   signing off on overtime claimed by and paid to Lieutenant Epps, for work that was never

   performed.

1297.     On April 22, 2025, the Defendant CITY sent Lieutenant Epps a letter stating that

   she was overpaid more than $230,000 in 2024 for work she did not perform under the

   direction of Defendant MADDREY.

1298.     The Defendant CITY is well aware of the crimes that have been committed by the

   Defendants herein since Defendant ADAMS had become Mayor of New York City.



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VV.   Final Retaliation of Donlon- Termination from Employment from Defendant CITY




  1299.       On April 24, 2025, Donlon was telephonically contacted by Human Resources to

      inform him that his position is eliminated, and that his last day will be May 9, 2025.

  1300.       Donlon asked if he would be provided written documentation surrounding and

      justifying his termination, but was told that he would not be provided any since Donlon

      was not being dismissed for any cause, but rather the position itself was being eliminated

      in its entirety.

  1301.       Upon information and belief, Defendant DAUGHTRY retaliatory actions lead to

      the termination of Donlon without any substantive due process or cause whatsoever. The

      supposed “elimination of the position” is a lie.

  1302.       Donlon is notified of his termination less than two (2) months after Defendant

      DAUGHTRY becomes his direct supervisor as the Deputy Mayor of Public Safety.

  1303.       It is unequivocal that Defendant DAUGHTRY retaliatorily terminated Donlon

      using the ruse that the position of Donlon was being eliminated.

  1304.       Donlon’s co-workers at the Mayor’s Office of Public Safety were surprised by the

      news as they had grant applications which must be completed and submitted to the federal

      government on the behalf of Defendant CITY’s respective Public Safety Agencies. The

      federal grant money was jeopardized due to the elimination of the position held by

      Donlon. The elimination of the position could only be authorized by Defendant CITY and

      Defendant ADAMS..




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1305.     In reality Donlon was terminated without substantive due process in retaliation for

   his protected speech, complaints of crimes committed by collective Defendants, and

   association with his wife, Mrs. O’Connor-Donlon.

1306.     The termination of Donlon which occurred on May 9, 2025, is unlawful and

   violates established law.

1307.     Donlon had his constitutional rights repeatedly trampled due to the condonement

   of unlawful actions by Defendant ADAMS committed by the Defendants CITY,

   ADAMS, KINSELLA, MADDREY, CHELL, DAUGHTRY, SHEPPARD, GERBER,

   SARACENO and MARINO .

1308.     Donlon's complaints are protected by the First Amendment of the United States

   Constitution. The Defendants CITY, ADAMS, KINSELLA, MADDREY, CHELL,

   DAUGHTRY, SHEPPARD, GERBER, SARACENO and MARINO retaliated against

   him because of his speech, which he claims violated his constitutional rights.

1309.     As described in depth herein, Defendants, collectively and individually, while

   acting under color of state law, engaged in conduct that constituted a violation of a custom,

   usage, practice, procedure, or rule of the respective municipality/authority, which is

   forbidden by the Constitution of the United States.

1310.     The acts complained of by Donlon were carried out by the aforementioned

   individual NYPD Defendants in their capacities as police officers, pursuant to the

   customs, usages, practices, procedures, and the rules of the CITY OF NEW YORK and

   the NYPD, all under the supervision of Defendant ADAMS and Defendant CITY.

1311.     Plaintiff Donlon incorporates all preceding paragraphs as if fully set forth herein.




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1312.     The collective Defendants, acting individually and in concert, violated Donlon’s

   rights under the First and Fourteenth Amendments, 42 U.S.C. § 1983, 18 U.S.C. §

   1962(c)-(d), and New York Civil Service Law § 75-b.

1313.     These were not isolated violations, but part of a coordinated pattern of retaliation,

   obstruction, and systemic abuse carried out by a criminal enterprise embedded within City

   government.

1314.     At the heart of this enterprise was the cover-up surrounding Defendant

   SHEPPARD, a senior NYPD official who engaged in serious misconduct that was

   concealed and rewarded rather than investigated or disciplined. The deliberate

   suppression of these criminal acts, and the use of institutional power to shield Defendant

   SHEPPARD from accountability, exemplify the racketeering activity at issue. When

   Donlon sought to expose this misconduct, he became the target of the machinery he had

   been brought in to lead and reform.

1315.     Defendants operated and directed an enterprise under 18 U.S.C. § 1961(4),

   engaging in a pattern of racketeering activity as defined in § 1961(1).

1316.     Predicate acts included obstruction of justice, retaliation against an informant, and

   wire fraud—each carried out to silence Donlon, protect insiders, and maintain political

   control.

1317.     This coordinated misconduct was continuous, structured, and carried out through

   official channels in furtherance of the enterprise’s unlawful goals.

1318.     In addition, the City of New York (Defendant CITY), through its policymakers

   and decisionmakers, maintained customs, policies, and practices that enabled,

   emboldened, and rewarded this misconduct. Under Monell v. Department of Social



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Services, the city is liable for its failure to discipline lawbreaking NYPD officers, its

tolerance of retaliation against internal critics, and its systemic use of the NYPD as a

political enforcement tool for City Hall.




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                                  COUNT I
                              18 U.S.C. § 1962(d)
              VIOLATION OF RACKETEER INFLUENCED AND CORRUPT
                     ORGANIZATIONS ACT (18 U.S.C. § 1962(c))

1319.        Plaintiff Donlon repeats and realleges all prior paragraphs as if fully set forth

   herein.

1320.        Defendants ADAMS, KINSELLA, MADDREY, CHELL, DAUGHTRY,

   SHEPPARD, GERBER, SARACENO, and MARINO each qualify as “persons” under 18

   U.S.C. § 1961(3).

1321.        Each is liable under § 1962(c) for conducting the affairs of the enterprise through

   a pattern of racketeering activity.

1322.        At all relevant times, the Defendants, together with others known and unknown,

   formed an “enterprise” within the meaning of 18 U.S.C. § 1961(4), namely the New York

   City Police Department.

1323.        As shown herein, under Defendant ADAMS, the NYPD is an organization

   engaging in crime, unlawful acts, deception, fraud, counterfeiting, and terroristic threats.

1324.        Upon information and belief, the full extent of the crimes that had been undertaken

   by the NYPD, the Mayor of the City of New York (Defendant ADAMS), former NYPD

   employees Phillip Banks and Timothy Pearson, and the individual Defendants herein,

   remains unknown.

1325.        The enterprise had a distinct structure, continuity of purpose, and operated through

   a coordinated pattern of decision-making among its members. The Defendants

   participated in the operation and management of the enterprise.

1326.        The Defendants engaged in a pattern of racketeering activity by committing

   numerous predicate acts.


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1327.       These acts constituted a pattern of racketeering activity as defined in 18 U.S.C. §

   1961(1), including but not limited to:

        ●   Wire fraud (18 U.S.C. § 1343): The use of interstate email and
            telecommunications by Defendants to misrepresent Donlon’s authority, conceal
            material facts, and coordinate a scheme to marginalize and disempower him;
        ●   Obstruction of justice (18 U.S.C. § 1503): Interference with potential or actual
            investigations triggered by Donlon’s whistleblowing, including efforts to silence or
            isolate him;
        ●   Retaliation against a witness or informant (18 U.S.C. § 1513): Adverse
            employment actions taken against Donlon in retaliation for his protected
            disclosures about misconduct, corruption, and threats to public safety;
        ●   Tampering with a witness or informant (18 U.S.C. § 1512): Acts designed to
            prevent Donlon from reporting ongoing criminal conduct, including pressure,
            demotion, and removal of responsibilities;
        ●   Bribery (18 U.S.C. § 201): On information and belief, Defendants engaged in or
            condoned acts of bribery or quid pro quo arrangements to secure loyalty, suppress
            dissent, and shield individuals within the administration from exposure;
        ●   Interference with commerce by threats or extortion (18 U.S.C. § 1951 – Hobbs
            Act): The use of official authority to coerce and intimidate Donlon into silence,
            thereby interfering with his professional career, future employability, and economic
            livelihood.
        ●
1328.       The racketeering acts were related and continuous, forming a coordinated scheme

   to retaliate against Plaintiff Donlon and suppress his lawful reporting of misconduct.

1329.       These acts occurred over an extended period and pose an ongoing threat of

   repetition, satisfying the continuity requirement under 18 U.S.C. § 1961(5).

1330.       Each of these acts were related, continuous, and part of a broader scheme to profit

   off of the citizens of the City of New York illegally through the NYPD, their criminal

   enterprise, and their own criminal organization, and retaliate against Plaintiff Donlon for

   protected speech and deprive him of economic opportunities and constitutional rights.

1331.       These acts occurred over a substantial period and pose a continuing threat of future

   harm, satisfying both the “closed-ended” and/or “open-ended” continuity requirements

   under RICO.



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1332.        As a direct and proximate result of the collective Defendants’ racketeering

   activities, Plaintiff Donlon suffered injury to his business and property, including but not

   limited to termination, loss of income, professional damage, and reputational harm.

1333.        Pursuant to 18 U.S.C. § 1964(c), Plaintiff Donlon is entitled to recover treble

   damages, costs of suit, and reasonable attorneys’ fees.



                                      COUNT II
                          RICO CONSPIRACY (18 U.S.C. § 1962(d))

1334.        Plaintiff Donlon repeats and realleges all prior paragraphs as if fully set forth

   herein.

1335.        The collective Defendants agreed to and did knowingly enter into a conspiracy to

   violate 18 U.S.C. § 1962(c), with the purpose of furthering the affairs of the enterprise

   through a pattern of racketeering activity.

1336.        Each Defendant knowingly agreed to facilitate the operation and management of

   the enterprise and took overt acts in furtherance of the conspiracy, including but not

   limited to the predicate acts alleged above.

1337.        As a result of this conspiracy, Plaintiff Donlon suffered the injuries described

   herein and seeks relief as provided under 18 U.S.C. § 1964(c).



                                  COUNT III
                  (FIRST AMENDMENT RETALIATION 42 U.S.C. § 1983)

1338.        Plaintiff Donlon repeats and realleges all prior paragraphs as if fully set forth

   herein.




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1339.        As set forth above, Plaintiff Donlon engaged in protected speech as a private

   citizen as a matter of public concern and suffered retaliation for his speech which includes

   but is not limited to termination of employment.

1340.        The collective Defendants herein intentionally retaliated against Plaintiff Donlon

   for protected speech provided to him under the 1st Amendment of the United States

   Constitution.

1341.        Specifically, Plaintiff Donlon engaged in protected activity when he reported the

   unlawful conduct of the Defendants herein.

1342.        In response to making those complaints, Plaintiff Donlon was retaliated against.

1343.        Plaintiff hereby demands compensatory and punitive damages against the

   collective Defendants in an amount to be proven at trial that exceeds the jurisdictional

   limitations of all lower courts that would otherwise have jurisdiction against each

   Defendant, individually and severally.

1344.        As a result of the foregoing, Plaintiff Donlon is entitled to compensatory and

   economic damages in an amount to be fixed by a jury and is further entitled to punitive

   damages against the individually named Defendants in an amount to be fixed by a jury,

   plus reasonable attorneys’ fees, costs and disbursements of this action.

                                  COUNT IV
                     (MUNICIPAL LIABILITY UNDER 42 U.S.C. § 1983
                   DEFENDANT CITY OF NEW YORK- MONELL CLAIM

1345.        Plaintiff Donlon repeats and realleges all prior paragraphs as if fully set forth

   herein.

1346.        Defendants, collectively and individually, while acting under color of state law,

   engaged in conduct that constituted a custom, usage, practice, procedure or rule of the



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   respective municipality/authority, which is forbidden by the Constitution of the United

   States.

1347.        The aforementioned customs, policies, usages, practices, procedures and rules of

   the City of New York and NYPD included, but were not limited to, suppressing speech

   by Department members about NYPD’s failings through harassment and retaliations,

   committing crimes within the NYPD and failing to discipline those officers.

1348.        These practices were so persistent and widespread that they constituted the

   constructive acquiescence of policymakers. Further, as detailed herein, individual

   policymakers directly participated in and/or tacitly condoned the retaliation which

   Plaintiff Donlon was subjected to.

1349.        The foregoing customs, policies, usages, practices, procedures and rules of the

   City of New York and the NYPD constituted deliberate indifference to the constitutional

   rights of Plaintiff.

1350.        The foregoing of the customs, policies, usages, practices, procedures and rules of

   the City of New York and the NYPD were the direct and proximate cause of the

   constitutional violations suffered by the plaintiff Donlon.

1351.        The foregoing of the customs, policies, usages, practices, procedures and rules of

   the City of New York and the NYPD were the moving force behind the constitutional

   violations suffered by the Plaintiff Donlon.

1352.        As a result of the foregoing of the customs, policies, usages, practices, procedures

   and rules of the City of New York and the NYPD, Plaintiff Donlon was subjected to

   harassment, demoted, and constructively fired.




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1353.        As a result of the foregoing, Plaintiff Donlon is entitled to compensatory and

   economic damages in an amount to be fixed by a jury and is further entitled to punitive

   damages against the individually named Defendants in an amount to be fixed by a jury,

   plus reasonable attorneys’ fees, costs and disbursements of this action.

                                   COUNT V
                                 42 U.S.C. 1983
                        SUBSTANTIVE DUE PROCESS CLAIM

1354.        Plaintiff Donlon repeats and realleges all prior paragraphs as if fully set forth

   herein.

1355.        The   Defendants    CITY,    ADAMS,      KINSELLA,      MADDREY,        CHELL,

   DAUGHTRY, SHEPPARD, GERBER, SARACENO and MARINO, in their official

   capacities, acting under color of law, are liable to the Plaintiff for subjecting Plaintiff

   Donlon to conduct that violated Plaintiff’s right to substantive due process of law

   guaranteed by the Fourteenth Amendment to the United States Constitution, enforceable

   by 42 U.S.C. §1983.

1356.        The conduct of the Defendants herein, collectively and individually, was extreme

   and outrageous and caused Plaintiff Donlon to be deprived of his property right to

   employment.

1357.        Plaintiff Donlon did not receive proper notice of his termination as Police

   Commissioner or as Senior Advisor to Defendant ADAMS on Public Safety.

1358.        The above-described violation of Plaintiff Donlon’s right to due process of law,

   committed by Defendants CITY, ADAMS, KINSELLA, MADDREY, CHELL,

   DAUGHTRY, SHEPPARD, GERBER, SARACENO and MARINO violated Plaintiff

   Donlon’s right to due process of law guaranteed by the Fourteenth Amendment of the


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   United States Constitution, enforceable through 42 U.S.C. § 1983 and was the direct,

   proximate cause of Plaintiff’s damages.

                                COUNT VI
   VIOLATIONS TO RIGHT TO FREEDOM OF INTIMATE ASSOCIATION
    42 U.S.C. § 1983 U.S. CONSTITUTION-FOURTEENTH AMENDMENT

1359.        Plaintiff Donlon repeats and realleges all prior paragraphs as if fully set forth

   herein.

1360.        Following Plaintiff Donlon’s repeated complaints covered by the First

   Amendment, he was retaliated against when his wife was falsely arrested following a car

   stop where she was accused of having a lapse in insurance and a suspended NYS driver’s

   license following a car accident on December 11, 2024.

1361.        Plaintiff Donlon’s wife, Mrs. Deidre O’Connor-Donlon, was only arrested due to

   her association with Plaintiff Donlon which was done purposefully to harm Plaintiff

   Donlon and prevent his right to freely associate with his wife. Plaintiff Donlon’s wife

   filed a Notice of Claim declaring her intention to sue the Defendant CITY, alleging

   violations of her civil rights in February 2025.

1362.        Through the conduct of the collective Defendants, specifically the adverse actions

   taken against Plaintiff Donlon, as a result of his wife’s actions (i.e.., filing a lawsuit

   against Defendant CITY), Plaintiff Donlon’s rights to freedom of intimate association

   with his wife, as guaranteed and protected by the Fourteenth Amendment to the United

   States Constitution were disrupted and violated.

1363.        Defendant ADAMS had and had at the time of this instant filing, final policy-

   making authority as to personnel matters within the Defendant CITY OF NEW YORK.




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   Defendant ADAMS was aware of, and condoned the actions of the other collective

   Defendants herein.

1364.        Accordingly, the violation of Plaintiff Donlon’s constitutional rights arose from

   Defendant CITY policy.

1365.        Plaintiff Donlon’s rights were clearly established at the time and no reasonable

   person would have believed that the conduct herein would not violate Plaintiff Donlon’s

   clearly established rights.

1366.        As a result of the violations of his rights, Plaintiff Donlon has suffered loss of

   employment and income.

1367.        As a result of the foregoing, Plaintiff Donlon is entitled to compensatory and

   economic damages in an amount to be fixed by a jury and is further entitled to punitive

   damages against the individually named Defendants in an amount to be fixed by a jury,

   plus reasonable attorneys’ fees, costs and disbursements of this action.

1368.        As a result of the violation of his rights, Plaintiff Donlon was humiliated and his

   reputation injured, and, thus, had suffered non-pecuniary damages.

                            COUNT VII
        VIOLATION OF NEW YORK STATE CIVIL SERVICE LAW §75-B
              (AGAINST DEFENDANT CITY OF NEW YORK)

1369.        Plaintiff Donlon repeats and realleges all prior paragraphs as if fully set forth

   herein.

1370.        The collective Defendants retaliated against Plaintiff Donlon for engaging in

   protected activity in violation of New York State Civil Service Law §75-b.

1371.        Specifically, Plaintiff Donlon engaged in protected activity when he reported the

   unlawful conduct of the Defendants herein.


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1372.     In retaliation for those complaints, Plaintiff was retaliated against.

1373.     Plaintiff Donlon hereby demands compensatory and punitive damages against the

   collective Defendants in an amount to be proven at trial that exceeds the jurisdictional

   limitations of all lower courts that would otherwise have jurisdiction against each

   Defendant, individually and severally.

1374.     Civil Service Law § 75-b provides, in pertinent part: “A public employer shall not

   dismiss or take other disciplinary or other adverse personnel action against a public

   employee regarding the employee's employment because the employee discloses to a

   governmental body information: (i) regarding a violation of a law, rule or regulation

   which violation creates and presents a substantial and specific danger to the public health

   or safety; or (ii) which the employee reasonably believes to be true and reasonably

   believes constitutes an improper governmental action.

1375.     “Improper governmental action” shall mean any action by a public employer or

   employee, or an agent of such employer or employee, which is undertaken in the

   performance of such agent's official duties, whether or not such action is within the scope

   of his employment, and which is in violation of any federal, state or local law, rule or

   regulation.

1376.     Upon receiving Plaintiff Donlon’s multiple complaints of corruption related to

   courtesy cards made to several different governmental bodies, Defendant retaliated

   against Plaintiff Donlon as a public employee. Plaintiff Donlon filed several reports that

   attempted to redress Defendant’s corrupt practices as described herein.

1377.     These acts as defined by Civil Service Law § 75-b are classified as improper

   governmental action by a public employee. Plaintiff Donlon filed these complaints based



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   on tangible evidence that caused him to reasonably believe Defendant engaged in

   improper governmental action.

1378.      As a result of the foregoing, Plaintiff Donlon’s career is irreparably damaged, and

   he sustained serious emotional distress and financial harm.

1379.      As a result of Defendant CITY OF NEW YORK’s willful actions they are liable

   to Plaintiff for their actions.

                                     PRAYER FOR RELIEF

A. Defendants, acting individually and collectively, violated Donlon’s constitutional rights

   under the First and Fourteenth Amendments, as well as his statutory rights under 42 U.S.C.

   § 1983, 18 U.S.C. § 1962(c)-(d), and Civil Service Law § 75-b.

B. An order appointing an independent federal monitor with full authority to oversee and

   report on NYPD internal disciplinary processes, whistleblower protections, and promotion

   decisions, to ensure compliance with federal and state law and to prevent further retaliation,

   obstruction, or abuse;

C. The Defendants operated an enterprise, as defined under 18 U.S.C. § 1961(4), that engaged

   in a pattern of racketeering activity under § 1961(1), including but not limited to

   obstruction of justice, retaliation against a witness or informant, and wire fraud. The pattern

   was continuous, related, and directed by persons employed by the City of New York for

   the purpose of retaliating against Donlon for exposing misconduct and refusing to

   participate in unlawful conduct.

D. The City of New York maintained customs, policies, and practices that enabled and

   emboldened the retaliation Donlon endured, constituting Monell liability. These include a




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      long-standing policy of punishing whistleblowers, protecting high-ranking abusers, and

      using the NYPD as a political enforcement tool for City Hall.

   E. Plaintiff Donlon respectfully requests that this Court grant judgment in his favor on all

      causes of action, and award compensatory, emotional, and punitive damages; injunctive

      relief where appropriate; pre- and post-judgment interest; attorneys' fees and costs pursuant

      to 42 U .S.C. § 1988; and such other and further relief as this Court deems just and proper.

Dated: New York, NY
       July 16, 2025




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